Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 1 of 190




                           UNITED STAPTES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                          CASE NO.
     SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,

     v.

     RISHI KAPOOR; et al
     ,

                             Defendants.
     _________________________________________/



     Emergency Ex Parte Motion for Asset Freeze and Other
           Relief Against Defendant Rishi Kapoor




                           EXHIBIT 1
          Declaration of Senior Staff Counsel Jordan Cortez
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 2 of 190



                                    DECLARATION OF JORDAN A. CORTEZ

                      Pursuant to 28 U.S.C. § 1746, the undersigned declares as follows:

        I.         INTRODUCTION

              1.      My name is Jordan A. Cortez. I am over twenty-one years of age and have personal

    knowledge of the matters set forth herein.

              2.      I am Senior Counsel employed by the United States Securities and Exchange

    Commission (the "Commission") in the Division of Enforcement. My office is located at 801

     Brickell Avenue, Suite 1950, Miami, Florida 33131.

              3.      I provide this declaration in support of the Commission's emergency civil action

    against Defendants Rishi Kapoor ("Kapoor"), Location Ventures, LLC ("LV"), URBIN, LLC

    ("URBIN"), and their subsidiaries and affiliated companies (collectively, the "Defendants").

              4.      As part of the Commission's investigation of the Defendants, Commission staff

    obtained the following documents and information:

        II.        DOCUMENTS OBTAINED BY COMMISSION STAFF

              5.      The Commission obtained the following certified records from the Division of

    Corporations for the State of Florida:

                   a. LV's articles of organization and corporate filings, a true and accurate copy of

                      which is attached as Exhibit A';

                   b. URBIN's articles of organization and corporate filings, a true and accurate copy of

                      which is attached as Exhibit B.

                   c. Patriots United, LLC's articles of organization and corporate filings, a true and




            To avoid the filing of voluminous documents with the Court, Exhibits A through V have
              1

    not been filed with this declaration but will be made available to the Court upon request.
                                                           1         EXHIBIT

                                                                         1
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 3 of 190



                  accurate copy of which is attached as Exhibit C;

             d. Location Properties LLC's articles of organization and corporate filings, a true and

                  accurate copy of which is attached as Exhibit D;

             e. Location Development LLC's articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit E;

             f.   Location Capital LLC's articles of organization and corporate filings, a true and

                  accurate copy of which is attached as Exhibit F;

             g. Location Ventures Resources, LLC's articles of organization and corporate filings,

                  a true and accurate copy of which is attached as Exhibit G;

             h. Location Equity Holdings, LLC's articles of organization and corporate filings, a

                  true and accurate copy of which is attached as Exhibit H;

             1.   Location GP Sponsor, LLC's articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit I;

             j.   515 Valencia Sponsor, LLC's articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit J;

             k. LV Montana Sponsor, LLC's articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit K;

             1.   URBIN Founders Group, LLC's articles of organization and corporate filings, a

                  true and accurate copy of which is attached as Exhibit L;

             m. URBIN CG Sponsor, LLC's articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit M;

             n. 515 Valencia Partners, LLC' s articles of organization and corporate filings, a true

                  and accurate copy of which is attached as Exhibit N;



                                                       2
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 4 of 190



                    o. LV Montana Phase I, LLC's articles of organization and corporate filings, a true

                         and accurate copy of which is attached as Exhibit O;

                    p. Stewart Grove 1, LLC's articles of organization and corporate filings, a true and

                         accurate copy of which is attached as Exhibit P;

                    q. Stewart Grove 2, LLC's articles of organization and corporate filings, a true and

                         accurate copy of which is attached as Exhibit Q;

                    r.   Location Zamora Parent, LLC's articles of organization, a true and accurate copy

                         of which is attached as Exhibit R;

                    s. URBIN Coral Gables Partners, LLC's articles of organization and corporate filings,

                         a true and accurate copy of which is attached as Exhibit S;

                    t.   URBIN Coconut Grove Partners, LLC's articles of organization and corporate

                         filings, a true and accurate copy of which is attached as Exhibit T;

                    u. URBIN Miami Beach Partners, LLC's articles of organization and corporate

                         filings, a true and accurate copy of which is attached as Exhibit U; and

                    v. URBIN Miami Beach II Phase I, LLC's articles of organization and corporate

                         filings, a true and accurate copy of which is attached as Exhibit V;

               6.        On January 4, 2023, Russell Castillo ("Castillo"), an IT Specialist at the

    Commission, completed a website capture of Defendants' LV and URBIN's websites. True and

     accurate copies of the website captures and Castillo's declaration are attached as Exhibit W.

        III.        TESTIMONY OBTAINED BY THE COMMISSION

               7.        On May 31, 2023, Commission staff took the testimony of Alex Kleyner. A true

     and accurate copy of the testimony transcript is attached as Exhibit X.

               8.        On August 22, 2023, Commission staff took the testimony of Defendant Kapoor.



                                                               3
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 5 of 190



    A true and accurate copy of the testimony transcript is attached as Exhibit Y.

         IV.         RECORDS OBTAINED IN RESPONSE TO SUBPOENAS

               9.       In response to a subpoena issued by the Commission on April 12, 2023, Trez

    Capital produced email correspondence from Defendant Kapoor dated February 4, 2022 (Bates-

    stamped TREZSUBP000l 937-39). A true and accurate copy of the email is attached as Exhibit

    Z.

               10.      In response to a subpoena issued by the Commission on September 7, 2023, HMY

    Yacht Sales, Inc. produced its Deal File (Bates-stamped SEC-HMY-E-0000003-31). A true and

    accurate copy is attached as Exhibit AA.

               11.      In response to a subpoena issued by the Commission on June 28, 2023, Defendant

    Kapoor produced a copy of his Bank of America December 2019 checking account statement

    (account number ending in 3191) (Bates-stamped RK0000338-345). A true and accurate copy is

    attached as Exhibit BB.

               12.      In response to a subpoena issued by the Commission on April 26, 2023, Alex

    Kleyner produced:

                     a. Global        Interest      Purchase       Agreement      (Bates-stamped   FL-

                        4347_Kleyner_LV_LLC_0001480-1521). A true and accurate copy is attached as

                        Exhibit CC.

                     b. Patriots   United        LLC's   Operating    Agreement     FL-4347_Kleyner_LV

                        LLC_0001956- 1958). A true and accurate copy is attached as Exhibit DD.

               13.      In response to a subpoena issued by the Commission on March 13, 2023, LV




             To avoid the filing of voluminous documents with the Court, Exhibit DD has not been
               2

    filed with this declaration but will be made available to the Court upon request.
                                                               4
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 6 of 190



    produced:

                a. Written consents (Bates-stamped L V00011124-11216), true and accurate copies of

                     which are attached as Exhibit EE;

                b. Organizational charts (Bates-stamped LV00010749-10753 and LV00011015-

                     11017), true and accurate copies of which are attached as Exhibit FF;

                c. LV's Second Amended and Restated Operating Agreement (Bates-stamped

                     LV00010501- 10577), a true and accurate copy is attached as Exhibit GG?;

                d. URBIN's Operating Agreement (LV000 10844-10884), a true and accurate copy is

                     attached as Exhibit HH;

                e. Location Properties LLC' s Operating Agreement (Bates-stamped LV000 103 33-

                     10335), a true and accurate copy is attached as Exhibit II;

                f.   Location    Development      LLC's       Operating   Agreement     (Bates-stamped

                     LV00010324-10326), a true and accurate copy is attached as Exhibit JJ;

                g. Location Capital LLC's Operating Agreement (Bates-stamped LV00010318-

                     10320), a true and accurate copy is attached as Exhibit KK;

                h. Location Ventures Resources LLC' s Operating Agreement (Bates-stamped

                     LV00010342-10344), a true and accurate copy is attached as Exhibit LL;

                1.   Location Equity Holdings,        LLC's Operating Agreement (Bates-stamped

                     LV00010327-10329), a true and accurate copy is attached as Exhibit MM;

                j.   Location GP Sponsor LLC's Operating Agreement (Bates-stamped LV00010330-

                     10332), a true and accurate copy is attached as Exhibit NN;




            3To avoid the filing of voluminous documents with the Court, Exhibits GG through ZZ
     have not been filed with this declaration but will be made available to the Court upon request.
                                                          5
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 7 of 190



             k. 515 Velancia Sponsor LLC's Amended and Restated Operating Agreement (Bates-

                  stamped LV00010154-10156), a true and accurate copy is attached as Exhibit 00;

             1.   URBIN     Founders    Group,    LLC's    Operating    Agreement   (Bates-stamped

                  LV00010885-10923), a true and accurate copy is attached as Exhibit PP;

             m. 515 Valencia Partners, LLC' s Amended and Restated Operating Agreement (Bates-

                  stamped LV00010106-10153), a true and accurate copy is attached as Exhibit QQ;

             n. LV Montana Phase 1 Operating Agreement (Bates-stamped LV000 10348-103 89),

                  a true and accurate copy is attached as Exhibit RR;

             o. Stewart Grove 1, LLC's Second Amended and Restated Operating Agreement

                  (Bates-stamped LV000 1043 8-10440), a true and accurate copy is attached as

                  Exhibit SS;

             p. Stewart Grove 2, LLC's Amended and Restated Operating Agreement (Bates-

                  stamped LV00010441-10443), a true and accurate copy is attached as Exhibit TT;

             q. URBIN Coral Gables Partners LLC's Operating Agreement (Bates-stamp

                  LV000 10924-10956), a true and accurate copy is attached as Exhibit UU;

             r.   URBIN Coconut Grove Partners LLC's Operating Agreement (Bates-stamped

                  LV00010800-10843), a true and accurate copy is attached as Exhibit VY;

             s. URBIN Miami Beach Partners, LLC's Operating Agreement (Bates-stamped

                  LV00010957-11012), a true and accurate copy is attached as Exhibit WW;

             t.   1505 Ponce Partners LLC's Operating Agreement (Bates-stamped LV00009948-

                  l 0009), a true and accurate copy is attached as Exhibit XX;

             u. Redlands Phase I LLC' s Operating Agreement (Bates-stamped LV000 103 90-

                  10437), a true and accurate copy is attached as Exhibit YY;



                                                       6
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 8 of 190



                 v. 5 51 Bayshore Partners LLC' s Amended and Restated Operating Agreement (Bates-

                      stamped LV000 10157-10232), a true and accurate copy is attached as Exhibit ZZ;

                 w. QuickBooks files (Bates-stamped LV00000002-15 and LV000l 1025-11063);

                 x. Sage Data (Bates-stamped LV00000016-4886 and LV00011064-LV00011101);

                 y. Tax Returns (Bates-stamped LV00004887-9947);

                 z. Financial statements and reports (Bates-stamped LV000l 1018-11024); and

                 aa. Financial data (Bates-stamped LV000 11102-11121 ).

                 True and accurate copies of correspondences sent in connection with the production(s)

    are attached as Exhibit AAA.

           14.        In response to subpoenas issued by the Commission on February 23, 2023, and May

    4, 2023, Bank of America produced documents associated with the following accounts:

                 a.   1505 Ponce Partners, LLC's account ending in 6996;

                 b. 515 Valencia Partners, LLC's account ending in 2161;

                 c. LV Bayshore Partners LLC's account ending in 2626;

                 d. 800 Dixie Partners LLC's accounts ending in 6868 and 9134;

                 e. 8325 Cheryl Lane LLC's account ending in 6042;

                 f.   Location Capital, LLC's account ending in 841 0;

                 g. Location Development, LLC's account ending in 5835;

                 h. Location Properties, LLC's account ending in 8258;

                 1.   Stewart Grove 1, LLC's account ending in 2744;

                 j.   URBIN's account ending in 3263;

                 k. URBIN Coconut Grove Partners, LLC's account ending in 3302;

                 1.   URBIN Coral Gables Partners, LLC's account ending in 3014;



                                                          7
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 9 of 190



                  m. URBIN Miami Beach Partners LLC's account ending in 5493;

                  n. URBIN's account ending in 3263; and

                  o. LV Bayshore SPE LLC's account ending in 6257.

                  A true and accurate copy of the records custodian certification(s) sent in connection

    with the production(s) is attached as Exhibit BBB.

            15.        In response to subpoenas issued by the Commission on February 23, 2023, May 8,

    2023, and July 5, 2023, Woodforest National Bank produced documents associated with the

     following accounts:

                  a. 1505 Ponce Partners, LLC's account ending in 1244;

                  b. LV Bayshore Partners LLC's account ending in 1880;

                  c. 551 Bayshore Partners, LLC's account ending in 1160;

                  d. Location Capital LLC's account ending in 1450;

                  e. Location Development LLC's account ending in 1393;

                  f.   Location Properties LLC's account ending in 1385;

                  g. Location Ventures Resources, LLC's account ending in 1459;

                  h. URBIN Coconut Grove Partners, LLC's account ending in 0725;

                  1.   URBIN Commodore Residential II SPE, LLC's account ending in 2879;

                  j.   URBIN Miami Beach Partners LLC's account ending in 1236;

                  k. URBIN's account ending in 6400;

                  1.   Stewart Grove 1, LLC's account ending in 6319; and

                  m. 800 Dixie Partners LLC's account ending in 6392.

                  A true and accurate copy of the records custodian certification(s) sent in connection

     with the production(s) is attached as Exhibit CCC.



                                                          8
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 10 of
                                     190


          16.      In response to a subpoena issued by the Commission on April 8, 2023, FirstCitizens

   Bank produced documents associated with the following accounts:

                a. 515 Valencia Partners, LLC's account ending in 7583;

                b. URBIN Coconut Grove Partners, LL's account ending in 0033;

                c. URBIN Coral Gables Partners, LLC's account ending in 6536; and

                d. URBIN's account ending in 6544.

                A true and accurate copy of the records custodian certification(s) sent in connection

   with the production(s) is attached as Exhibit DDD.

          17.      In response to a subpoena issued by the Commission on April 3, 2023, Pedro M.

   Gallinar & Associates, P.A. ("PMGA") produced documents related to services rendered by

   PMGA (Bates-stamped SEC-PMGA-E-0000001-19816 and SEC-PMGA-P-0000001-486). A true

   and accurate copy of the records custodian certification sent in connection with the production is

   attached as Exhibit EEE.

          I declare under penalty of perjury that the foregoing is true, correct, and made in good faith.

   Executed on his   Zl day of December 2023.




                                                         9
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 11 of
                                     190



                               U. S. SECURITIES AND EXCHANGE COMMISSION

                                                                                       Investigation # FL-04347

                                         DECLARATION OF RUSSELL CASTILLO

            Pursuant to 28 U.S.C. Section 1746, the undersigned states as follows:

  1.        My name is Russell Castillo I am over twenty-one years of age and have personal knowledge of the matters
            set forth herein.

  2.        I am assigned as an IT Specialist to the U.S. Securities and Exchange Commission’s Division of
            Enforcement in Washington, D.C. As part of my duties, I have been trained to preserve various forms of
            online content. For investigation # FL-04347. I have been tasked to conduct a Website Capture/Video
            Capture/Social Media/Telegram/live stream/blog.

  3.        In support of investigation number FL-04347, and at the direction of my supervisor, I was tasked to
            conduct an internet preservation of the following URL’s:

            https://location.ventures/

            https://location.ventures/projects/8325-cheryl-lane/

            www.villavalencia.com

            www.maninfra.com

            www.miclglobal.com

            https://urbincondos.com/

  4.        I completed the above mentioned internet preservation on January 4, 2023, using the following tools:

            Fireshot Pro/Video Downloader Ultimate

            The above listed tools are commonly used to preserve internet content.

  5.        I saved the above-mentioned internet preservation using FTK Imager, which ensures that the internet
            preservation will not be altered or modified during storage. Specifically, FTK Imager forensically seals the
            internet preservation such that it can be opened only with FTK Imager. The sealed internet preservation
            has been labeled FL-04347, and saved to the following location:

            K:\Other_Projects\Webcaptures\imagefiles

       6.   I also saved a copy of the above mentioned internet preservation along with this declaration to a network
            share. The location for this network share is provided below:

            \\tsclient\K\Other_Projects\Webcaptures\Websites


  I declare under penalty of perjury that the foregoing is true, correct, and made in good faith.



  [Russell Castillo]                                                        Executed on this 4th day of January 2023


                                                   W
                            Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 12 of
                                                                 190




                                                                 Home         Company          Development   Projects      News         Team        Contact




                                Location Ventures
                                              An Integrated Real Estate Platform




                                                                  ABOUT US




                     Location Ventures is an integrated real estate platform that provides comprehensive investment,
                  development, management, marketing, and sales for residential and mixed-use properties in the South
                Florida market and beyond. What does that mean? We invest in one-of-a-kind living experiences that make
                                       the highest and best use of unique development locations.


                                                                 LEARN MORE




                                                             BUSINESS AREAS




Location Capital                                       Location Development                                      Location Properties
A private real estate investment and asset             Focused on developing architecturally                     A full-service real estate sales and
management division that raises capital to             significant living experiences to key                     marketing team that offers comprehensive
invest in premium locations and premier                markets in South Florida.                                 buyer, seller, and investor services to both
developers.                                                                                                      property owners and developers.
                                                            LEARN MORE
     LEARN MORE                                                                                                         LEARN MORE




                                                 Let’s work together
                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 13 of
                                                                          190




Say Hello!


OFFICE
                                         Our team has the skills to move your business in the real estate marketplace.
299 Alhambra Circle,
Ste. 510                                 Contact us today to learn more.
Coral Gables, FL 33134
                                         NAME                                                     EMAIL                                        PHONE


T: 786-701-6724

                                         YOU ARE A




                                         YOUR MESSAGE




                                         This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




LINKS                    CONNECT                   LOCATION COMPANIES                             CONTACT                                SUBSCRIBE TO NEWSLETTER

Home                     Facebook                  Location Capital                               299 Alhambra Circle,
Company                  Instagram                 Location Properties                            Ste. 510
Development                                                                                       Coral Gables, FL 33134
Projects
Team                                                                                              T: 786-701-6724

Contact
                                                Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 14 of
                                                                                     190




                                                                                                Home          Company            Development       Projects         News         Team          Contact




                                                                        Location Ventures

                                 Location, they say, is the most important thing in real estate. But for us, this isn’t where the story ends.
                                    It’s only the first step in a unique journey. Location Ventures is a unique real estate platform that

                                  provides comprehensive investment, development, management, marketing and sales for residential
                                                                     and mixed-use properties.

                                 What does that mean? Simply put, we invest in one-of-a-kind living experiences that make the highest
                                                                    and best use of unique development locations.

                                  For some projects, that means investing capital, for others that means crafting a one-of-a-kind living
                                    experience from ideation to completion. Our portfolio contains a mix of ultra-luxury single-family
                                   homes, boutique condo developments, and a soon-to-be hip urban colive and cowork space where
                                                    young professionals live, work and engage in one environment.

                                 The common thread woven through all of what we do is our relentless desire to help create one thing
                                         —the home of tomorrow. Thoughtfully designed, fully connected – inside and out.




                                                                            Let’s work together




                                                 Creating Value Through Real Estate

                                   Location Ventures generates a return on capital through managed funds that invest VE in premium
                                     locations and premier developers. By investing in premier projects, we bring value to our target
                                          communities through new construction and the transformation of existing properties.




                           865                                                           $ 400 m                                                                      10
                           SHOTS OF                                                                   IN                                                            MEETINGS
                           EXPRESSO                                                         DEVELOPMENT                                                                A DAY




                                                                     Our Design Philosophy

                                     Our philosophy is created around four pillars: design, nature, technology, and wellness. With a vision to
                                      reflect the way we live, our projects are designed to make a positive impact on the resident, providing
                                       seamless access to the natural world, full-technology integration, and elegant wellness solutions in
                                                                         thoughtfully-designed spaces.



 01                                                                   02                                                                  03

 Nature                                                               Technology                                                          Wellness

 We believe in bringing natural tranquility to the lived              Our approach to real estate utilizes technology during every        To us, wellness is not just a buzzword, it’s a way of life. In each
 environment. In each of our projects, we plan for extensive          step – from acquisition to completion – for a fully integrated      of our projects, we are comprehensive about solutions that
 landscaping and lush gardens, sometimes increasing the               experience. We use 3D techniques and digital experiences to         will enhance day-to-day living. This means providing wellness
 natural flora up to 80% more. The indoor/outdoor lifestyle           showcase our vision, and use home automatization for the            systems – air circulation, wellness lighting – and amenities –
 capitalizes on South Florida’s climate, provides balance to          control of lighting, security, audio and more, into the project.    a hammam, yoga terrace, gym – that holistically enrich the
 hardscapes and creates a healthier atmosphere.                       We believe in technology that elevates daily living.                body and the soul.




LINKS                           CONNECT                        LOCATION COMPANIES                       CONTACT                                SUBSCRIBE TO NEWSLETTER

Home                            Facebook                       Location Capital                         299 Alhambra Circle,
Company                         Instagram                      Location Properties                      Ste. 510
Development                                                                                             Coral Gables, FL 33134
Projects
Team                                                                                                    T: 786-701-6724

Contact
                                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 15 of
                                                                               190




                                                                                      Home         Company         Development      Projects       News       Team        Contact




Development


 Single-Family                                                  Multi-Family                                                 Renovations
 Location Development is active in the residential space        Our multi-family projects range from boutique condos         Part of our development ethos includes the rehabilitation
 with a focus on ultra-luxury single-family homes. Current      with niche targets to luxury high-rises and forward-         of existing property to market standard through
 projects include homes designed by Cesar Molina and            thinking co-live concepts in the urban core.                 thoughtful design and well executed plans.
 Max Strang.




Our Philosophy

Founded as the development services arm of Location Ventures, Location Development is a
leading South Florida developer whose projects embody the South Florida lifestyle and
showcase a vision creating unparalleled living experiences.

Our mission is to create “exceptional living experiences in premium locations” using advanced 3D
techniques to bring the building and living experience to life for our customers. We do this
through partnering with leading South Florida experts to help achieve our vision in structural
architecture, landscape architecture, home technology and interior design.

Everything we conceptualize is conceived in incredible detail and designed to serve the lifestyle
needs of visionary buyers and renters. We value relaxation, convenience, wellness, connections
between people, and culture; and we believe in bringing natural tranquility to the lived
environment. Obsessive detail is our hallmark, and every project we build offers a tailored
experience at every touchpoint – from our high-rise ultra luxury condos to micro-unit co-live
concepts.

We specialize in using a carefully crafted build program with intelligent layouts and seamless
technology and utilize an immersive 3D experience to bring the process to life. We do all of this,
while ensuring that all our developments place an emphasis on wellness and a connection to the
natural world.

In our single-familyresidences, we incorporate extensive water features, true in-home spas,
abundant natural light, intuitive floor plans, and discrete features like hidden storage and quietly
integrated technology. These details carry through to our condo and rental concepts, where we
incorporate thoughtful finishes, cutting-edge amenities, extensive landscaping and garden areas
for outdoor experiences, bespoke building and community programming, and landmark retail
that shares our vision for an attuned world.




                                                             Let’s build something together
                                                 Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 16 of
                                                                                      190




                                                          Acquire, Design, Build and Manage

                                       Our development process starts from acquiring property and extends through the design process to
                                        construction, while remaining on schedule, minimizing risk and maximizing value. From end-to-end
                                                                  construction and management, Location Development does it all.




                         01                                             02                                           03                                     04

                         Acquire                                        Design                                       Build                                  Manage

                         We identify market opportunities in            Our experienced project managers             Construction is closely overseen to    Location Development is a fully-
                         premium locations while striving to            work strategically with our partners         ensure quality, on-time delivery and   integrated build-manage operator
                         practice financial discipline,                 to create a design and program for           cost-effectiveness, and to             and we take an active management
                         conservative risk assessment, and              projects that add value to the               maximize owner investment while        role of multi-family and commercial
                         flexibility to deliver value to our            property and align with our core             also taking into consideration of      projects, ensuring that investments
                         projects.                                      philosophy.                                  the project’s needs. Every project     are optimally performing long after
                                                                                                                     has a dedicated GC and we work         they are constructed.
                                                                                                                     with a network of trusted resources
                                                                                                                     with established relationships.




                                                                                                      WHAT THEY SAY




                                       “What we like about the team is their idea to bring together all these people,
                                                      the best in the business really, to tackle the top end market.”

                                                                                                      Winmar Construction




Ready to Get Started?


OFFICE
                                                          Contact us today to learn more about our process and how we
299 Alhambra Circle,
Ste. 510                                                  can bring your project to life.
Coral Gables, FL 33134


                                                          NAME                                                     EMAIL                                              PHONE
T: 786-581-6620


                                                          YOU ARE A




                                                          YOUR MESSAGE




                                                          This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 17 of
                                                               190




LINKS         CONNECT                LOCATION COMPANIES           CONTACT                       SUBSCRIBE TO NEWSLETTER

Home          Facebook               Location Capital             299 Alhambra Circle,
Company       Instagram              Location Properties          Ste. 510
Development                                                       Coral Gables, FL 33134
Projects
Team                                                              T: 786-701-6724

Contact
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 18 of
                                                                         190




                                                                          Home          Company            Development       Projects      News         Team    Contact




Unparalleled Living in                |




From micro-unit rental projects to ultra-luxury single family homes, our
philosophy is to create real estate that provides unparalleled experiences in
premium locations.
                                                                                All    Single Family       Multi Family   Commercial    Condo Development      Renovations




  The EDITION Residences                  URBIN                                       FORUM                                        Commodore Inn the Grove
  Fort Lauderdale                         Commercial                                  Commercial                                   Multi Family
  Condo Development




  Orduna Court                            Villa Valencia                              3620 Stewart Ave                             3610 Stewart Ave
  Multi Family                            Condo Development                           Single Family Home                           Single Family Home




  8325 Cheryl Lane
  Single Family Home




LINKS                   CONNECT                 LOCATION COMPANIES                CONTACT                                  SUBSCRIBE TO NEWSLETTER

Home                    Facebook                Location Capital                  299 Alhambra Circle,
Company                 Instagram               Location Properties               Ste. 510
Development                                                                       Coral Gables, FL 33134
Projects
Team                                                                              T: 786-701-6724

Contact
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 19 of
                                                                        190




                                                                          Home       Company        Development       Projects      News     Team   Contact




The EDITION Residences Fort Lauderdale

Architect Garcia Stromberg              Interior Designer Clodagh                   Location Fort Lauderdale Beach,              Completion 2023
                                                                                    Florida



The EDITION Residences in Fort Lauderdale Beach comprises 65 luxury residences in a modern setting designed by South Florida architect Garcia
Stromberg. Created for the indoor/outdoor lifestyle, residents will experience tropical modernism from the comfort of their home in a setting that truly
defines South Florida living. The dual-story waterfront building rising 11 stories embraces the natural surroundings of the tropical greenery and
aquatic hues of the bay, at the cusp of the Intracoastal waterfront and just minutes to white sands.

Features & Amenities

   Grand Lobby Entrance with Intracoastal Views                                     Spa with Hammam, steam and sauna, as well as treatment room
   Spacious indoor/outdoor residence layouts with only 4 residences per             Resort-Style Pool and Relaxation Deck
   floor                                                                            Lap Pool with swim lane and sunbeds
   Wellness Program with Fitness center and program for yoga, pilates and           24/7 Attended Lobby with Concierge
   mindfulness
                                                                                    Secure Parking with resident and Guest Valet




LINKS                  CONNECT                 LOCATION COMPANIES                CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                   Facebook                Location Capital                  299 Alhambra Circle,
Company                Instagram               Location Properties               Ste. 510
Development                                                                      Coral Gables, FL 33134
Projects
Team                                                                             T: 786-701-6724

Contact
                                      Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 20 of
                                                                           190




                                                                            Home       Company        Development     Projects    News        Team   Contact




URBIN

URBIN LIVE                                                URBIN WORK                                            URBIN RETREAT

URBIN Coconut Grove                                       URBIN Coconut Grove                                   URBIN Miami Beach

URBIN Coral Gables                                        URBIN Coral Gables


Co-Live, Work, and Wellness Platform

A new co-live, work, and wellness concept by the name of URBIN is set to launch in South Florida by the end of the year. Backed by Miami-based
developer Location Ventures, URBIN aims to provide affordability, sustainability and mobility to tenants in core urban neighborhoods across the world,
starting right here in South Florida.

URBIN is on a mission to help solve three of the great challenges of modern urban living – affordability, mobility and sustainability. The key to URBIN’s
mission to make great living experiences affordable is to own and operate real estate, allowing the brand to pass on superior pricing opportunities to
members. On the co-living side, furnished units will start at $1000/mo, while desk space at the coworking space will start at $350/mo. Amenities across
the platform will include a gym, spa, storage, and communal areas alongside opt-in services such as a meal service, housekeeping and personal training.

“Affordability, mobility and sustainability – these are three great challenges of our time, and URBIN offers a solution.” Rishi Kapoor, CEO & Founder,
Location Ventures

As a responsible, circular community, URBIN will aim to adhere to sustainability standards that include renewable energy and water capture, treatment
and reuse on every site. According to recent studies, the environmental carbon impact of one dense tower is the equivalent of 1000 gasoline cars per
day. At future ground up sites, URBIN will aim to achieve energy and water independence to offset carbon impact and showcase how developments can
still be environmentally responsible.



The brand’s vision is to have 100 locations open worldwide in the next 10 years, providing members an unparalleled mobile network that allows them to
live and work across South Florida and eventually, across the globe.


In addition to urban   cities, plans are underway for URBIN to also launch in resort and university locations, expanding the concept to vacation locales and
college towns.




LINKS                     CONNECT                 LOCATION COMPANIES               CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                      Facebook                Location Capital                 299 Alhambra Circle,
Company                   Instagram               Location Properties              Ste. 510
Development                                                                        Coral Gables, FL 33134
Projects
Team                                                                               T: 786-701-6724

Contact
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 21 of
                                                                        190




                                                                         Home     Company       Development      Projects      News      Team   Contact




FORUM

Project Type                            Architect                                Location                                   Role
Commercial, Cowork                      In-House Team                            Coral Gables, FL                           Owner / Operator


BRINGING WORK TO LIFE
YOUR WORKSPACE IN DOWNTOWN CORAL GABLES

FORUM was founded with the idea to rethink what a co-working space should be: a mindfully-designed, collaborative environment that creates an
atmosphere of success, supports business and fosters a community of engagement. Location in downtown Coral Gables, every inch of FORUM has
been thoughtfully considered to provide the highest level of comfort and efficiency in the workplace.

FORUM offers various membership levels created to suit the needs of entrepreneurs, freelancers, startups and enterprise businesses. All-inclusive rates
and turn-key services allow members to focus on the business – we manage the rest.



SPACE                                               SECURITY                                             BUSINESS SERVICES
  WORKSPACE                                             SECURE ACCESS                                       ADMIN SUPPORT
  MEETING ROOMS                                         GUEST CHECK-IN                                      CONSULTING SERVICES
  KITCHEN & LOUNGE                                      ON SITE AFTER                                       NETWORKING SUPPORT
  BREAKOUT NOOKS                                        HOURS SECURITY BUSINESS SERVICES                    WORKSHOPS
  PHONE BOOTHS



TECHNOLOGY                                          COMMUNITY                                            SUPPORT SERVICES
  HIGH SPEED WIFI                                       MEMBER EVENTS                                       COMMUNITY MANAGER
  DEDICATED ETHERNET                                    NETWORKING MEETUPS                                  PRINTING & COPYING CENTER
  DEDICATED PHONE LINE                                  PANELS & TALKS                                      PACKAGE & MAIL CENTER
  MEMBER PORTAL                                         SEMINARS                                            CLEANING
  ONLINE BILL PAY
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 22 of
                                     190
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 23 of
                                                               190




LINKS         CONNECT                LOCATION COMPANIES           CONTACT                       SUBSCRIBE TO NEWSLETTER

Home          Facebook               Location Capital             299 Alhambra Circle,
Company       Instagram              Location Properties          Ste. 510
Development                                                       Coral Gables, FL 33134
Projects
Team                                                              T: 786-701-6724

Contact
                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 24 of
                                                                          190




                                                                           Home       Company      Development   Projects      News      Team   Contact




Commodore Inn the Grove

Development Type                           Architect                                 Location                               Role
Multi-Family                               N/A                                       Coconut Grove, FL                      Owner / Operator



Commodore Inn The Grove is the primary choice for extended-stay housing for Miami, Florida. Located in the heart of Coconut Grove, Commodore Inn
the Grove offers 20 temporary and corporate short-term or long-term furnished apartments. Stay from one month to a year; the apartments are the
perfect solution to make a relocation feel like a vacation.

Located in the heart of Coconut Grove, Commodore Inn The Grove is steps to shopping, dining, and many attractions in the neighborhood.


Features & Amenities
  Full-Size Equipped Kitchens                             FREE WIFI and Ethernet Connection

  Washer & Dryer In Unit                                  Electronic Door Locks & Intercom Systems

  Stereo System with CD & Flat Screen TV                  Parking in Secure Parking Garage

  Direct-Dial Phones for Unlimited Calling                Mail and Package Lockers
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 25 of
                                     190
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 26 of
                                                               190




LINKS         CONNECT                LOCATION COMPANIES           CONTACT                       SUBSCRIBE TO NEWSLETTER

Home          Facebook               Location Capital             299 Alhambra Circle,
Company       Instagram              Location Properties          Ste. 510
Development                                                       Coral Gables, FL 33134
Projects
Team                                                              T: 786-701-6724

Contact
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 27 of
                                                                         190




                                                                          Home        Company       Development     Projects      News      Team    Contact




Orduna Court

Development Type                         Architect                                  Location                                   Completed
Multi-Family                             Renovation                                 Coral Gables                               2018



Orduna Court is a tropical-modern boutique building with 24 spacious 2- and 3-bedroom units equipped with the latest home technology and featuring
spacious terraces. Located in the heart of Coral Gables near the University of Miami, the building has also been renovated to include thoughtful amenities
including a resort-style pool, BBQ area, bike racks, and private storage. There is a gated and secure covered parking garage with 42 spaces.

The property is the result of a an assemblage of all 24 condo units in the building. There are 4 large penthouse units that span two floors. Renovation of all
residences started in 2017 to raise the property level to market value with new flooring, cabinetry, lighting and fixtures. Rents start at $2950, averaging
$3.95/SF.

Amenities
   Pool
   BBQ Entertainment Area
   Storage Areas
   Covered Parking Garage




LINKS                   CONNECT                 LOCATION COMPANIES               CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                    Facebook                Location Capital                 299 Alhambra Circle,
Company                 Instagram               Location Properties              Ste. 510
Development                                                                      Coral Gables, FL 33134
Projects
Team                                                                             T: 786-701-6724
Contact
                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 28 of
                                                                          190




                                                                           Home        Company        Development       Projects      News     Team   Contact




Villa Valencia


Development Type                          Architect                                  Location                                      Completed
Condo Development                         Hamed Rodriguez Architects                 Coral Gables                                  Expected 2021
                                          CMA Design Studio



Villa Valencia is a distinguished collection of 39 ultra-luxury residences, just steps to the modern side of Coral Gables. The new Coral Gables classic, private
residences are available from $1.8 million.

Inspired by Coral Gables’ rich history of Mediterranean architecture and glamorous living, Villa Valencia offers residents a modern living experience at the
nexus of the past, present and future with refined finishes, thoughtful amenities, and access to an urban lifestyle that defines how we live today, and the
future tomorrow.


Features & Amenities
   Spacious Open Floor Plans                                                          Indoor / Outdoor Resident Living Room
   Deep, Wide Terraces                                                                Media Study with Golf Simulator
   Lush Landscaping and Hammock Garden                                                Resort-Style Pool and Spa

   Elegant Fixtures & Finishes                                                        Summer Kitchen and Outdoor Dining

   Subzero and Wolf appliances                                                        Spa Program with Hammam, Steam and Hydrotherapy Pool

   Designer Vanities and Custom Closets                                               Gym & Fitness Area

   Customized Home Technology System                                                  Valet Parking

   Hurricane Impact Resistant, Energy-Efficient Windows




LINKS                    CONNECT                LOCATION COMPANIES                CONTACT                           SUBSCRIBE TO NEWSLETTER

Home                     Facebook               Location Capital                  299 Alhambra Circle,
Company                  Instagram              Location Properties               Ste. 510
Development                                                                       Coral Gables, FL 33134
Projects
Team                                                                              T: 786-701-6724

Contact
                                      Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 29 of
                                                                           190




                                                                         Home        Company       Development     Projects    News        Team   Contact




3620 Stewart Ave

   Stewart Avenue is an four-floor luxury
   personal resort in a gated area of Coconut
   Grove in Miami, Florida. Spanning 10,000
   square feet, the home has 4 bedrooms and 4
   bathrooms alongside open plan living and
   dining as well a media study and master
   apartment. On the ground level, the
   hydrotherapy program includes a hammam,
   wet spa, and resort-style pool. The multi-
   level home is ideal for entertaining with
   indoor / outdoor spaces on every living level
   – a rooftop sky terrace places residents in
   the treetops for a truly unique home living
   experience. The home was designed by
   modernist and leading architect Max Strang
   of [STRANG] architecture.

   Features & Amenities
        Integrated Indoor/ Outdoor Lifestyle
        Lush Landscaping and Gardens
        Elegant European Fixtures & Finishes
        Subzero and Wolf appliances
        Designer Vanities and Custom Closets
        Customized Savant Home Technology
        System
        Hurricane Impact Resistant, Energy-
        Efficient Windows
        Rooftop Entertainment Area
        Home Spa Program with Hammam
        Gym & Fitness Area
        360-Master Suite Program


   Development Type
   Single-Family


   Architect
   [STRANG]


   Location
   Coconut Grove


   Completed
   Expected 2020




LINKS                     CONNECT                  LOCATION COMPANIES           CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                      Facebook                 Location Capital             299 Alhambra Circle,
Company                   Instagram                Location Properties          Ste. 510
Development                                                                     Coral Gables, FL 33134
Projects
Team                                                                            T: 786-701-6724

Contact
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 30 of
                                                                         190




                                                                           Home       Company        Development     Projects      News      Team     Contact




3610 Stewart Ave

Development Type                          Architect                                  Location                                   Completed
Single-Family                             CMA Design Studio                          Coconut Grove                              Expected 2020



Stewart Avenue is a tropical-inspired personal resort in a gated area of Coconut Grove in Miami, Florida. The home centers around a large center open-air
atrium blending the outside with the inside. Stewart features a flow through living and dining area for entertaining as well as a master apartment with his-
and-hers dressing rooms, junior suites, and a media study. The ground floor is dedicated to a life well lived with a summer kitchen, resort pool, spa, fire pit
and water features. The home is designed by leading South Florida architect Cesar Molina of CMA Design Studio.


Features & Amenities
   Integrated Indoor/ Outdoor Lifestyle                                              Hurricane Impact Resistant, Energy-Efficient Windows
   Lush Landscaping and Gardens                                                      Rooftop Entertainment Area
   Elegant European Fixtures & Finishes                                              Home Spa Program with Hammam
   Subzero and Wolf appliances                                                       Gym & Fitness Area
   Designer Vanities and Custom Closets                                              360-Master Suite Program
   Customized Savant Home Technology System




LINKS                   CONNECT                 LOCATION COMPANIES                CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                    Facebook                Location Capital                  299 Alhambra Circle,
Company                 Instagram               Location Properties               Ste. 510
Development                                                                       Coral Gables, FL 33134
Projects
Team                                                                              T: 786-701-6724

Contact
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 31 of
                                                                        190




                                                                          Home      Company       Development      Projects      News     Team        Contact




8325 Cheryl Lane

Development Type                         Architect                                Location                                    Sold
Single-Family                            CMA Design Studio                        Ponce Davis                                 May 2021



Cheryl Lane is a luxury personal resort located in Ponce Davis, Miami, and designed by CMA Design Studio. This truly exceptional, high-quality residence
embodies the South Florida lifestyle, sold in May 2021 for a record-breaking $11.8M for a non-waterfront lot. Spanning two floors, the home features 6
bedrooms, including a master suite and three guest suites, 7 bathrooms, 3 half bathrooms, a media room, and a suite of thoughtful amenities. A singular
blend of the natural environment and sophisticated timeless design, Cheryl Lane offers residents the ultimate personal resort in a private setting.


Features & Amenities
  Integrated Indoor/ Outdoor Lifestyle                                             Hurricane Impact Resistant, Energy-Efficient Windows
  Lush Landscaping and Gardens                                                     Temperature-Controlled Wine Room
  Elegant European Fixtures & Finishes                                             Outdoor Entertainment Area
  Subzero and Wolf appliances                                                      Home Spa Program with Hammam and Hydrotherapy Pool
  Designer Vanities and Custom Closets                                             Gym & Fitness Area with Massage Room
  Customized Savant Home Technology System                                         360-Master Suite Program
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 32 of
                                                               190




LINKS         CONNECT                LOCATION COMPANIES           CONTACT                       SUBSCRIBE TO NEWSLETTER

Home          Facebook               Location Capital             299 Alhambra Circle,
Company       Instagram              Location Properties          Ste. 510
Development                                                       Coral Gables, FL 33134
Projects
Team                                                              T: 786-701-6724

Contact
                                                                                                                                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 33 of
                                                                                                                                                                                        190




                                                                                                 Home         Company           Development       Projects       News           Team        Contact




News


                                                                                                                                                             RECENT POSTS

                                                                                                                                                             1505 Ponce in South Florida Business
                                                                                                                                                             Journal

                                                                                                                                                             URBIN Miami Beach in The Next Miami

                                                                                                                                                             CEO Rishi Kapoor in The Real Deal

                                                                                                                                                             EDITION Residences Fort Lauderdale
                                                                                                                                                             in Luxury   Travel Magazine
  1505 Ponce in South Florida Business                                           URBIN Miami Beach in The Next Miami
                                                                                                                                                             1505 Ponce in Miami Today
  Journal                                                                        Location Ventures project URBIN Miami Beach was recently
  Location Ventures' latest project '1505 Ponce' was recently                    featured in The Next Miami article "URBIN Miami Beach
                                                                                                                                                             CATEGORIES
  featured in South Florida Business Journal article "Location                   Breaks Ground, With All 69 Units Sold Out". Highlighting our
  Ventures buys site for Coral Gables condo".                                    recent groundbreaking event.                                                Company News

                                                                                                                                                             Press

                                                                                                                                                             Project Updates

                                                                                                                                                             Uncategorized


                                                                                                                                                             TAGS

                                                                                                                                                               Coral Gables      Orduna Court

                                                                                                                                                               Real Estate      The City Beautiful

                                                                                                                                                               The Real Deal      URBIN

                                                                                                                                                               Villa Valencia




  CEO Rishi Kapoor in The Real Deal                                              EDITION Residences Fort Lauderdale in
  Location Ventures CEO Rishi Kapoor was recently featured in                    Luxury Travel Magazine
  The Real Deal article "We're at the teenage years of Miami":                   EDITION Residences Fort Lauderdale featured in Luxury
  Next-gen developers see opportunity. Highlighting Rishi's                      Travel Magazine, highlighting the prime real estate of the
  recent participation in Real Deal showcase panel with Alex                     Intracoastal Waterway.
  Witkoff EVP of Development at Witkoff.




  1505 Ponce in Miami Today                                                      The EDITION Residences Fort Lauderdale
  Location Ventures' latest luxury condominium project 1505                      in MSN
  Ponce was recently featured in Miami Today article                             The EDITION in MSN article "Edition Hotels Is Opening Stand-
  highlighting recent approval from Coral Gables.                                Alone Residences in Fort Lauderdale" touching up on the
                                                                                 growing demand for luxury branded residences.




  EDITION Residences Fort Lauderdale in                                          Rishi Kapoor & The EDITION Residences in
  Yahoo Life                                                                     The Real Deal
  The EDITION Residences Fort Lauderdale in Yahoo Life article                   CEO of Location Ventures Rishi Kapoor was recently featured
  titled "Edition Hotels Is Opening Stand-Alone Residences in                    in The   Real Deal, touching up on the recent launch of The
  Fort Lauderdale".                                                              EDITION Residences Fort Lauderdale.




  EDITION Residences Fort Lauderdale in                                          CEO Rishi Kapoor The City Beautiful
  Robb Report                                                                    Location Ventures CEO was recently featured in The City
  Location Ventures is proud to announce alongside Marriott                      Beautiful Article titled "Want to Know What Comprises the
  Hotels the launch of our latest luxury condominium project,                    Gables Economy? Small Businesses".
  EDITION Residences Fort Lauderdale featured in Robb
  Report.




                                                        1        2   3   …       11       Next »




LINKS                        CONNECT                          LOCATION COMPANIES                         CONTACT                                SUBSCRIBE TO NEWSLETTER

Home                         Facebook                         Location Capital                           299 Alhambra Circle,
Company                      Instagram                        Location Properties                        Ste. 510
Development                                                                                              Coral Gables, FL 33134
Projects
Team                                                                                                     T: 786-701-6724

Contact
                                                                                                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 34 of
                                                                                                                                                          190




                                                                          Home       Company        Development     Projects       News           Team        Contact




Press      |




1505 Ponce in South Florida Business
Journal
December 9, 2022




Location Ventures latest project ‘1505 Ponce’ was recently featured in South Florida Business Journal article
                  ‘




“Location Ventures buys site for Coral Gables condo”.
From the article:                                                                                                              RECENT POSTS

Location Ventures paid $35.6 million for a condo development site in Coral Gables, according to several                        1505 Ponce in South Florida Business
parties involved in the deal.                                                                                                  Journal
TWJ 1505 LLC, an affiliate of Miami-based Florida East Coast Realty, led by Tibor Hollo sold the 1.56-acre site
                                                                                           ,
                                                                                                                               URBIN Miami Beach in The Next Miami
at 1505 Ponce de Leon Blvd., plus 122 and 126 Menores Ave., to 1505 Ponce SPE LLC, an affiliate of Coral
                                                                                                                               CEO Rishi Kapoor in The Real Deal
Gables-based Location Ventures, led by CEO Rishi Kapoor The property is mostly vacant, but it has a 97-year-
                                                            .



old apartment complex that will be preserved and renovated to host restaurants.                                                EDITION Residences Fort Lauderdale
                                                                                                                               in Luxury   Travel Magazine
The developer secured a $20 million land acquisition loan from Miami-based Vertix Group, led by Albert
Arisso and Patricio Filippi
                          .                                                                                                    1505 Ponce in Miami Today
The city approved the project for nearly 500,000 square feet, with 87 residences, 10,500 square feet of retail
and 319 parking spaces. There would be an amenity deck on the fourth floor.                                                    CATEGORIES

Amenities would include a spa with a steam room and sauna, plus a full board room for private meetings.                        Company News
There would also be a public dog park outside the building along Mendoza Avenue.
                                                                                                                               Press
Kapoor said he intends to launch sales in January and break ground in the second half of 2023.
                                                                                                                               Project Updates
“We will be out in the market over the next couple of months looking for construction financing,” Kapoor said.
“Now, it’s about getting through permitting and launching pre-sales.”                                                          Uncategorized

He hasn’t finalized the name and branding of the project.
                                                                                                                               TAGS
Most of the condos would be three or four bedrooms, with a small collection of one- and two-bedroom units.
Pricing would start in the high $1 million range, or about $1,000 a square foot.                                                 Coral Gables      Orduna Court

Coral Gables-based Hamed Rodriguez Architects designed the building. The sellout value of the project would                      Real Estate      The City Beautiful
be north of $350 million.                                                                                                        The Real Deal      URBIN
While condo sales have slowed in Miami-Dade County over the past year because of higher interest rates,                          Villa Valencia
there are still many wealthy people moving here that are seeking high-end condos and homes.
Read on South Florida Business Journal HERE




LINKS                   CONNECT                 LOCATION COMPANIES               CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                    Facebook                Location Capital                 299 Alhambra Circle,
Company                 Instagram               Location Properties              Ste. 510
Development                                                                      Coral Gables, FL 33134
Projects
Team                                                                             T: 786-701-6724

Contact
                                                                                                                       Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 35 of
                                                                                                                                                            190




                                                                            Home       Company        Development     Projects       News           Team        Contact




Uncategorized       |




URBIN Miami Beach in The Next Miami
December 8, 2022




Location Ventures project URBIN Miami Beach was recently featured in The Next Miami article “URBIN Miami
Beach Breaks Ground, With All 69 Units Sold Out”. Highlighting our recent groundbreaking event.                                  RECENT POSTS

                                                                                                                                 1505 Ponce in South Florida Business
From the article:                                                                                                                Journal

                                                                                                                                 URBIN Miami Beach in The Next Miami
URBIN Miami Beach has broken ground, according to a press release.
                                                                                                                                 CEO Rishi Kapoor in The Real Deal

All 69   units are sold out.                                                                                                     EDITION Residences Fort Lauderdale
                                                                                                                                 in Luxury   Travel Magazine

Location Ventures is the developer with Touzet Studio the architect. Meyer Davis is designing common areas                       1505 Ponce in Miami Today
and amenities.
                                                                                                                                 CATEGORIES

LOCATION VENTURES BREAK GROUNDS ON URBIN MIAMI BEACH                                                                             Company News

                                                                                                                                 Press
The highly-anticipated occasion marked construction now underway for the first location in the URBIN brand
                                                                                                                                 Project Updates
collection, within the transforming Washington Avenue neighborhood      .


                                                                                                                                 Uncategorized

MIAMI (Nov. 23, 2022) – Location Ventures – the Miami-based, integrated real estate firm that delivers
                                                                                                                                 TAGS
thoughtfully-designed and fully-connected real estate projects – announced today the groundbreaking of
URBIN Miami Beach. The milestone marks construction commencement for the first-to-market, mixed-use                                Coral Gables      Orduna Court

brand that unites design-forward residences for short- or long-term rental with co-working spaces, wellness                        Real Estate      The City Beautiful
amenities, social activations, and lifestyle-oriented retail, all in one central address.                                          The Real Deal      URBIN

                                                                                                                                   Villa Valencia
On November 15, Location Ventures, development partners and city officials gathered at the project site, 1260
Washington Ave., for the official groundbreaking ceremony. Special guests included Miami Beach Mayor Dan
Gelber, Washington Avenue Business Development Executive Director Troy Wright and Miami Beach
Commissioner Alex Fernandez. Guests enjoyed breakfast hors d’oeuvres, freshly brewed coffee and sparkling
wine, while learning about the future development.


URBIN Miami Beach is the first property to launch of the URBIN brand portfolio, with a second location in
Coconut Grove and plans underway to further scale in key U.S. cities. With exclusive sales representation by
ONE Sotheby’s International Realty, URBIN Miami Beach is comprised of 69 units, which are sold out and
attracted a diverse buyer demographic, including Latin America and Europe. URBIN Coconut Grove is set to
break ground in 2023, with 90 percent of its residential offerings currently sold.


The URBIN development is the latest addition to the renaissance now underway for Miami Beach’s
Washington Avenue. Known for its prime location in the epicenter of lively culture, dining and entertainment
and just blocks from the beach, efforts led by the local Business Improvement District, City of Miami Beach
and private enterprises have established a healthy pipeline of new businesses and contemporary concepts
that will transition the area into its next evolution.


“Following immense sales interest, we are excited to initiate the construction process for the first URBIN
location at a ripe moment in Miami Beach’s history,” said Rishi Kapoor, CEO of Location Ventures. “This
property will infuse living, working and wellness into a singular location, while contributing to the quickly-
evolving, iconic Washington Avenue district. We selected this site because it represents our brand ethos to
increase accessibility and mobility in urban cores.”


The turnkey residences at URBIN Miami Beach range from 275-square-foot studios to two- to four-bedrooms
up to 1,334 square feet, offering city or partial ocean views. Shared spaces, including a common kitchen,
dining, and living area, will foster community, collaboration, and networking. Unit owners will have exclusive
access to a lease-back program that allows stay on property for up to 90 nights per year. While away, the
residence is professional managed in-house and available for extended stay rentals.


A variety of resort-inspired services, such as valet parking, concierge, housekeeping, and room service will
complement onsite amenities to create an environment to “live-work-well.” Residents and members of the
adjacent URBIN coworking space will enjoy a rooftop with a bar lounge area and green spaces, as well as the
wellness center with programming for mindfulness, movement, nourishment, and healing. Food and beverage
offerings can be found at the ground-floor café and bar and gourmet market.


Catering to the increased demand for quality office space in Miami Beach, URBIN’s dedicated coworking
component will bring an elevated level of service to the work experience. In addition to the physical space,
coworking members will have access to necessary business support tools, including consulting,
administrative and networking services.


URBIN Miami Beach is designed by Touzet Studio, led by Carlos Prio-Touzet and Jacqueline Gonzalez-Touzet.
The building’s façade will complement the playful energy of Miami Beach, featuring geometric styles and
colors found throughout the neighborhood, with a nod to its Art Deco heritage. Its common areas and amenity
interiors are curated by Meyer Davis, the award-winning design studio from New York City. The property is two
blocks from the beach, steps from Ocean Drive and Lincoln Road, and part of the world’s largest Art Deco
district.




LINKS                          CONNECT           LOCATION COMPANIES                CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                           Facebook          Location Capital                  299 Alhambra Circle,
Company                        Instagram         Location Properties               Ste. 510
Development                                                                        Coral Gables, FL 33134
Projects
Team                                                                               T: 786-701-6724

Contact
                                                                                                                           Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 36 of
                                                                                                                                                                190




                                                                              Home         Company        Development     Projects       News           Team        Contact




Press      |




CEO Rishi Kapoor in The Real Deal
November 14, 2022




Location Ventures CEO Rishi Kapoor was recently featured in The Real Deal article “We’re at the teenage years
of Miami”: Next-gen developers see opportunity. Highlighting Rishi’s recent participation in Real Deal showcase                      RECENT POSTS

panel with Alex Witkoff EVP of Development at Witkoff.                                                                               1505 Ponce in South Florida Business
                                                                                                                                     Journal
From the article:                                                                                                                    URBIN Miami Beach in The Next Miami

                                                                                                                                     CEO Rishi Kapoor in The Real Deal
Despite coming from distinct real estate legacies, developers Rishi Kapoor and Alex Witkoff see eye-to-eye on
the future of real estate in Miami.                                                                                                  EDITION Residences Fort Lauderdale
                                                                                                                                     in Luxury   Travel Magazine

“We’re at the teenage years of Miami,” said Witkoff, executive vice president of development at Witkoff. “Miami                      1505 Ponce in Miami Today
used to be a boom-and-bust market. Now it’s much more stable.”
                                                                                                                                     CATEGORIES

Location Ventures founder and CEO Kapoor and Witkoff spoke on the Next Generation panel at The Real Deal’s                           Company News
South Florida Showcase + Forum at Mana Wynwood in Miami on Thursday. TRD South Florida Managing
                                                                                                                                     Press
Editor Ina Cordle moderated the conversation.
                                                                                                                                     Project Updates

The pair agreed that the pandemic was transformational for South Florida. The mass migration that began                              Uncategorized

two years ago has been sustained with corporate relocations, creating entire ecosystems of real estate needs,
                                                                                                                                     TAGS
they said.
                                                                                                                                       Coral Gables      Orduna Court

“It’s creatingdemand up and down the spectrum,” said Kapoor, whose projects include the condo development                              Real Estate      The City Beautiful
Villa Valencia in Coral Gables; and The Edition Residences Fort Lauderdale, with 65 condos. He is also                                 The Real Deal      URBIN
managing partner of URBIN, a co-living, co-working and wellness brand.                                                                 Villa Valencia


Witkoff emphasized that the pandemic wave is subsiding, but South Florida is still drawing droves of people.


“Miami has low taxes, incredible sunshine … Florida is a state that is winning,” said Witkoff, whose projects
include redeveloping the former Diplomat golf club into a private golf club with 100 branded residences and a
boutique hotel; 700 North Miami, a mixed-use residential project
at Miami Worldcenter; and the redevelopment of the historic Shore Club in Miami Beach.
Kapoor highlighted that the influx of people presents an opportunity to serve multiple price points, something
Location Ventures is keen to do.


“For us, what’s really exciting is [being able] to tap into who is coming,” he said.


The pair also acknowledged the rough seas ahead, with a likely recession looming and banks tightening purse
strings. Kapoor reiterated discipline and building relationships with subcontractors as key to weathering harder
times.


“Storm clouds are gathering across the country,” he said. “We call it sunny-side Florida for a reason.”




LINKS                    CONNECT                  LOCATION COMPANIES                   CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                     Facebook                 Location Capital                     299 Alhambra Circle,
Company                  Instagram                Location Properties                  Ste. 510
Development                                                                            Coral Gables, FL 33134
Projects
Team                                                                                   T: 786-701-6724

Contact
                                                                                                                           Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 37 of
                                                                                                                                                                190




                                                                             Home       Company        Development        Projects       News           Team        Contact




Press      |




EDITION Residences Fort Lauderdale in
Luxury Travel Magazine
November 4, 2022




Recently featured in Luxury Travel Magazine, Location Ventures project EDITION Residences Fort Lauderdale
is the new generation of luxury. A boutique ultra-luxury waterfront condo with modern architecture and design,                       RECENT POSTS

with just 65 residences starting at $3M overlooking the Intracoastal Waterway.                                                       1505 Ponce in South Florida Business
                                                                                                                                     Journal
From the Luxury Travel Magazine article:                                                                                             URBIN Miami Beach in The Next Miami

                                                                                                                                     CEO Rishi Kapoor in The Real Deal
Known as the “Venice of America,” Fort Lauderdale’s 300 miles of inland waterways are a flowing ribbon of
serene Intracoastal with a mosaic of grand estates and passing mega yachts. This experience is the                                   EDITION Residences Fort Lauderdale
                                                                                                                                     in Luxury   Travel Magazine
quintessential lifestyle of this special locale, which has inspired the city’s first luxury branded residences on the
Intracoastal with the introduction of EDITION Residences Fort Lauderdale. Presented by Miami-based real                              1505 Ponce in Miami Today
estate investment platform Location Ventures and Marriott International’s EDITION Hotels, sales have officially
launched.                                                                                                                            CATEGORIES

                                                                                                                                     Company News
Located at 551 Bayshore Drive, the residences will meticulously unite modern sophistication with cultural
                                                                                                                                     Press
artistry to deliver a new kind of highly intuitive luxury. Two 11-story towers with cascading facades will connect
                                                                                                                                     Project Updates
by a grand, double-height entrance with stunning views of its waterfront setting. High-speed elevators will
whisk homeowners to 65 spacious residences, with two-bedroom to four-bedroom floor plans ranging                                     Uncategorized

between 1,710 to 4,660 square feet, along with nine villas and four penthouses.
                                                                                                                                     TAGS

The essence and originality of its surroundings capture EDITION Residences Fort Lauderdale’s upscale, yet                              Coral Gables      Orduna Court

laid-back ambiance through all facets. Extraordinary design is apparent with stately architecture by GS4                               Real Estate      The City Beautiful
Studios|Garcia Stromberg and sophisticated interiors by internationally-recognized Clodagh Design. Owners                              The Real Deal      URBIN
will also have exclusive access  to EDITION’s premier hospitality offerings, such as dining, entertainment, and a                      Villa Valencia
curated program of world-class amenities, as well as exceptional walkability and connectivity of the central
location in the “Yachting Capital of World.”


“Luxury living has a different meaning for today’s affluent homeowner for which they seek cultural experiences,
upscale concierge services and a breadth of lifestyle amenities at their fingertips,” said Rishi Kapoor, CEO of
Location Ventures. “Fort Lauderdale is undergoing a renaissance that is drawing sophisticated dwellers from
around the world, and EDITION is the ideal partner to fulfill their contemporary desire for authenticity, luxury
and accessibility.”


Residences will feature floor-to-ceiling windows and sliding doors that open to expansive private terraces.
Glass railings will offer unobstructed views of the Atlantic Ocean, vast Intracoastal scenery or the vibrant Fort
Lauderdale skyline. Exquisite interior finishes will shine light upon the finest materials imported from Europe,
including solid wood doors, stone flooring and custom cabinetry.


Gourmet kitchens designed by ITALKRAFT will blend quality craftsmanship with functionality, including quartz
countertops, custom built-ins, vertical pantries and ample storage. Premium Sub-Zero and Wolf appliances,
such as induction cooktops, steam ovens and wine coolers, will pepper the space, while outdoor entertaining
is made   easy with a summer kitchen equipped with an electric grill and beverage center. The master bathroom
will be a personal oasis with luxurious fixtures and a modern freestanding tub. Owners can also enjoy smart
home capabilities and unique wellness features like circadian rhythm lighting in the primary bedroom. Upgrade
options include access to a private enclosed two-car garage, private cabanas and more storage.


A dedicated valet and concierge will welcome residents’ home to resort-style living with an amenity program
that leaves no stone unturned. Lush tropical landscaping by Cadence will envelop the property and its 20,000
square feet of outdoor amenities, including paths leading to a relaxing outdoor meditation walkway with
meditation bowls and an Intracoastal riverwalk complete with temporary dockage for small boats. A moonroof
will become the ultimate nighttime retreat to wind down. In contrast, the sunroof will entertain with its multiple
activity areas, including an outdoor summer kitchen, movie screen and large fire pit. An eat-in lounge with a
gourmet kitchen will be host to socializing and private events, while those conducting business can work
remotely with on-site conference and conversation rooms.


EDITION Residences Fort Lauderdale will boast two pools, including an oversized resort-style pool surrounded
by relaxation sunbeds and private cabanas where residents can mingle while soaking up the South Florida
sun. The property will also feature a Health & Wellness Center, where owners can focus on fitness and utilize
designated areas for Pilates, Yoga, training and stretching. Those desiring moments for pampering can enjoy
the Turkish-style hammam and steam shower, in addition to treatment, movement and quiet rooms.


“The EDITION branded residences have attracted the most discerning of buyers from around the world who
are seeking a truly bespoke luxury offering,” said Jay Phillip Parker, CEO of Douglas Elliman, Florida and
President of Douglas Elliman Development Marketing, Florida. “We are thrilled to be working on our first project
with Location Ventures which will be bringing the first branded residences to the Intracoastal in one of Florida’s
most attractive luxury destinations.”


Long known for its mega yachts and 24 miles of golden beaches, Fort Lauderdale is currently undergoing a
transformation as an international destination. The city is bustling with new chef-driven restaurants and luxury
hotels, and its vibrant scene has become a magnet for new businesses and wealth migration.


“Fort Lauderdale has been quietly experiencing a renaissance over the past few years,” said Sheila Farahpour,
VP, Luxury Brands & Mixed-Use Development, Marriott International. “A city that was once known as a vacation
destination has morphed into one of the most attractive places to live in the U.S. with its renowned yachting,
golden beaches, vibrant arts and culture scene, and recent influx of new businesses. Fort Lauderdale has
emerged as a market of its own — and the EDITION Residences, Fort Lauderdale will be the perfect
complement for Owners seeking a more laid-back luxury lifestyle.”


EDITION Residences Fort Lauderdale is within walking distance to a plethora of leisure offerings, including the
beach, culinary experiences, hotels and more. It is also in proximity to the famed Las Olas Boulevard’s retail
and entertainment, museums and performing arts, and is just seven miles from Fort Lauderdale-Hollywood
International Airport.


Read more from the Luxury Travel Magazine article HERE


Pricing for EDITION Residences Fort Lauderdale begins at $3 million. For additional information, visit
www.fortlauderdaleeditionresidences.com or call 754-732-8901.




LINKS                   CONNECT                  LOCATION COMPANIES                 CONTACT                             SUBSCRIBE TO NEWSLETTER

Home                    Facebook                 Location Capital                   299 Alhambra Circle,
Company                 Instagram                Location Properties                Ste. 510
Development                                                                         Coral Gables, FL 33134
Projects
Team                                                                                T: 786-701-6724

Contact
                                                                                                                       Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 38 of
                                                                                                                                                            190




                                                                           Home        Company       Development      Projects       News           Team        Contact




Press      |




1505 Ponce in Miami Today
November 3, 2022




Location Ventures’ latest luxury condominium project 1505 Ponce was recently featured in Miami Today
article “Coral Gables project adds two parks, swaps historic rights” highlighting recent approval from Coral                     RECENT POSTS

Gables commissioners.                                                                                                            1505 Ponce in South Florida Business
                                                                                                                                 Journal
From the article:                                                                                                                URBIN Miami Beach in The Next Miami

                                                                                                                                 CEO Rishi Kapoor in The Real Deal
A 16-story mixed-use development known as 1505 Ponce got the green light to proceed with plans after
obtaining a transfer of development rights from seven historic properties and offering to create two                             EDITION Residences Fort Lauderdale
                                                                                                                                 in Luxury   Travel Magazine
permanent parks.
                                                                                                                                 1505 Ponce in Miami Today
On Tuesday, Coral Gables commissioners gave the OK for Location Acquisitions LLC, the contract purchaser
of 1505 Ponce de Leon Blvd., to proceed with construction design plans after the Historic Preservation Board                     CATEGORIES

reviewed the impact on seven local historic landmarks within 500 feet of the project and determined it would                     Company News
not adversely affect those historic landmarks.
                                                                                                                                 Press

                                                                                                                                 Project Updates
“As you remember, there’s a lot to like about this project. It’s less than half of the maximum permitted density
of 80 units versus 170 units, and almost a third of the project site is open space,” said Gunster’s Mario Garcia-                Uncategorized

Serra, who was representing Location Acquisitions.
                                                                                                                                 TAGS

In July, the city commission   approved the mixed-use project consisting of 297,027 square feet of floor area.                     Coral Gables      Orduna Court

The project would also offer traffic calming, crosswalks, adaptive reuse of a historic building and a 6,600-                       Real Estate      The City Beautiful
square-foot plaza.                                                                                                                 The Real Deal      URBIN

                                                                                                                                   Villa Valencia
“There’s going to be two public parks as part of this project,” Mr. Garcia-Serra added, “one fronting Ponce (de
Leon Boulevard) on the west side of the property and another park on the east side of the property, which will
serve as a buffer to the neighboring building, and ultimately a permanent dog park, and as we were discussing
earlier today on your agenda, a temporary dog park in the meantime.”


Read the Miami Today article HERE




LINKS                   CONNECT                  LOCATION COMPANIES               CONTACT                           SUBSCRIBE TO NEWSLETTER

Home                    Facebook                 Location Capital                 299 Alhambra Circle,
Company                 Instagram                Location Properties              Ste. 510
Development                                                                       Coral Gables, FL 33134
Projects
Team                                                                              T: 786-701-6724
Contact
                                                                                                                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 39 of
                                                                                                                                                               190




                                                                               Home       Company        Development     Projects       News           Team        Contact




Press      |




The EDITION Residences Fort Lauderdale
in MSN
November 1, 2022




The EDITION Residences Fort Lauderdale was recently featured in MSN article “Edition Hotels Is Opening
Stand-Alone Residences in Fort Lauderdale” touching up on the growing demand for luxury branded                                     RECENT POSTS

residences.                                                                                                                         1505 Ponce in South Florida Business
                                                                                                                                    Journal
The growing demand for luxury branded residences is stronger than ever— especially in Florida. And Edition,                         URBIN Miami Beach in The Next Miami
the Marriott International-owned luxury hotel brand founded by Ian Schrager, is busier than ever with new
                                                                                                                                    CEO Rishi Kapoor in The Real Deal
openings of hotels and residential properties across the country.
                                                                                                                                    EDITION Residences Fort Lauderdale
                                                                                                                                    in Luxury   Travel Magazine
Edition has found massive success in neighboring Miami with its hotel and newly announced stand-alone
residential tower but as Miami becomes crowded with new residents, construction and skyrocketing prices,                            1505 Ponce in Miami Today
many developers are looking to Fort Lauderdale, roughly 28 miles north of Miami. The city offers a similar
lifestyle with more space and opportunity for development.                                                                          CATEGORIES

                                                                                                                                    Company News
Fort Lauderdale is home to 300 miles of inland waterways, which is why it’s sometimes referred to as the
                                                                                                                                    Press
“Venice of America,” and is home to sprawling estates, mega yachts and luxury offerings. It is also considered
                                                                                                                                    Project Updates
the yachting capital of the world. Edition Residences Fort Lauderdale is capitalizing on the waterfront
opportunity by developing along the Intracoastal waterway.                                                                          Uncategorized


                                                                                                                                    TAGS
“Edition Residences Fort Lauderdale offers three of the most important elements for the next generation of
homeowners: intuitive service, a prime location and unparalleled amenities,” says Rishi Kapoor, CEO of                                Coral Gables      Orduna Court

Location Ventures, the developer of the project. “This will be the first time that a branded luxury residence will                    Real Estate      The City Beautiful
take shape on Fort Lauderdale’s coveted Intracoastal waterway, and with it comes a breadth of unique                                  The Real Deal      URBIN
offerings unlike anything in the area.”                                                                                               Villa Valencia


Located at 551 Bayshore Drive, the residences are housed within two jewel-box-like 11-story towers that
feature cascading facades. The ultra-modern towers have spectacular water views, which are seen from each
of the 65 residences. The luxury homes range from two to four bedrooms spanning 1,710 to 4,660 square feet.
There will also be nine villas and four penthouses for those seeking larger accommodations.


Upscale, yet laid-back interiors define this project, and architecture firm GS4 Studios|Garcia Stromberg and
interiors firm Clodagh Design accomplished this through grand spaces, like the double-height entrance,
oversized floor plans, and imported European wood, stone and custom cabinetry. Residences have floor-to-
ceiling windows with sliding doors that open onto private terraces. Views include the Intracoastal scenery, Fort
Lauderdale skyline or the Atlantic Ocean.


Gourmands in particular will delight at the custom ITALKRAFT-designed kitchens, designed for form and
function. There’s ample storage, custom built-ins, vertical pantries and quartz countertops, as well as high-end
Sub-Zero and Wolf appliances like induction cooktops, steam ovens and wine coolers. Even more, there’s an
outdoor summer kitchen with an electric grill and beverage center for easy entertaining. The homes are also
equipped with smart home technology and wellness features, like circadian rhythm lighting in the primary
bedroom.


All residents will enjoy resort-like   amenities, like 20,000 square feet of outdoor space that includes tropical
landscaping by Cadence, an outdoor meditation walkway, an Intracoastal riverwalk, temporary dockage for
small boats, a moonroof, sunroof, outdoor summer kitchen, movie screen and fire pit. There will also be two
pools, complete with relaxation sunbeds and private cabanas; a Health and Wellness Center with Pilates, yoga,
and training rooms; a Turkish- style hammam; steam shower; and quiet rooms. There’s also an eat-in lounge
with a kitchen, designed for socializing or hosting private events.


Sales have officially launched for the building, and the villas are sold out. Signature residences start at $3
million and the penthouses start at $10 million.


Read more from the MSN article HERE




LINKS                     CONNECT                    LOCATION COMPANIES               CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                      Facebook                   Location Capital                 299 Alhambra Circle,
Company                   Instagram                  Location Properties              Ste. 510
Development                                                                           Coral Gables, FL 33134
Projects
Team                                                                                  T: 786-701-6724

Contact
                                                                                                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 40 of
                                                                                                                                                             190




                                                                            Home        Company       Development      Projects       News           Team        Contact




Press     |




EDITION Residences Fort Lauderdale in
Yahoo Life
November 1, 2022




The EDITION Residences Fort Lauderdale in Yahoo Life article titled “Edition Hotels Is Opening Stand-Alone
Residences in Fort Lauderdale”.                                                                                                   RECENT POSTS

                                                                                                                                  1505 Ponce in South Florida Business
The growing demand for luxury branded residences is stronger than ever—especially in Florida. And Edition,                        Journal
the Marriott International-owned luxury hotel brand founded by Ian Schrager, is busier than ever with new                         URBIN Miami Beach in The Next Miami
openings of hotels and residential properties across the country.
                                                                                                                                  CEO Rishi Kapoor in The Real Deal

Edition has found massive success in neighboring Miami with its hotel and newly announced stand-alone                             EDITION Residences Fort Lauderdale
                                                                                                                                  in Luxury   Travel Magazine
residential tower but as Miami becomes crowded with new residents, construction and skyrocketing prices,
many developers are looking to Fort Lauderdale, roughly 28 miles north of Miami. The city offers a similar                        1505 Ponce in Miami Today
lifestyle with more space and opportunity for development.
                                                                                                                                  CATEGORIES

Fort Lauderdale is home to 300 miles of inland waterways, which is why it’s sometimes referred to as the                          Company News
“Venice of America,” and is home to sprawling estates, mega yachts and luxury offerings. It is also considered
                                                                                                                                  Press
the yachting capital of the world. Edition Residences Fort Lauderdale is capitalizing on the waterfront
                                                                                                                                  Project Updates
opportunity by developing along the Intracoastal waterway.
“Edition Residences Fort Lauderdale offers three of the most important elements for the next generation of                        Uncategorized

homeowners: intuitive service, a prime location and unparalleled amenities,” says Rishi Kapoor, CEO of
                                                                                                                                  TAGS
Location Ventures, the developer of the project. “This will be the first time that a branded luxury residence will
take shape on Fort Lauderdale’s coveted Intracoastal waterway, and with it comes a breadth of unique                                Coral Gables      Orduna Court

offerings unlike anything in the area.”                                                                                             Real Estate      The City Beautiful

                                                                                                                                    The Real Deal      URBIN
Located at 551 Bayshore Drive, the residences are housed within two jewel-box-like 11-story towers that                             Villa Valencia
feature cascading facades. The ultra-modern towers have spectacular water views, which are seen from each
of the 65 residences. The luxury homes range from two to four bedrooms spanning 1,710 to 4,660 square feet.
There will also be nine villas and four penthouses for those seeking larger accommodations.


Read more from the Yahoo Life article HERE




LINKS                    CONNECT                 LOCATION COMPANIES                CONTACT                           SUBSCRIBE TO NEWSLETTER

Home                     Facebook                Location Capital                  299 Alhambra Circle,
Company                  Instagram               Location Properties               Ste. 510
Development                                                                        Coral Gables, FL 33134
Projects
Team                                                                               T: 786-701-6724

Contact
                                                                                                                       Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 41 of
                                                                                                                                                            190




                                                                            Home        Company       Development     Projects       News           Team        Contact




Press     |




Rishi Kapoor & The EDITION Residences in
The Real Deal
October 31, 2022




CEO of Location Ventures Rishi Kapoor was recently featured in The Real Deal, touching up on the recent
launch of The EDITION Residences Fort Lauderdale.                                                                                RECENT POSTS

                                                                                                                                 1505 Ponce in South Florida Business
Edition Residences is planned for Fort Lauderdale Beach, adding to a handful of new luxury residential projects                  Journal
on the barrier island.                                                                                                           URBIN Miami Beach in The Next Miami

                                                                                                                                 CEO Rishi Kapoor in The Real Deal
Developer Rishi Kapoor of Coral Gables-based Location Ventures launched sales of the two-building condo
development planned for the 1.5-acre-site at 551 Bayshore Drive. The 11-story buildings will have 65 units                       EDITION Residences Fort Lauderdale
                                                                                                                                 in Luxury   Travel Magazine
combined and will mark the first Edition-branded project in Fort Lauderdale. Kapoor signed a licensing and
branding agreement with Marriott International for the Edition brand, he said.                                                   1505 Ponce in Miami Today


Kapoor expects the sellout will reach about $300 million.                                                                        CATEGORIES

                                                                                                                                 Company News
Douglas Elliman is leading sales and marketing, with units ranging from $3 million to about $7.5 million. That
                                                                                                                                 Press
excludes the four penthouses, which will start at about $10 million. After a quiet launch to friends and family,
                                                                                                                                 Project Updates
the project is about 20 percent reserved, Kapoor said.
                                                                                                                                 Uncategorized

The two- to four-bedroom condos will range from 1,710 square feet to 4,660 square feet, and the building will
                                                                                                                                 TAGS
also have nine villas and the penthouses, according to a press release. The units will be delivered finished, and
buyers can purchase furniture packages. Annual leases will be allowed, but short-term rentals will not.                            Coral Gables      Orduna Court

                                                                                                                                   Real Estate      The City Beautiful
Kapoor expects to target local buyers and people from the Northeast and Canada, which is typical for Fort                          The Real Deal      URBIN
Lauderdale Beach.                                                                                                                  Villa Valencia
Though the two buildings are strictly residential, Kapoor said he’s working with Marriott to eventually develop a
sister hotel to the project.


Kapoor is a big fan of the Edition brand. “I can’t tell you how many personal milestones I’ve celebrated at the
Miami Beach Edition,” he said. (Edition is also branding a Two Roads Development condo project in Miami’s
Edgewater.)


Construction could begin in January, and the developer is working on securing financing. Kapoor said the
growing cost of financing is a “reality” that developers have to work with today due to rising interest rates.


The Edition Residences project could be completed in late 2025 or early 2026, he said.


The condos will include Italkraft kitchens with Sub-Zero and Wolf appliances and private two-car garages. The
project includes 20,000 square feet of outdoor amenities, a rooftop with zen gardens, a lounge, two pools with
for-sale cabanas, a health and wellness center, a residents-only poolside restaurant, and a hammam spa.


Kapoor’s project is along the Intracoastal Waterway in the Central Beach area of Fort Lauderdale Beach. The
Fort Lauderdale commission approved the project plans last year, but Kapoor said it took about a year to sign
the deal with Marriott.


In September, Merrimac Ventures won approval to expand its planned boutique condo development nearby, at
530 North Birch Road. The project, with units priced at more than $1,000 per square foot, is a block from the
new Four Seasons Residences Fort Lauderdale, which counted Merrimac Ventures among its co-developers.


The Four Seasons development set price records for condos in Fort Lauderdale, and followed Related Group,
Fortune International Group and the Fairwinds Group’s completion of Auberge Beach Residences & Spa in
2018.
Read more from The Real Deal article HERE




LINKS                    CONNECT                 LOCATION COMPANIES                CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                     Facebook                Location Capital                  299 Alhambra Circle,
Company                  Instagram               Location Properties               Ste. 510
Development                                                                        Coral Gables, FL 33134
Projects
Team                                                                               T: 786-701-6724

Contact
                                                                                                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 42 of
                                                                                                                                                             190




                                                                            Home       Company        Development      Projects       News           Team        Contact




Press      |




EDITION Residences Fort Lauderdale in
Robb Report
October 24, 2022




Location Ventures is proud to announce alongside Marriott Hotels the launch of our latest luxury
condominium project, EDITION Residences Fort Lauderdale featured in Robb Report.                                                  RECENT POSTS

                                                                                                                                  1505 Ponce in South Florida Business
From the Robb Report article                                                                                                      Journal

                                                                                                                                  URBIN Miami Beach in The Next Miami
There will be two 11-story towers with just 65 exclusive residences directly along the Intracoastal waterway.
                                                                                                                                  CEO Rishi Kapoor in The Real Deal

The growing demand for luxury branded residences is stronger than ever— especially in Florida. And Edition,                       EDITION Residences Fort Lauderdale
                                                                                                                                  in Luxury   Travel Magazine
the Marriott International-owned luxury hotel brand founded by Ian Schrager, is busier than ever with new
openings of hotels and residential properties across the country.                                                                 1505 Ponce in Miami Today


Edition has found massive success in neighboring Miami with its hotel and newly announced stand-alone                             CATEGORIES

residential tower but as Miami becomes crowded with new residents, construction and skyrocketing prices,                          Company News
many developers are looking to Fort Lauderdale, roughly 28 miles north of Miami. The city offers a similar
                                                                                                                                  Press
lifestyle with more space and opportunity for development.
                                                                                                                                  Project Updates

Fort Lauderdale is home to 300 miles of inland waterways, which is why it’s sometimes referred to as the                          Uncategorized

“Venice of America,” and is home to sprawling estates, mega yachts and luxury offerings. It is also considered
                                                                                                                                  TAGS
the yachting capital of the world. Edition Residences Fort Lauderdale is capitalizing on the waterfront
opportunity by developing along the Intracoastal waterway.                                                                          Coral Gables      Orduna Court

                                                                                                                                    Real Estate      The City Beautiful
“Edition Residences Fort Lauderdale offers three of the most important elements for the next generation of                          The Real Deal      URBIN
homeowners: intuitive service, a prime location and unparalleled amenities,” says Rishi Kapoor, CEO of                              Villa Valencia
Location Ventures, the developer of the project. “This will be the first time that a branded luxury residence will
take shape on Fort Lauderdale’s coveted Intracoastal waterway, and with it comes a breadth of unique
offerings unlike anything in the area.”


Located at 551 Bayshore Drive, the residences are housed within two jewel-box-like 11-story towers that
feature cascading facades. The ultra-modern towers have spectacular water views, which are seen from each
of the 65 residences. The luxury homes range from two to four bedrooms spanning 1,710 to 4,660 square feet.
There will also be nine villas and four penthouses for those seeking larger accommodations.


Upscale, yet laid-back interiors define this project, and architecture firm GS4 Studios|Garcia Stromberg and
interiors firm Clodagh Design accomplished this through grand spaces, like the double-height entrance,
oversized floor plans, and imported European wood, stone and custom cabinetry. Residences have floor-to-
ceiling windows with sliding doors that open onto private terraces. Views include the intracoastal scenery, Fort
Lauderdale skyline or the Atlantic Ocean.


Gourmands in particular will delight at the custom ITALKRAFT-designed kitchens, designed for form and
function. There’s ample storage, custom built-ins, vertical pantries and quartz countertops, as well as high-end
Sub-Zero and Wolf appliances like induction cooktops, steam ovens and wine coolers. Even more, there’s an
outdoor summer kitchen with an electric grill and beverage center for easy entertaining. The homes are also
equipped with smart home technology and wellness features, like circadian rhythm lighting in the primary
bedroom.


All residents will enjoy resort-like
                                 amenities, like 20,000 square feet of outdoor space that includes tropical
landscaping by Cadence, an outdoor meditation walkway, an Intracoastal riverwalk, temporary dockage for
small boats, a moonroof, sunroof, outdoor summer kitchen, movie screen and fire pit. There will also be two
pools, complete with relaxation sunbeds and private cabanas; a Health and Wellness Center with Pilates, yoga,
and training rooms; a Turkish-style hammam; steam shower; and quiet rooms. There’s also an eat-in lounge
with a kitchen, designed for socializing or hosting private events.


Sales have officially launched for the building, and the villas are sold out. Signature residences start at $3
million and the penthouses start at $10 million.


Read the Robb Report article H ERE




LINKS                     CONNECT                  LOCATION COMPANIES              CONTACT                           SUBSCRIBE TO NEWSLETTER

Home                      Facebook                 Location Capital                299 Alhambra Circle,
Company                   Instagram                Location Properties             Ste. 510
Development                                                                        Coral Gables, FL 33134
Projects
Team                                                                               T: 786-701-6724

Contact
                                                                                                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 43 of
                                                                                                                                                             190




                                                                             Home       Company        Development     Projects       News           Team        Contact




Press      |




CEO Rishi Kapoor The City Beautiful
October 19, 2022




Location Ventures CEO was recently featured in The City Beautiful Article titled “Want to Know What
Comprises the Gables Economy? Small Businesses”.                                                                                  RECENT POSTS

                                                                                                                                  1505 Ponce in South Florida Business
From the article:                                                                                                                 Journal

                                                                                                                                  URBIN Miami Beach in The Next Miami
“A lot of people want to get into a commercial space where there are other people,” says Rishi Kapoor, whose
                                                                                                                                  CEO Rishi Kapoor in The Real Deal
Gables-based firm Location Ventures created the FORUM shared workspace on Alhambra. “Personally, love        I



the energy of my colleagues, the creativity, those atoms bouncing off of each other,” he says. “A practical                       EDITION Residences Fort Lauderdale
                                                                                                                                  in Luxury   Travel Magazine
solution is flex space, where you can scale up or down according to your needs.” In terms of occupancy at
FORUM, which is now 90 percent full, “it really is a mix of solo creatives that provide their creative services,                  1505 Ponce in Miami Today
plus we have a law firm, political consultants, architects, and so on.”
                                                                                                                                  CATEGORIES

At another shared workspace in the 2525 Ponce building, CEO Laura Kozelouzek reports that 90 percent of her                       Company News
clients are small firms with just a few employees and that nine out of 10 are professional service providers in
                                                                                                                                  Press
real estate, finance, legal, and business consulting, with the remainder providing “creative” services. “One thing
                                                                                                                                  Project Updates
I’ve been finding in the last few years is that, besides
                                                      professional services, there is an increase of creative
businesses. Coral Gables at one point was all attorneys, all weighted toward legal… Now it’s a nice mix, a little                 Uncategorized

more diverse.”
                                                                                                                                  TAGS

Regardless of their makeup, says Kapoor, the Gables remains an excellent location to start or expand a small                        Coral Gables      Orduna Court

business. “I think we are in one of the greatest places in all of the U.S for the ecosystem of a small business.                    Real Estate      The City Beautiful
You have such a professional ecosystem established here, in banking, finance, great places to entertain –                           The Real Deal      URBIN
everything consolidated in such a condensed space, “What more could you ask for?”                                                   Villa Valencia


Read more from The City Beautiful article HERE.




LINKS                    CONNECT                   LOCATION COMPANIES               CONTACT                          SUBSCRIBE TO NEWSLETTER

Home                     Facebook                  Location Capital                 299 Alhambra Circle,
Company                  Instagram                 Location Properties              Ste. 510
Development                                                                         Coral Gables, FL 33134
Projects
Team                                                                                T: 786-701-6724

Contact
                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 44 of
                                                                             190




                                                                                Home       Company       Development       Projects      News      Team      Contact




Team




Rishi Kapoor, J.D.                          Daniel “DJ” Motha                          Claudia Mezerhane                         Vivian Bonet
Founder & CEO                               Partner & President — Multifamily          Chief Operations Officer                  Chief Development Officer
Rishi has spent the last ten years          Daniel is responsible for the day-to-      Claudia Mezerhane is Chief                Chief Development Officer Vivian
focused on residential real estate,         day financial management, capital          Operations Officer of Location            Bonet is responsible for leading the
primarily in the luxury sector with a       formation, and acquisitions /              Ventures. As the mastermind of the        company’s design & construction
strong background in sales &                dispositions for Location Ventures         day-to-day operations of our              efforts. With more than two decades
marketing, prior to focusing on             and its projects. Prior to joining our     company and our developments,             of experience as an architect before
sponsoring development. Upon                firm, his investments in real estate       Claudia is directly involved with our     focusing on development
founding Location Ventures, he set          include renovating and renting units       single-family home developments.          management, she is well-versed in
out to create awesome living                in Coral Gables, FL, renovating and        She coordinates with our partners         the full lifecycle of a project from
experiences in premium locations            renting multi-family properties in         and ensures projects are on schedule      design to groundbreaking through
centered around nature and                  Waltham, MA, as well as the                and on budget. She holds a MBA            completion. Vivian is responsible for
technology. To date, Rishi is               development and sale of single-            from the University of Miami and is       GC management, consultant
responsible for leading the                 family homes in Waltham, MA.               bilingual in Spanish and English.         coordination, permitting, product
development of a $400M portfolio                                                       CLOSE                                     specifications, contract documents
including: high-end, custom single-         Previously an employee of LNR, he                                                    and construction administration for
family homes; rehabilitation of multi-      managed assets of all types across                                                   the company’s projects.
family properties; development of           the US, underwrote and acquired
boutique condominiums; and is the           loan pools or performing and non-                                                    Prior to joining Location Ventures,
Managing Partner of URBIN, a                performing loans, and helped create                                                  Vivian worked for Ocean Land
company dedicated to co-living, co-         a lending platform for customers to                                                  Investments, The Y Group and CM
working and wellness.                       borrow funds to purchase properties                                                  Consulting Group. She has designed
                                            on Auction.com. As employee of BF                                                    and developed more than 20
Rishi first and foremost takes great        Group, LLC, Daniel lead the                                                          complex projects throughout her
pride in fostering close relationships      acquisitions team and managed                                                        career, including a variety of luxury
with the company’s partners & team.         property development and                                                             residential buildings, commercial
His day-to-day role centers around          redevelopment deals focusing on                                                      projects and educational facilities.
identifying unique opportunities,           SFR and TH development, condo                                                        With residential development credits
capital formation and setting the           conversions, and other opportunistic                                                 including AquaVita, AquaLuna,
product vision for our projects while       deals. Daniel received a business                                                    AquaMar, AquaBlu, Infinity at Brickell,
working closely with the                    degree in Accounting & Finance from                                                  the W Fort Lauderdale Hotel and
development team on proper                  the University of Miami.                                                             Residences, and Ocean House, Vivian
execution. He received business             CLOSE                                                                                has a strong understanding of what
degrees in Finance, Marketing &                                                                                                  drives buyers to South Florida’s
Management from the University of                                                                                                luxury market. Vivian earned her
Miami, and is also a non-practicing                                                                                              Bachelor of Architecture from the
attorney, having graduated from UM                                                                                               University of Miami. She is bilingual
Law. Rishi comes from a real estate                                                                                              in English   and Spanish.
family that has developed & invested                                                                                             CLOSE

in hotels, SFHs, and offices

throughout the Southeast United
States and New Delhi, India over the
last 40 years.
CLOSE




Joanna Davila                               Raymond Gonzalez                           Angel Garcia                              Romy Kapoor
Chief Marketing Officer                     Chief Technology Officer                   Chief Investment Officer                  General Counsel
                                         Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 45 of
                                                                              190




Chief Marketing Officer Joanna               Our Chief Technology Officer,              Angel Garcia leads the underwriting,      Romy K. Kapoor is our active general
Davila leads all marketing and brand         Raymond Gonzalez has over 15               acquisitions, market research and         counsel and go-to for all things legal.
strategy and initiatives for the             years of in the tech field with a focus    project management for Location           Romy is a founding partner of
company and projects. With over 12           on web development and digital             Ventures. With an eye on company          Kapoor Luther & Loftman
years of sales and marketing                 marketing. As a full-stack web             growth objectives, Angel works            Immigration Partners and has
experience in the luxury and lifestyle       developer and web system                   closely with company leadership to        practiced U.S. immigration and
sector, she ensures that our                 administrator, he has worked on over       establish Location Venture's              nationality law since 1992. He
development vision resonates with            100 websites for small businesses to       expansion strategies. Prior to joining    received his B.S. degree in
the public. She has managed multi-           multi-million dollar corporations.         our firm, Angel was a Senior              management from Georgia Tech, and
million dollar businesses and has            Ray’s current work also includes           Acquisitions Associate for BH3, a         shortly after earned his J.D. attending
overseen global marketing                    developing immersive 360-degree            South Florida and New York City           Georgia State University College of
campaigns for global luxury brands.          virtual experiences for our                development firm. During his tenure,      Law and the Atlanta Law School. He
Joanna is active in the Miami cultural       developments. He is also well-versed       he underwrote over $500 million in        is listed as a Leading
                                                                                                                                                       Business
scene and is working on several              in digital marketing, using modern         transactions. As an employee of LNR       Immigration Lawyer in Chambers
projects meant to engage local               analytics to make data driven              Property (now Starwood Capital), he       USA, Who’s Who Legal of Corporate
community. She is a graduate of the          marketing decisions with continuous        was an Asset Manager responsible          Immigration Lawyers, and The Best
University of Miami and holds a B.A.         optimization. At the age of 13, Ray        for managing a portfolio of               Lawyers in America. He has been
in Journalism   with a minor in              built his first computer and at 15,        distressed assets along with              honored in Georgia Super Lawyers
Anthropology.                                was the youngest person in the state       underwriting note pools of non-           each year since 2006.
CLOSE                                        of Florida to be Oracle PL/SQL             performing notes. Angel has over 15       CLOSE

                                             certified. He is continually learning      years of commercial real estate
                                             new programming frameworks,                experience and earned a Master of
                                             cryptocurrencies, machine learning,        Science in Real Estate from Florida
                                             electronics and microcontroller            International University.
                                             programming.                               CLOSE

                                             CLOSE




Frank Astor                                  Leonard Roberts                            Selena Venizelos                          Josh Baniak
President, Single Family Division            VP of Development                          VP of Asset Management                    VP of Operations

Frank Astor is the Division Head for         Leonard Roberts, Vice President of         Selena Venizelos leads the Asset          As Vice President of Operations,
the Single Family Home Division. He          Development, is responsible for            Management department for                 Josh focuses on the overall success
is responsible for leading and               ensuring Location Ventures’ projects       Location Ventures. She is responsible     of developments from inception to
growing a portfolio of luxury custom         obtain the municipal entitlements          for financial management,                 completion with a concentration
homes and wellness communities               necessary to achieve the highest and       underwriting, and                         placed on ventures located outside
for Location Development. Frank              best use. Starting his career as a CPA     acquisition/disposition of assets and     of Florida. He is also integral to
holds an MBA from Texas A&M Mays             for the "Big 4", he brings over 20         much of the day-to-day operations of      operational process design and the
Business School and is PMP                   years’ experience in real estate and       our properties to ensure functionality    facilitation of organizational scaling
certified. Before arriving at Location       government relations. Leonard works        and to maximize profitability. Prior to   as Location Ventures continues to
Ventures, Frank gathered over 15             closely with government officials and      joining our team, Selena spent six        grow and evolve. Prior to joining the
years of management and                      staff in helping them understand           years working in Asset Management         company, Josh held various
operational experience in leadership         Location Ventures’ projects and in         for Starwood Property Trust in Miami      leadership roles within the
roles at multinational and mid-sized         some cases creating Public Private         Beach. She holds a B.A. in                construction and retail sectors and
corporations.                                Partnerships (P3) to help impact and       Economics and Political Science           over a decade of cross- functional
CLOSE                                        create opportunities in our                from George Washington University.        experience within operations,
                                             communities. His combined                  CLOSE                                     business development and real
                                             experience features specialties in                                                   estate. Josh attained an MBA from
                                             financial analysis for Florida’s largest                                             the University of Missouri-Columbia,
                                             landholder and commercial real                                                       and holds a BA in Management and
                                             estate developer; negotiating real                                                   Business Organization from the
                                             estate transactions on behalf of                                                     University of Miami, FL.
                                             different government entities; and                                                   CLOSE

                                             drafting 100’s of legislative actions.
                                             Leonard has a Master of Accounting
                                             with a minor in Finance from FIU and
                                             Bachelor of Business Administration
                                             from University of Miami.
                                             CLOSE




Jorge Chirinos                               Jon Drujak                                 Nizar Alawamleh                           Natalie Diaz
Controller                                   VP of URBIN                                VP of Condos                              Operations Director
Serving as Controller for Location           As Vice President of URBIN, Jon            With over 10 years of team                Natalie Diaz is the company’s real
Ventures, Jorge Chirinos is                  focuses on the overall success of          leadership and operational                estate industry insider with over 5
responsible for the day-to-day               developments from inception to             management experience, Nizar              years of experience as a realtor. Prior
operations of our Accounting and             completion in the Florida market.          Alawamleh joined Location Ventures        to joining our team, Natalie worked
Finance department. He brings over           With almost two decades of                 as a Project Manager in 2019,             as a realtor associate for several of
15 years of construction finance             experience in the development and          working closely with the Chief            Miami’s top producing agents, where
experience to his role, with an              construction industry, he is well          Development Officer on development        her hard work and dedication to the
extensive work history at established        versed in all aspects of the               for URBIN and the Luxury Condo            business increased sales and
development firms across South               development cycle. Jonathan began          Division. Nizar served in the military    productivity. She continues to be
Florida. From single-family to luxury        his career as a Structural Engineer,       and worked internationally, obtaining     affiliated with the One Sotheby’s
condos, Jorge has experience                 designing all types of structures          his Project Management                    International brokerage firm. Natalie
                                       Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 46 of
                                                                            190




working with companies                     including high-rise residential, port     Professional certification and           is bilingual in Spanish   and English.
representing an owner, buyer, and          terminals, hospitals, schools, and        successfully managing projects           CLOSE

broker, giving him a well-rounded          high-end single family homes. He          worth upwards of $20 million dollars
perspective. Jorge holds a Master of       has worked in the public sector, as a     in Qatar   and Dubai.
Taxation Degree from Florida               structural plans examiner for a local     CLOSE

International University and is            municipality, as well as Principal
bilingual in Spanish and English.          Engineer for a multi-family residential
CLOSE                                      developer. His work in both the
                                           private and public sector and as both
                                           a design professional and developer
                                           give him a unique understanding of
                                           the complexities of the development
                                           process. Jonathan graduated from
                                           the University of Miami with a B.S. in
                                           Civil Engineering, a B.S. in
                                           Architectural Engineering, and a M.S.
                                           in Civil Engineering.He is also a
                                           licensed Structural Engineer and
                                           licensed Special Inspector in the
                                           State of Florida.
                                           CLOSE




Rawan Abuljebain                           Boris Grandison                           Dave Ervolina                            Xabier Reyes
Architecture And Design Associate          Senior Project Manager                    Associate, Development                   Digital Marketing Specialist
Rawan Abuljebain, born in Jordan           As senior Project Manager, Boris’         With over 11 years of commercial         Xabier Reyes, Miami native and
and raised in Dubai, graduated from        responsibility includes overseeing the    real estate experience, David Ervolina   Location Ventures’ Marketing
the Canadian University Dubai in           permitting, design, and construction      works closely with the Chief             Specialist, is responsible for
2014, with a Bachelor of Architecture      phases of the URBIN projects. Boris       Investment Officer on business           developing and expanding the
(Cum Laude). Since graduating, she         has a long career in architecture         development initiatives to identify      company's digital presence through
has been a part of multiple                where he has served as the Designer       new projects across the state of         social media, email, web advertising,
residential, commercial and                and Project Manager on various            Florida. David spent more than a         and other online sources. He
hospitality design projects as a           projects ranging from luxury              decade working in Commercial             graduated from the University of
conceptual designer. Multi-faceted         condominiums, hotels, airport             Brokerage while in New York City         Miami and has also worked in the
and multi-talented, Rawan supports         terminals, schools, and office            most recently spending over 8 years      creative field as a photographer.
the Single-Family Home and                 buildings. He has successfully            at Colliers International overseeing     CLOSE

Development Divisions as                   guided over 20 projects from design       more than 1.5 million square feet of
Architecture and Design Associate.         inception to construction in the U.S,     office and retail space with aggregate
CLOSE                                      Caribbean, and the Middle East.           rentals exceeding $2 billion. He holds
                                           Before joining Location Ventures,         a Master  of Science in Real Estate
                                           Boris was a Project Manager for a         Development (MSRED) from New
                                           luxury condominium developer in           York University and a B.A in
                                           South Florida for five years. Prior to    Accounting from Miami University.
                                           his transition to real estate             CLOSE

                                           development, he spent over 15 years
                                           at one of Miami’s largest and most
                                           successful architectural firms where
                                           he was a partner. Cumulatively, Boris
                                           has over 28 years of experience in
                                           the Design and Construction
                                           industry. He holds a degree in
                                           Architectural Technology and a
                                           Bachelor’s degree in Architecture
                                           from the University of Miami.
                                           CLOSE




Yonel Mesa                                 Nicolas Romero                            Steffi Barreda                           Enmanuel Ortega
Technology Associate                       Marketing Coordinator                     Sales Operations Manager                 Residential Leasing Manager
Serving as Technology Associate,           Nicolas joined Location Ventures as       Steffi Barreda serves as Contract        Enmanuel Ortega is Location
Yonel Mesa has over five years             Marketing Coordinator supporting          Manager for our luxury boutique          Ventures' leasing manager
experience as a Full Stack Web             the marketing department with day-        residential development, Villa           responsible for long and short-term
Developer and IT Professional. As a        to-day responsibilities and special       Valencia. Prior to joining Location      residential leasing. He has a
Web Developer he designed, coded           projects. He has strong                   Ventures, Steffi had over six years of   hospitality background with eight
and implemented digital marketing          organizational and project                experience working with One              years in the industry working from
strategies in multiple sites from          management skills, as well as great       Sotheby’s International Realty’s         extended stay hotels to luxury
small businesses to large known            attention to detail. Nico graduated       luxury pre-construction development      resorts, always with a focus of
corporations. As a cyber security          from Boston University with a Degree      throughout South Florida. She now        providing the highest level of
professional, he has worked as a           in Psychology and is bilingual in         oversees Villa Valencia’s contracts      customer service. Enmanuel
Penetration Tester for several             Spanish and English.                      and escrow management for buyers.        currently oversees two multi-family
companies and sites finding                CLOSE                                     Steffi is trilingual in Portuguese,      real estate properties for Location
vulnerabilities and bugs that could                                                  English, and Spanish.                    Ventures, working across all aspects
affect the security of their overall                                                 CLOSE                                    of the building's operation, from
                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 47 of
                                                                             190




network. Some of his other skills and                                                                                 coordinating maintenance requests
hobbies include AR Development,                                                                                       to contract creation and lead
Animation, Video Editing, Game                                                                                        acquisition. He holds a Hospitality
Development and cryptocurrencies.                                                                                     degree from Florida International
With a focus on growing and                                                                                           University.
expanding his skills he is                                                                                            CLOSE

continuously learning about the
latest technologies and
advancements in the tech field.
CLOSE




Penelope Leal
Community Associate, FORUM.
Penelope Leal is a Community
Associate at FORUM. Serving as the
Community Director's right-hand, she
assists with clerical tasks,
prospecting, and membership
retainment. Penelope has a
background in administration and
social media management for South
Florida yacht rentals, as well as client
relations within retail marketplaces.
She is currently obtaining an
Environmental Science/
Sustainability B.A. and Pre-law
certificate at Florida International
University.
CLOSE




                                                                         OUR PARTNERS




                            We work alongside Miami’s leaders in the real estate market from financiers to
                             the fields of design and architecture, to create a truly unique living experience
                                                      seldom seen in the South Florida market.
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 48 of
                                                               190




                                                        Work With Us




Contact                       299 Alhambra Circle,
                              Ste. 510
                              Coral Gables, FL 33134

                              T: 786-701-6724




                                                                                            Keyboard shortcuts   Map data ©2023 Google   500 m   Terms of Use




LINKS         CONNECT                LOCATION COMPANIES           CONTACT                         SUBSCRIBE TO NEWSLETTER

Home          Facebook               Location Capital             299 Alhambra Circle,
Company       Instagram              Location Properties          Ste. 510
Development                                                       Coral Gables, FL 33134
Projects
Team                                                              T: 786-701-6724

Contact
                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 49 of
                                                                          190




                                                                                         Home           Company             Development     Projects    News        Team   Contact




Contact

HEAD OFFICE
                                         Let’s work together. Contact us to learn more about our process and opportunities.
299 Alhambra Circle,
Ste. 510
                                         NAME                                                     EMAIL                                         PHONE
Coral Gables, FL 33134

INQUIRY
                                         YOU ARE A
786-701-6724

FOLLOW US
                                         YOUR MESSAGE




                                         This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




LINKS                    CONNECT                   LOCATION COMPANIES                             CONTACT                                 SUBSCRIBE TO NEWSLETTER

Home                     Facebook                  Location Capital                               299 Alhambra Circle,
Company                  Instagram                 Location Properties                            Ste. 510
Development                                                                                       Coral Gables, FL 33134
Projects
Team                                                                                              T: 786-701-6724

Contact
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 50 of
                                                                        190




                                                                  Vision       Miami Beach        Coconut Grove            News            schedule appointment




    URBIN OFFERS ACCESSIBLE GLOBAL
    MOBILITY THROUGH RESPONSIBLE GREEN
    LIVING AND WORKING IN VIBRANT CENTERS.



the way to live work well



The
Vision
URBIN is designed to address the needs of today’s
residents, fostering creativity and connection through
design-forward residences, an amenity program focused
on wellness, and social programming that fosters
community.

Learn More




LIVE
Extended stay
                                        Work
                                        turnkey workspace
                                                                            well
                                                                            culinary experiences
                                                                                                                    own
                                                                                                                    condo ownership
residences                                                                  and movement center




 Interiors




 Features
 Each suite is thoughtfully-planned
 with designer features, built-in
 furniture and designed to live, work
 and relax.


  studio to Six-bedrooms

  full bathrooms

  designer decorated

  in unit laundry

  energy-star stainless appliances




                                                                                                 Lifestyle




                                                                                                 Experience
                                                                                                 Alongside well-appointed turnkey residences, URBIN will offer
                                                                                                 a robust program including flexible office spaces, lifestyle-
                                                                                                 oriented retail and a wellness space, delivering a truly unique
                                                                                                 experience.
                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 51 of
                                                                          190




                                                                                                      valet and onsite parking

                                                                                                      gourmet market and cafe

                                                                                                      housekeeping services

                                                                                                      wellness center




The right place




Two initial locations




           Miami                                                                           COCONUT
           Beach
           Studio to four bedrooms
                                                                                           GROVE
                                                                                           Studio to six bedrooms
           From 279 SF                                                                     from 361 sf




 two initial locations                                                 Map     Satellite



 The area
 A perfect location for URBIN, South Florida is
 already attracting the right audience seeking a
 place to live work well. The two initial
 locations for URBIN are located in the heart
 of two vibrant centers placing residents
 within walking distance to notable area
 landmarks, cultural attractions and world-
 class shopping, dining and conveniences.

 Schedule AN appointment
                                                                                                                                 Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error
                                               Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 52 of
                                                                                    190




                                                                                                           Limited Ownership opportunities



                                                                                                           A unique
                                                                                                           Opportunity
                                                                                                           This exclusive ownership opportunity at URBIN presents a turnkey
                                                                                                           experience that truly optimizes the benefits of ownership. With access
                                                                                                           to the property for 90 nights a year, and a leaseback program, owners
                                                                                                           have an income generating asset, with the luxuries, services, and
                                                                                                           amenities of a managed property.


                                                                                                           Schedule your private appointment




       DEVELOPED BY                                                                                                  Location Ventures with One Sotheby’s International Realty
                                                                                                                     and a team of renowned architecture and design firms have
                                                                                                                     created the home of tomorrow, today.
       LOCATION VENTURES                                                                                             Learn More




Schedule a
private
presentation
URBIN Miami Beach and Coconut Grove are sold out.

Ownership opportunities are limited, contact us to get
on the list to learn more about future locations.


   BUYER OR BROKER


   Miami Beach or Coconut Grove



                                                                                                                                Contact Us
                                                                                                                                      305-520-7824

                                                                                                                                      info@urbincondos.com


                                                                                                                                Connect With Us

   How did you hear about us?


Comments




This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




                                               Locations                                Contact Us                              A circular community that provides a
                                                                                                                                responsible, authentic and portable lifestyle
                                               Terms of Use                                 305-701-1694
                                                                                                                                created as a home of today and tomorrow.
                                                                                            info@urbincondos.com
                                               Privacy Policy
                                                                                        Connect With Us                         Developed by
                                               Contact Us
                                Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 53 of
                                                                     190




                                                                   Vision        Miami Beach          Coconut Grove            News        schedule appointment




 The Vision



    Urbin is a circular
community that provides
a responsible, authentic
 and portable lifestyle
  created as a home of
  today and tomorrow.  Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities
                            and luxuries to create a destination for residents to live comfortably and provide guests a welcome
                      experience To live work well at URBIN, residents have access to a wellness center, a market, and a full program
                                 .


                                                        of workspace with private and shared offices.




                                                                            the concept



                                                                            Sustainability,
                                                                            Mobility
                                                                            and
                                                                            Accessibility
                                                                            The vision of URBIN is to allow for its residents and
                                                                            community members – living or working – an accessible
                                                                            environment that offers attractive amenities and the
                                                                            promise of community, in a desirable location. The future is
                                                                            an expanded collective of spaces across South Florida with
                                                                            apartments, bedrooms, restaurants, workspaces, and
                                                                            wellness for members and owners to live work well.




Live



Source
Market and
Table
Source specialty market offers a selection of the highest-
quality produce, local goods and more sourced organic,
ethical, sustainable and as regenerative as possible,
alongside a fresh all-day cafe serving chef-driven
wholesome food.

   Gourmet Market with Local Goods
   Juice Bar
   All Day Café
   Fresh Organic Produce
   Ready Fresh Meals Available
                                 Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 54 of
                                                                      190




                                                                                               Work




                                                                                               URBIN Work
                                                                                               URBIN Work features multiple floors
                                                                                               of working, ideating and innovation
                                                                                               space designed so that where you
                                                                                               work, works for you.

                                                                                                  Co-Working Spaces
                                                                                                  Private Offices
                                                                                                  Flexible Office Arrangements
                                                                                                  Phone Booths
                                                                                                  Cutting Edge WiFi Technology & Connectivity
                                                                                                  Office Host
                                                                                                  Coffee & Juice Kitchen
                                                                                                  Advanced Tech Meeting Presentation Rooms
                                                                                                                          /




Well




FOUR
Wellness
A comprehensive best-in-class well space programmed to
cultivate the mind body spirit connection through bespoke
collaboration of mindfulness, movement, nutrition and
healing.
   Yoga Pilates Studio
        /


   Stretching Lounge
   Cardio and Weight Training
   Therapy and Treatment Rooms
   Innovative Equipment
   Locker Rooms
   Guided Coaching




                                                                                                          OWNERSHIP OPPORTUNITY
                                                                                                                schedule your private appointment today to
                                                                                                                learn about limited ownership opportunities.

                                                                                                                                     Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 55 of
                                                                        190




                                                                                                 DEVELOPMENT




                                                                                                 the
                                                                                                 team
                                                                                                 Location Ventures is a leading South Florida developer
                                                                                                 that has collaborated with a team of renowned
                                                                                                 architecture and design firms, to create the home of
                                                                                                 tomorrow, today. Through this forward-thinking space,
                                                                                                 Location Ventures presents a new way of ownership to
                                                                                                 forward-thinking residents.

                                                                                                 Learn More




                                                                          Watch the video


                         EXPERIENCE THE UNIQUE OPPORTUNITY




Schedule a
private
presentation
Inquire today for details about this unique ownership opportunity.

   Schedule an Appointment




                                  Locations                          Contact Us                  A circular community that provides a
                                                                                                 responsible, authentic and portable lifestyle
                                  Terms of Use                          305-701-1694
                                                                                                 created as a home of today and tomorrow.
                                                                        info@urbincondos.com
                                  Privacy Policy
                                                                     Connect With Us             Developed by
                                  Contact Us
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 56 of
                                                                       190




                                                                    Vision       Miami Beach          Coconut Grove            News            schedule appointment




   LIVE WORK WELL
   IN MIAMI BEACH



  connection



  The
  Experience
  In the heart of a vibrant scene, URBIN will be the new home for the city’s
  tastemakers. Just steps from white sands, whether for work or fun, spend
  time in the local neighborhood, have access to a renowned cultural scene
  and live where the world vacations.

     Schedule an Appointment




                                                                               Living



                                                                               The Best
                                                                               of Both
                                                                               Worlds
                                                                               Ownership at URBIN means flexibility. Live at URBIN as a full-time
                                                                               resident or place the unit into a managed leaseback, where units
                                                                               will earn an annual return as a short term or long term home for
                                                                               sophisticated guests. Whether it’s for a few months or one year,
                                                                               URBIN will manage everything, ensuring benefits that make
                                                                               ownership a truly unique and turnkey experience for everyone.




                                                                               Learn more




AMENITIES




lifestyle
A modern mid-rise with a stunning rooftop
terrace, elevated ocean views and a short walk to
the Atlantic Ocean, URBIN Miami Beach brings
together the true meaning of live work well with
dedicated spaces for work, wellness, culinary
experiences, and entertainment.
   Expansive Roof Deck With Resort-style Pool
   Sun Deck
   Poolside Food and Beverage Service
   Rooftop Lounge, Cafe & Cocktail
   Dining Terrace
   Mail And Package Room
   Expansive Shaded Seating Plaza
   Outdoor Terrace for Engaged Relaxation
   Curated Social Programming
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 57 of
                                                                       190




                                                                                                INTERIORS




                                                                                                Living
                                                                                                Designed to address the lifestyle needs of today’s city
                                                                                                dwellers, this limited collection of just 65 two to four
                                                                                                bedroom residences are thoughtfully designed for
                                                                                                convenient, easy living that meets needs for a
                                                                                                comfortable price.

                                                                                                   Studio to Four bedrooms
                                                                                                   Designer Finished and Furnished
                                                                                                   Efficient Layouts
                                                                                                   High-end Fixtures and Appliances
                                                                                                   Balcony with city or partial ocean views
                                                                                                   In-Unit Laundry System
                                                                                                   Utilities included
                                                                                                   Housekeeping services
                                                                                                   Room service at request




                                                                                                            OWNERSHIP OPPORTUNITY
                                                                                                                  schedule your private appointment today to
                                                                                                                  learn about limited ownership opportunities.

                                                                                                                                      Contact Us




the area




miami                                                               Map     Satellite

beach
Made famous for its eclectic mix of beautiful beaches, neon
scenes and lively nightlife, Miami Beach is a location known
around the world. Originally founded in 1915, today’s version
of the city is a vibrant home to travelers and residents alike
with a striking atmosphere, active cultural scene, world-class
shopping and dining and a plethora of services.


Located In The Washington Avenue District

Two Blocks To Famed Miami Beach

Walking Distance To Ocean Drive, Lincoln
Road                                                                                                                                                       Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error



Close to Many Cultural Attractions




                                                                           the team
                                                                           Architecture

                                                                           TOUZET STUDIO

                                                                           Interior Design

                                                                           Meyer Davis
                               Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 58 of
                                                                    190




Schedule a
private
presentation
Inquire today for details about this unique ownership opportunity.

   Schedule an Appointment




                               Locations                      Contact Us                     A circular community that provides a
                                                                                             responsible, authentic and portable lifestyle
                               Terms of Use                          305-701-1694
                                                                                             created as a home of today and tomorrow.
                                                                     info@urbincondos.com
                               Privacy Policy
                                                              Connect With Us                Developed by
                               Contact Us
                              Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 59 of
                                                                   190




                                                                 Vision        Miami Beach          Coconut Grove            News            schedule appointment




live work well
in Coconut Grove



                                                                connection



                                                                The
                                                                Experience
                                                                Blanketed by tropical greenery, this is the place for outdoor living,
                                                                lush environs and a sail on the bay. A place at URBIN places
                                                                members in the heart of a vibrant community brimming with world-
                                                                class restaurants and neighborhood shops and a hub of growing
                                                                business enterprises that embrace the laid-back style of a
                                                                waterfront lifestyle. To be here, is to truly understand the beauty of
                                                                connecting to all things Florida.

                                                                     Schedule an Appointment




Living



The Best
of Both
Worlds
Ownership at URBIN means flexibility. Live at URBIN as a full-time
resident or place the unit into a managed leaseback, where units
will earn an annual return as a short term or long term home for
sophisticated guests. Whether it’s for a few months or one year,
URBIN will manage everything, ensuring benefits that make
ownership a truly unique and turnkey experience for everyone.


Learn more




                                                                                                   AMENITIES




                                                                                                   lifestyle
                                                                                                   Situated in one of Miami’s oldest neighborhood’s,
                                                                                                   URBIN Coconut Grove is a vibrant place where
                                                                                                   culture lives. Fostering creativity and connection,
                                                                                                   the amenity rich program will focus on wellness
                                                                                                   and social programming focused on community.
                                                                                                       Rooftop Pool and Sundeck
                                                                                                       Relaxation Deck
                                                                                                       Food and Beverage Program
                                                                                                       Dining Terrace
                                                                                                       Mail And Package Room
                                                                                                       Indoor/Outdoor Atrium
                                                                                                       Curated Social Programming
                                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 60 of
                                                                                          190




                  INTERIORS




                  Living
                  This limited collection of studio to six-
                  bedroom residences are thoughtfully
                  planned for as convenient, easy living.
                  Fully-finished and furnished, these
                  designer residences are the epitome of
                  modern luxury in an efficient layout.
                     Studio to Four bedrooms
                     Designer finished and furnished
                     Efficient layouts
                     High-end Fixtures and Appliances
                     Balcony with city or partial ocean views
                     In-Unit Laundry System
                     Utilities included
                     Housekeeping services
                     Room service at request




                                                                                                                                                            OWNERSHIP OPPORTUNITY
                                                                                                                                                                   schedule your private appointment today to
                                                                                                                                                                   learn about limited ownership opportunities.

                                                                                                                                                                                        Contact Us




                                                                                                                                                 the area




                                                                                                                                                 coconut
Map   Satellite                                                                                                                                  grove
                                                                                                                                                 Miami’s oldest neighborhood is a vibrant enclave
                                                                                                                                                 full of distinct charm and some of the city’s most
                                                                                                                                                 discerning attractions. Coconut Grove’s historic
                                                                                                                                                 architecture references its bohemian roots while
                                                                                                                                                 offering a quaint new downtown promenade and
                                                                                                                                                 an enjoyable local nightlife of quality restaurants
                                                                                                                                                 and bars. Along the water, the area features one
                                                                                                                                                 of Miami’s largest marinas and the beautiful
                                                                                                                                                 Peacock Park.


                                                                                                                                                 located in the heart of the neighborhood

                                                                                                                                                 two blocks from famed cocowalk
                                                                Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error   walking distance to the barnacle

                                                                                                                                                 close to cultural attractions

                                                                                                                                                 near to miami’s largest marina




                      the team
                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 61 of
                                                       190




Architecture

Arquitectonica

Paredes Design

Interior Design

A.M Studio




                                                                Schedule a
                                                                private
                                                                presentation
                                                                Inquire today for details about this unique ownership opportunity.

                                                                   Schedule an Appointment




                  Locations                   Contact Us                           A circular community that provides a
                                                                                   responsible, authentic and portable lifestyle
                  Terms of Use                   305-701-1694
                                                                                   created as a home of today and tomorrow.
                                                 info@urbincondos.com
                  Privacy Policy
                                              Connect With Us                      Developed by
                  Contact Us
                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 62 of
                                                               190




                                                                  Vision           Miami Beach         Coconut Grove      News         schedule appointment




News

                                             All           News            Press       Uncategorized




Uncategorized                                      Press                                                      Press

URBIN Groundbreaking in South                      URBIN Groundbreaking in YIMBY                              URBIN in Real Estate Weekly
Florida Business Journal




                                                                                                              Press
Press                                              Press
                                                                                                              URBIN in Bisnow South Florida
URBIN Miami Beach Sold Out                         URBIN Miami Beach Breaks                                   Deal Sheet
                                                   Ground




Press                                                                                                         Press
                                                   Press
URBIN in GoBankingRates                                                                                       URBIN in Yahoo Finance
                                                   URBIN In MSN




Press                                                                                                         Press
                                                   Press
URBIN In Perfil News                                                                                          URBIN In El Economista
                                                   URBIN IN BISNOW




Press
                                                                                                              Press
                                                   Press
URBIN IN SOUTH FLORIDA BUSINESS                                                                               URBIN in Condo BlackBook
JOURNAL                                            URBIN in AllWork
                         Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 63 of
                                                              190




                                                                                                Press
Press                                         Press
                                                                                                URBIN in Miami Today
URBIN in World Red Eye                        URBIN in Ocean Drive Magazine




                                                                                                News
News                                          News

LOCATION VENTURES LAUNCHES                    URBIN in World Red Eye                            URBIN in South Florida Agent
CONDO SALES FOR URBIN MIXED-USE
CONDO, CO-WORKING LIFESTYLE IN
MIAMI BEACH AND COCONUT GROVE




                                                                                                Press
                                              News

                                              Location Ventures launches                        Location Ventures launches
                                                                                                sales of co-living project in
                                              sales for the first two
                                              locations of URBIN                                Miami Beach




                         Locations                    Contact Us                       A circular community that provides a
                                                                                       responsible, authentic and portable lifestyle
                         Terms of Use                    305-701-1694
                                                                                       created as a home of today and tomorrow.
                                                         info@urbincondos.com
                         Privacy Policy
                                                      Connect With Us                  Developed by
                         Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 64 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                 News                schedule appointment




Uncategorized



URBIN Groundbreaking in South
Florida Business Journal
URBIN was recently featured in South Florida Business Journal article titled “URBIN Condo, coworking project breaks ground in Miami Beach”.

From the South Florida Business Journal article:

Location Ventures has broken ground on the URBIN Miami Beach condo, coworking and wellness project.

The Coral Gables-based developer is building the six-story project at 1260 Washington Ave. It will feature 69 condos, 20,000 square feet of coworking space, a market, a rooftop bar
and pool, and about 5,000 square feet of wellness amenities.

Locations Venture said the condos are fully sold out. They will range from 275- square-foot studios to 1,334 square feet with four bedrooms. The condos are designed in a co-living
style, with separated bedrooms and shared kitchen, dining and living areas. The condo will permit both long-term and short-term rentals. It also has a program where owners could
lease back the property and stay there up to 90 nights a year with professional management in house.

Prices ranged from $400,000 to $2.4 million.

URBIN Miami Beach was originally proposed as a co-living rental project before shifting to condos.

“Following immense sales interest, we are excited to initiate the construction process for the first URBIN location at a ripe moment in Miami Beach’s history,” said Rishi Kapoor, CEO of
Location Ventures. “This property will infuse living, working and wellness into a singular location, while contributing to the quickly evolving, iconic Washington Avenue district.”

URBIN Miami Beach should be completed in 2025. Miami-based Winmar Construction is the general contractor and Miami-based Touzet Studio is the architect.

The developer purchased the 33,488-square-foot site in 2021 for $20 million. It is renovating an existing office building into the wellness and coworking center. It demolished a retail
building in order to construct the condo.

Location Ventures plans to build the next URBIN project in Miami’s Coconut Grove, where it anticipates breaking ground in 2023.

Read on South Florida Business Journal HERE    .




         previous


         URBIN Groundbreaking in YIMBY




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 65 of
                                                                        190




                                                                             Vision           Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN Groundbreaking in YIMBY
URBIN was recently featured in YIMBY article titled “Location Ventures Breaks Ground on URBIN Miami beach At 1260 Washington Avenue In South Beach”.

From the YIMBY article:

Miami-based real estate firm Location Ventures has broken ground on URBIN Miami Beach, a 7-story mixed-use development located at 1260 Washington Avenue in South Beach,
Miami Beach. The milestone marks the construction commencement for the mixed-use brand that unites design-forward residences for short- or long-term rental with co-working
spaces, wellness amenities, social activations, and lifestyle-oriented retail, all in one central address.

On November 15, Location Ventures, development partners, and city officials gathered at the project site for the official groundbreaking ceremony. Special guests included Miami
Beach Mayor Dan Gelber, Washington Avenue Business Development Executive Director Troy Wright, and Miami Beach Commissioner Alex Fernandez.

URBIN Miami Beach is the first property to launch the URBIN brand portfolio, with a second location in Coconut Grove and plans underway to further scale in key U.S. cities. With
exclusive sales representation by ONE Sotheby‘s International Realty, URBIN Miami Beach is comprised of 69 units, which are sold out and attracted a diverse buyer demographic,
including Latin America and Europe. URBIN Coconut Grove is set to break ground in 2023, with 90 percent of its residential offerings currently sold.

The URBIN development is the latest addition to the renaissance now underway for Miami Beach’s Washington Avenue. Known for its prime location in the epicenter of lively culture,
dining, and entertainment and just blocks from the beach, efforts led by the local Business Improvement District, City of Miami Beach, and private enterprises have established a
healthy pipeline of new businesses and contemporary concepts that will transition the area into its next evolution.

“Following immense sales interest, we are excited to initiate the construction process for the first URBIN location at a ripe moment in Miami Beach’s history,” said Rishi Kapoor, CEO of
Location Ventures. “This property will infuse living, working, and wellness into a singular location, while contributing to the quickly evolving, iconic Washington Avenue district. We
selected this site because it represents our brand ethos to increase accessibility and mobility in urban cores.”

The turnkey residences at URBIN Miami Beach range from 275-square-foot studios to two- to four-bedrooms up to 1,334 square feet, offering city or partial ocean views. Shared
spaces, including a common kitchen, dining, and living area, will foster community, collaboration, and networking. Unit owners will have exclusive access to a lease-back program that
allows staying on the property for up to 90 nights per year. While away, the residence is professionally managed in- house and available for extended-stay rentals.

A variety of resort-inspired services, such as valet parking, concierge, housekeeping, and room service, will complement onsite amenities to create an environment to “live-work-well.”
Residents and members of the adjacent URBIN coworking space will enjoy a rooftop with a bar lounge area and green spaces, as well as the wellness center with programming for
mindfulness, movement, nourishment, and healing. Food and beverage offerings can be found at the ground-floor café and bar and gourmet market.

Catering to the increased demand for quality office space in Miami Beach, URBIN’s dedicated coworking component will bring an elevated level of service to the work experience. In
addition to the physical space, coworking members will have access to necessary business support tools, including consulting, administrative and networking services.

URBIN Miami Beach is designed by Touzet Studio, led by Carlos Prio-Touzet and Jacqueline Gonzalez-Touzet. The building’s façade will complement the playful energy of Miami Beach,
featuring geometric styles and colors found throughout the neighborhood, with a nod to its Art Deco heritage. Its common areas and amenity interiors are curated by Meyer Davis,
the award-winning design studio from New York City. The property is two blocks from the beach, steps from Ocean Drive and Lincoln Road, and part of the world’s largest Art Deco
district.

Winmar Construction is the general contractor.

Read on YIMBY HERE     .




                                                                                                                                                                   next
            previous


            URBIN in Real Estate Weekly                                                              URBIN Groundbreaking in South
                                                                                                            Florida Business Journal




                                  Locations                              Contact Us                                    A circular community that provides a
                                                                                                                       responsible, authentic and portable lifestyle
                                  Terms of Use                               305-701-1694
                                                                                                                       created as a home of today and tomorrow.
                                                                             info@urbincondos.com
                                  Privacy Policy
                                                                         Connect With Us                               Developed by
                                  Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 66 of
                                                                        190




                                                                             Vision           Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN in Real Estate Weekly
URBIN was recently featured in Real Estate Weekly article titled “Location Ventures Break Grounds on URBIN Miami Beach”.

From the Real Estate Weekly article:

 Location Ventures – the Miami-based, integrated real estate firm that delivers thoughtfully-designed and fully-connected real estate projects – announced today the groundbreaking
of URBIN Miami Beach The milestone marks construction commencement for the first-to-market, mixed-use brand that unites design-forward residences for short- or long-term
                       .




rental with co-working spaces, wellness amenities, social activations, and lifestyle-oriented retail, all in one central address.

On November 15, Location Ventures, development partners and city officials gathered at the project site, 1260 Washington Ave., for the official groundbreaking ceremony. Special
guests included Miami Beach Mayor Dan Gelber, Washington Avenue Business Development Executive Director Troy Wright and Miami Beach Commissioner Alex Fernandez. Guests
enjoyed breakfast hors d’oeuvres, freshly brewed coffee and sparkling wine, while learning about the future development.

URBIN Miami Beach is the first property to launch of the URBIN brand portfolio, with a second location in Coconut Grove and plans underway to further scale in key U.S. cities. With
exclusive sales representation by ONE Sotheby’s International Realty URBIN Miami Beach is comprised of 69 units, which are sold out and attracted a diverse buyer demographic,
                                                                     ,




including Latin America and Europe. URBIN Coconut Grove is set to break ground in 2023, with 90 percent of its residential offerings currently sold.

The URBIN development is the latest addition to the renaissance now underway for Miami Beach’s Washington Avenue. Known for its prime location in the epicenter of lively culture,
dining and entertainment and just blocks from the beach, efforts led by the local Business Improvement District, City of Miami Beach and private enterprises have established a healthy
pipeline of new businesses and contemporary concepts that will transition the area into its next evolution.

“Following immense sales interest, we are excited to initiate the construction process for the first URBIN location at a ripe moment in Miami Beach’s history,” said Rishi Kapoor, CEO of
Location Ventures. “This property will infuse living, working and wellness into a singular location, while contributing to the quickly-evolving, iconic Washington Avenue district. We
selected this site because it represents our brand ethos to increase accessibility and mobility in urban cores.”

The turnkey residences at URBIN Miami Beach range from 275-square-foot studios to two- to four-bedrooms up to 1,334 square feet, offering city or partial ocean views. Shared
spaces, including a common kitchen, dining, and living area, will foster community, collaboration, and networking. Unit owners will have exclusive access to a lease-back program that
allows stay on property for up to 90 nights per year. While away, the residence is professional managed in-house and available for extended stay rentals.

A variety of resort-inspired services, such as valet parking, concierge, housekeeping, and room service will complement onsite amenities to create an environment to “live-work-well.”
Residents and members of the adjacent URBIN coworking space will enjoy a rooftop with a bar lounge area and green spaces, as well as the wellness center with programming for
mindfulness, movement, nourishment, and healing. Food and beverage offerings can be found at the ground-floor café and bar and gourmet market.

Catering to the increased demand for quality office space in Miami Beach, URBIN’s dedicated coworking component will bring an elevated level of service to the work experience. In
addition to the physical space, coworking members will have access to necessary business support tools, including consulting, administrative and networking services.

URBIN Miami Beach is designed by Touzet Studio led by Carlos Prio-Touzet and Jacqueline Gonzalez-Touzet. The building’s façade will complement the playful energy of Miami Beach,
                                                 ,




featuring geometric styles and colors found throughout the neighborhood, with a nod to its Art Deco heritage. Its common areas and amenity interiors are curated by Meyer Davis      ,




the award-winning design studio from New York City. The property is two blocks from the beach, steps from Ocean Drive and Lincoln Road, and part of the world’s largest Art Deco
district.

Click HERE to read on Real Estate Weekly




   Groundbreaking          press       Real Estate Weekly




            previous
                                                                                                                                                                   next
            URBIN in Bisnow South Florida Deal                                                         URBIN Groundbreaking in YIMBY
            Sheet




                                   Locations                             Contact Us                                    A circular community that provides a
                                                                                                                       responsible, authentic and portable lifestyle
                                   Terms of Use                              305-701-1694
                                                                                                                       created as a home of today and tomorrow.
                                                                             info@urbincondos.com
                                   Privacy Policy
                                                                         Connect With Us                               Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 67 of
                                                                        190




                                                                             Vision           Miami Beach               Coconut Grove                 News                 schedule appointment




Press



URBIN Miami Beach Sold Out
URBIN was is thrilled to share that it has sold out in Miami Beach. As recently featured in PROFILEmiami, “Location Ventures Announces Sellout Of Urbin Miami Beach Mixed-Use
Condo, Co-Working Lifestyle Project”, URBIN completed sell out of the project in May.

From The Article:

The Miami-based Location Ventures an integrated real estate platform that delivers thoughtfully designed and fully-connected residential and mixed-use projects, has announced the
                                    ,




sell-out of URBIN Miami Beach. The mixed-use development will deliver a combination of 69 turnkey residences, coworking space, and ground-floor retail at 1260 Washington Avenue,
an area of Miami Beach with revitalization underway. The project, exclusively represented by ONE Sotheby’s International Realty, commanded an average price of $1,350 per square
foot for its residences comprised of micro-style units, comparable to nearby luxury condominiums. The property is slated to break ground this summer and is anticipated to deliver by
2025, once constructed by Winmar Construction.

When complete, URBIN will join the renaissance and expansion currently underway on Washington Avenue and Commodore Plaza – two streets situated in two of the city’s most
thriving and in-demand districts. URBIN Miami Beach, designed by architect Touzet Studio and New York interior design studio Meyer Davis, will offer turnkey residences that include
275-square-foot studios, as well as two- to four-bedrooms up to 1,334 square feet. There will be a variety of shared spaces, including an indoor/outdoor living area to foster community,
South Florida style. Units are part of a leaseback program that allows owners to stay on property for up to 90 nights per year. While away, the fully furnished residence generates
income as part of a managed rental system.

“This sellout showcases the continued demand for an all-in-one product, geared toward professionals who work remote and travel frequently,’ said Rishi Kapoor, CEO of Location
Ventures. “The price per square foot is a sign of the times, where high-quality product is dominating the market.”

URBIN is a first-to-market, mixed-use brand that unites design-forward residences for short- or long-term rent with an all-inclusive wellness amenity programming, social activations,
lifestyle-oriented F&B outlets and an adjacent co-working space, all in one central address. The URBIN portfolio includes URBIN Miami Beach, as well as URBIN Coconut Grove, where
residential sales are also underway, with 60 percent pre-sold in the transformative neighborhood.

URBIN is backed by investors David Martin, CEO of Terra Group; Rudy Touzet, CEO of Banyan Street Capital; the Murphy family of Coastal Construction; former New York Jets and
New Orleans Saints linebacker Jonathan Vilma; Gabriel Navarro, Marcel Navarro and Martin Pico of MMG Equity Partners; Marty Halpern of UnitedTranzactions; and a group of owners
from Location Ventures.

URBIN is designed to address the needs of today’s residents, fostering creativity and connection through design-forward residences, an amenity program focused on wellness, and
social programming that fosters community.


The Way To Live Work Well
Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urb incondos.com | 305.526.4691

Read more from the PROFILEmiami article HERE




         previous                                                                                                                                                   next

         URBIN in GoBankingRates                                                                   URBIN Miami Beach Breaks Ground




                                  Locations                              Contact Us                                    A circular community that provides a
                                                                                                                       responsible, authentic and portable lifestyle
                                  Terms of Use                               305-701-1694
                                                                                                                       created as a home of today and tomorrow.
                                                                             info@urbincondos.com
                                  Privacy Policy
                                                                         Connect With Us                               Developed by
                                  Contact Us
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 68 of
                                                                       190




                                                                            Vision           Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN Miami Beach Breaks Ground




URBIN Miami Beach celebrated its groundbreaking on Tuesday, November 15. Guests, including city officials, luxury real estate brokers, and community leaders, joined for an intimate
gathering onsite. URBIN is proud to take the next step in development of 69 turnkey residences, coworking space, and ground-floor retail located on 1260 Washington Ave.


The Way To Live Work Well
Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691




                                                                                                                                                                  next
         previous


         URBIN Miami Beach Sold Out                                                           URBIN in Bisnow South Florida Deal
                                                                                                                           Sheet




                                  Locations                             Contact Us                                    A circular community that provides a
                                                                                                                      responsible, authentic and portable lifestyle
                                  Terms of Use                              305-701-1694
                                                                                                                      created as a home of today and tomorrow.
                                                                            info@urbincondos.com
                                  Privacy Policy
                                                                        Connect With Us                               Developed by
                                  Contact Us
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 69 of
                                                                       190




                                                                            Vision             Miami Beach            Coconut Grove                 News                 schedule appointment




Press



URBIN in Bisnow South Florida Deal
Sheet
URBIN was recently featured in Bisnow weekly South Florida Deal Sheet.

From the article:

Construction & Development

Coral Gables developer Location Ventures broke ground on its latest project, URBIN Miami, a mixed-use coworking, wellness and condominium complex in Miami Beach.

The 34K SF, six-story project is located in the heart of South Beach at 1260 Washington Ave. It will offer 20K SF of coworking space, a 5K SF wellness center and 69 condominiums,
South Florida Business Journal reports.

The condos range between 275 SF studios and 1,334 SF four-bedroom units. Both long-term and short-term rental arrangements will be permitted. Additionall, owners have the option
to lease back their units with annual live-in flexibility of up to 90 days.

Prices begin at $400K and go up to $2.4M. The development is slated to be delivered in 2025.


The Way To Live Work Well
Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691

Read more from the Bisnow article HERE




          previous                                                                                                                                                next


          URBIN Miami Beach Breaks Ground                                                                     URBIN in Real Estate Weekly




                                  Locations                              Contact Us                                   A circular community that provides a
                                                                                                                      responsible, authentic and portable lifestyle
                                  Terms of Use                              305-701-1694
                                                                                                                      created as a home of today and tomorrow.
                                                                            info@urbincondos.com
                                  Privacy Policy
                                                                         Connect With Us                              Developed by
                                  Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 70 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                  News                 schedule appointment




Press



URBIN in GoBankingRates
URBIN was recently featured in GoBankingRates article titled “Homebuyers Are Leaving These 5 Big Cities, Relocating to These 5 Big Cities – Experts Weight In”.

From the article:

The pandemic has people itching to move. Of course, there is always some percentage of people who are looking to relocate anyway, but a recent report from Redfin shows the share
of homebuyers searching for a new place to call home is up substantially since COVID-19 first turned our world upside down.

As of January 2022, a record 32.4% of Redfin.com users nationwide looked to move to a different metro area — significantly up from 25.2% in Q2 2019, and slightly up from the
previous peak of 31.5% in the first quarter of 2021. While the current percentage is notably higher than before the pandemic, the question is exactly what influence the pandemic has
had on the increase. While it would seem that remote work policies would play a big part, expert input helps us bring further context to this rising trend. Let’s explore the situation.

So Long, San Fran, LA, NYC, Seattle and D.C. — Hello Miami, Phoenix, Tampa, Sacramento and Vegas!
According to the Redfin report, San Francisco, Los Angeles, New York, Seattle and Washington, D.C. were the top metro areas homebuyers looked to leave in January, which was
unchanged from the fourth quarter of 2021. That’s based on net outflow, a measure of how many more Redfin.com home searchers looked to leave a city than move in.

As for where homebuyers are looking to move, Miami was the most popular destination of all the major U.S. metros, unchanged from the third and fourth quarters of 2021. Miami was
followed by Phoenix, Tampa, Sacramento and Las Vegas.

Expert Analysis
Here, we’ll take a look at why people are leaving the five major metros and flocking to the five other ones, with home prices, climate and other factors coming into play.

Cost Plays a Big Role
Throughout the pandemic, we have seen people move from expensive cities such as San Francisco and New York to cheaper cities like Las Vegas and Phoenix. As more data becomes
available, it appears the pandemic may have accelerated the already existing trend of people leaving costly metros. In other words, it didn’t necessarily create a brand new
phenomenon.

Nevertheless, cost matters, and that is perhaps more important than ever in light of COVID. “This high cost of living doubtlessly pushes some people to seek out less expensive parts
of the country,” says Jacob Channel, senior economic analyst at LendingTree. “That’s not to say that places like Miami or Sacramento are incredibly cheap, but when compared to
somewhere like LA or San Francisco, they appear significantly more affordable.”

Policy Also Matters
Although relocating is not usually a temporary decision, it appears policies around COVID-19 have factored into the decision for at least some homebuyers. Every buyer has their own
calculations to make, and policies that are a pro for some may be a con for others.

“Among those who said the pandemic responses of their previous area impacted their decision of where to live, 26% sought an area with less restrictive pandemic-related policies,
including mask mandate bans, and a lack of vaccine requirements,” says Vanessa Famulener, president of HomeLight Homes.

However, there is a flip side to this, as Famulener points out. “On the flip side, 19% of buyers wanted to move to an area where a higher percentage of the residents take action to
mitigate the pandemic (e.g. voluntary mask wearing, social distancing, etc.).”

Climate Change Is a Growing Concern
For many years, climate change wasn’t a serious concern for homebuyers, which meant people didn’t think twice about cities near the water with tropical climates. However, as the
impacts of climate change are becoming increasingly evident, climate change is becoming a real factor in where people choose to live. “Climate change continues to impact every
aspect of our lives, and in the case of our homes, extreme weather has proven to be unpredictable (and detrimental) over the last decade or so,” says Brad Wills, director of strategic
customers & programs at Schneider Electric. “Those who live in areas prone to climate disasters (think flooding, tornadoes, heavy snowfall) are flocking to locations with a higher
price tag to escape the harmful effects that extreme weather causes to their homes and livelihood,” Wills says.

The idea that people would opt for more expensive areas to escape climate change impacts is certainly a newer phenomenon, but it also makes sense. After all, only 27% of Americans
have flood insurance, according to the Insurance Information Institute. Hence, moving somewhere that is less prone to flooding can save homebuyers money in the long run.

People Are Staying Closer to Home Than Expected
Many people may be moving to cities like Sacramento to save money, but in most cases, they aren’t moving there from New York. In fact, the majority of people moving to Sacramento
are moving from San Francisco. Meanwhile, people moving to Tampa are most often coming from Orlando.

“Something else that’s interesting is that a considerable amount of those moving aren’t packing up and making the trek to the opposite side of the country,” says Hamza Ibrahim,
founder and CEO of REI University. “In most cases, they’re actually moving either to the suburbs of the city they were in, or to a more affordable urban area that’s still in the same
region.”

More Than Anything, Quality of Life Matters
One of the recurring themes throughout the pandemic, at least in terms of what we kept hearing, is how everything would change forever. And some things did change significantly,
such as more companies embracing remote work. Anecdotally, some large employers are offering to reimburse employees up to several thousand dollars for home office equipment.
And, indeed, some people who can work remotely have moved to cheaper areas to reduce their costs.

“However, much of this ‘Great Relocation’ is also a flight to quality of life,” says Rishi Kapoor, CEO of Location Ventures. “Year-round access to the beach, water, and outdoor space is a
significant draw for people, especially as South Florida’s culinary, shopping and entertainment scene is now rivaling major metros like New York City and L.A.”

URBIN is designed to address the needs of today’s residents, fostering creativity and connection through design-forward residences, an amenity program focused on wellness, and
social programming that fosters community.

Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691

Read more from the GoBankingRates article HERE




          previous                                                                                                                                                    next

          URBIN in Yahoo Finance                                                                                 URBIN Miami Beach Sold Out




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 71 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                 News                 schedule appointment




Press



URBIN In MSN
URBIN was recently featured in MSN online publication titled “Argentinians are consolidated as the main buyers of condo hotels in Miami”.

One of the most outstanding aspects of this type of property is that it allows for yields of up to 7% per year on the purchase price.

“The trend is also due to new real estate investment models, where investors can receive rental income in addition to being able to enjoy the properties as they choose,” the report
says.

Italso explains that the Condo-Hotels are ratified as the main investment attraction “because they are a way of buying that allows the owner to use the property as a space for
personal use, and, at the same time, consider the option of renting allows you to generate additional income.

In this regard, Fernando de Núñez y Lugones, executive vice president and economist at ONE Sotheby’s International Realty, maintains that in the midst of the crisis generated by
Covid-19, Argentines see a great opportunity to shield their interests in safer investments in the face of uncertainty. present in the country.

“Opportunities now arise in projects that focus on generating spaces so that their residents can live and work in places specifically designed for it,” adds the executive who also leads
the URBIN Miami Beach & Coconut Grove sales team, a new wellness concept for living and work.

URBIN is designed to address the needs of today’s residents, fostering creativity and connection through design-forward residences, an amenity program focused on wellness, and
social programming that fosters community.



Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.



info@urbincondos.com | 305.526.4691



Read more from the Spanish MSN article HERE




          previous                                                                                                                                                   next


          URBIN In Perfil News                                                                                            URBIN in Yahoo Finance




                                   Locations                              Contact Us                                    A circular community that provides a
                                                                                                                        responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                        created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                               Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 72 of
                                                                        190




                                                                              Vision            Miami Beach               Coconut Grove                  News               schedule appointment




Press



URBIN in Yahoo Finance
URBIN was recently featured in Yahoo Finance article titled “Miami: Argentines rank first in international real estate transactions in South Florida”.



From the article:



One of the most outstanding aspects of this type of property is that it allows yields of up to 7% per year on the purchase price.



“The trend is also due to new real estate investment models, where investors can receive rental income in addition to being able to enjoy the properties as they choose,” the report
says. It also explains that the Condo-Hotels are ratified as the main investment attraction “because they are a way of buying that allows the owner to use the property as a space for
personal use, and, at the same time, consider the option of renting allows you to generate additional income.



In this regard, Fernando de Núñez y Lugones, executive vice president and economist at ONE Sotheby’s International Realty, maintains that in the midst of the crisis generated by
Covid-19, Argentines see a great opportunity to shield their interests in safer investments in the face of uncertainty. present in the country. “Opportunities now arise in projects that
focus on generating spaces so that their residents can live and work in places specifically designed for it,” adds the executive who also leads the URBIN Miami Beach & Coconut Grove
team, a new wellness concept for living and work.



The incessant flow of tourists to Miami also boosts real estate investments by Argentines in the area.
For Nuñez and Lugones, “this type of condo-hotel is intended for those who seek to relax, rest and reconnect through complete programs that provide well-being while living and
working, taking advantage of unique spaces, specialized stores, gourmet markets and wellness centers.” To this is added that the buyer can enjoy up to 90 days of a home that brings
together the comfort of a home, “as well as the possibility of renting a space that offers the special treatment that its tenants deserve.”



The expert recalls the features that the concept offers such as valet parking and concierge service; outdoor seating areas; Housekeeping; food and drink outlets; terrace with
swimming pool, lounge bar and green spaces; Co-working area with consulting services and work tools.



URBIN is designed to address the needs of today’s residents, fostering creativity and connection through design-forward residences, an amenity program focused on wellness, and
social programming that fosters community.



Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.



info@urbincondos.com | 305.526.4691



Read more from the Spanish Yahoo Finance article HERE




          previous                                                                                                                                                   next


          URBIN In MSN                                                                                                 URBIN in GoBankingRates




                                   Locations                              Contact Us                                      A circular community that provides a
                                                                                                                          responsible, authentic and portable lifestyle
                                   Terms of Use                                305-701-1694
                                                                                                                          created as a home of today and tomorrow.
                                                                               info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                 Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 73 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                  News                 schedule appointment




Press



URBIN In Perfil News
URBIN was recently featured in Perfil weekly in article titled “Argentines are consolidated as the main buyers of condo hotels in Miami”.



The crisis generated by the pandemic, added to the political uncertainty in Latin America and strengthened an investment trend among Argentines: to acquire condo-hotels in Miami.
This is due to the economic stability they represent and the legal soundness of the transaction.“



In the midst of the crisis generated by COVID-19, Argentine investors see a great opportunity to shield their interests in safer investments in the face of the uncertainty present in their
country. Opportunities now arise in projects that focus on generating spaces so that their residents can live and work in places designed specifically for it”, says Fernando de Núñez y
Lugones, Executive Vice President and Economist at ONE Sotheby’s International Realty who leads the URBIN Miami Beach & Coconut Grove team.



The Condo-Hotels are positioned as an attractive investment because they are a way of buying that allows the owner to use the property as a space for personal use, and, at the same
time, consider the option of a rental that allows him to generate additional income.



URBIN is designed to address the needs of today’s residents, fostering creativity and connection through design-forward residences, an amenity program focused on wellness, and
social programming that fosters community.



Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.



info@urbincondos.com | 305.526.4691



Read more from the Perfil article HERE




         previous                                                                                                                                                     next

         URBIN In El Economista                                                                                                                   URBIN In MSN




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 74 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                  News                     schedule appointment




Press



URBIN IN BISNOW
URBIN was recently featured in Bisnow article titled “South Florida CRE Leaders on What’s To Come in 2022”

From the article:

The past two years have been hectic, to say the least, with the coronavirus pandemic upending lives and markets around the globe. Among the regions that fared better than others is
South Florida, which emerged relatively unscathed.

Regional commercial real estate experts are now looking ahead to 2022, and they spoke with Bisnow regarding what’s on tap for the new year. These comments have been lightly
edited for style and clarity.

Rishi Kapoor, CEO, Location Ventures

“The future is Flex. In both the residential and commercial market, the desire for flex space grew significantly over the past year and anticipate it will further take hold in 2022. There
                                                                                                                                        I


are still several unknown factors, from corporate coworking to hybrid schedules, to world health, that are preventing companies from making long-term decisions and flex is an
opportunity that fits. For employers and entrepreneurs, the ability to work from anywhere, and the growing acceptance to do so, is also fueling demand for flex office space. We’re
seeing a similar trend in residential markets. A large segment of renters is moving away from signing annual leases in search of furnished apartments with flexible terms, allowing them
to live in one city for a few months and then another, all while maintaining digital connectivity. The rise in short-term rental projects has already been seen locally and foresee that it
                                                                                                                                                                             I


will continue, especially with the new projects planned.”


Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691

Read more from the Bisnow article HERE




          previous
                                                                                                                                                                      next
          URBIN IN SOUTH FLORIDA BUSINESS                                                                                  URBIN In El Economista
          JOURNAL




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 75 of
                                                                         190




                                                                               Vision           Miami Beach               Coconut Grove                  News                  schedule appointment




Press



URBIN In El Economista
URBIN was recently featured in El Economista article titled “The Real Estate Market In The U.S is becoming an attractive option for Mexican Buyers”

From the article:

The real estate market in the United States, especially in luxury segments is experiencing significant dynamism, where prices, low-interest rates, and other circumstantial factors have
boosted demand while the supply has lagged behind.

According to an analysis by mortgage giant Freddie Mac, from 2018 to date the housing deficit in the United States has increased more than 50% to currently stand at 3.8 million units,
while the price of unit sales across the US have risen about 15% in recent months to currently stand at around $340,000.

Real estate professionals in the United States have agreed that this situation could be perceived as worrying; however, it is a great opportunity for foreigners, mainly Mexicans, who
seek to protect their positions in safe investments in the face of the economic situation.

“People are coming to the United States wanting to buy because there have been changes in the Latin American region. In Chile, Peru, Mexico, there was a significant outflow of capital
and a percentage of that capital is going to end up in the real estate market”, explained Fernando de Núñez y Lugones, executive vice president of the Development Division of the
ONE Sotheby’s International Realty agency.

In an interview, De Núñez   highlighted that the Miami, Florida, market has triggered the interest of Mexicans, especially in projects with a value of more than 1,500,000 dollars, since,
during the last year, Mexicans went from tenth to fourth place in the ranking of international real estate buyers in that state with acquisitions totaling more than 420 million dollars.

“Mexicans are present in all segments, but they are always buying well-located and high-quality products,” said the director of the URBIN luxury segment project’s sales agency.
De Núñez commented that, according to his experience, half of the Mexicans who buy a home in the United States do so in order to have a permanent residence, while 25% do so to
settle partially and the other 25 % for investment purposes.

Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691

Read more from the El Economista article HERE




          previous                                                                                                                                                      next


          URBIN IN BISNOW                                                                                                         URBIN In Perfil News




                                   Locations                               Contact Us                                     A circular community that provides a
                                                                                                                          responsible, authentic and portable lifestyle
                                   Terms of Use                                305-701-1694
                                                                                                                          created as a home of today and tomorrow.
                                                                               info@urbincondos.com
                                   Privacy Policy
                                                                           Connect With Us                                Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 76 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                 News                  schedule appointment




Press



URBIN IN SOUTH FLORIDA BUSINESS
JOURNAL
URBIN was recently featured in the South Florida Business Journal article titled “Renter Nation” detailing the rapid rise in cost of living burdening South Florida’s workforce – and soon
its employers.


From the article:

One way to make apartments more affordable is to live with roommates, a trend Miami-based Location Ventures aims to tap into with its URBIN brand. The developer has co-living
and coworking projects under development in Coral Gables, Miami Beach and Coconut Grove, with another planned in Fort Lauderdale. The company will rent by the bed for just over
$1,000 a month and sell other on-site services, such as wellness plans.

“Our thesis is to put people in the heart of the most in-demand submarkets, right in the urban center,” CEO Rishi Kapoor said. “The trade-off is a smaller footprint for personal space,
but they have the amenity that is the community.”

However, not all cities allow co-living. Kapoor said cities should embrace creativity in housing design to enhance affordability and allow more of the workforce to live here.

Each URBIN is an oasis, a layered community of thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and
provide guests a welcome experience. To live work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices.

info@urbincondos.com | 305.526.4691




          previous                                                                                                                                                    next

          URBIN in Condo BlackBook                                                                                                        URBIN IN BISNOW




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 77 of
                                                                        190




                                                                             Vision           Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN in AllWork
URBIN was recently featured in AllWork article titled “ Real Estate Platform Launches Mix-Use Residential Product “.

From the article:

Real estate platform company Location Ventures has launched its new mix-use residential product called URBIN in Miami Beach and Coconut Grove.

URBIN incorporates residential spaces with short or long-term leases, as well as access to coworking spaces, wellness amenity programs, retail, and more all in one location.

Presales for URBIN’s condos at its Miami Beach location have begun and so far the company has pre-sold 60% of its space within the first 30 days. Presales for its Coconut Grove
location are expected to initiate soon, with the firm planning to expand its services across major markets in the U.S.

URBIN’s residential units in Miami Beach feature a variety of floor plans ranging from 275 square-foot studios to four-bedroom units up to 1,334 square feet. The Coconut Grove
location will feature spaces ranging from 334 square feet to 2,352 square feet.

“URBIN celebrates a new way of living by bringing people together through home, work, and wellness in a single setting,” said Rishi Kapoor, CEO of Location Ventures. “Through
integrating quality design, technology, wellness and social programming, we’re hoping to foster community and enable a high- quality of life in these city-centric ‘urban’
neighborhoods.”

URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




          previous                                                                                                                                                 next


          URBIN in Miami Today                                                                                    URBIN in Condo BlackBook




                                  Locations                              Contact Us                                    A circular community that provides a
                                                                                                                       responsible, authentic and portable lifestyle
                                  Terms of Use                               305-701-1694
                                                                                                                       created as a home of today and tomorrow.
                                                                             info@urbincondos.com
                                  Privacy Policy
                                                                         Connect With Us                               Developed by
                                  Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 78 of
                                                                        190




                                                                              Vision           Miami Beach               Coconut Grove                 News                  schedule appointment




Press



URBIN in Condo BlackBook
URBIN was featured in Condo BlackBook Miami’s New and Pre-Construction Condo Update.




Just like Miami’s luxury housing market, the pre-construction condo market is a hotbed of activity. This October, Urbin Miami Beach and La Baia launched sales. Two new condos were
proposed, with one being a non-profit development in Little Havana. Aria Reserve, Lofty Brickell, and a 38- story Edgewater condo cruised through approvals to meet the heightened
demand brought on by lifting of travel bans and continued migration of businesses to South Florida. Related Group revealed Casa Bella Residences as a rebrand. And, another bulk
buyout took place close in Coral Gables as developers look for developable land.

Location Ventures launched sales on one of its mixed-use, co-living condo projects planned for Miami Beach. Located at 1260 Washington Avenue, Urbin Miami Beach was 60% pre-
sold in just the first 30 days of marketing. Designed by Touzet Studio, with interiors and common spaces by New York’s Meyer Davis Studio, the condo project is expected to feature
fewer than 100 units.

The development will include a renovated 33,488-square-foot building plus a brand-new 44,000- square-foot building. Units will range from studios to two- and four-bedroom condos.

Following the success of this initial launch, developer Location Ventures plans on launching sales for URBIN Coconut Grove soon. Designed by Arquitectonica and Paredes Architects,
the co-living/co-working complex will sit next to CocoWalk at 3162 Commodore Plaza. The development will include the conversion of a nearly 33,000-square-foot commercial building,
a 5,000-square-foot restaurant, and 23,490-square-foot property, along with ground-up development. Units at Urbin Coconut Grove will range from 331-square-foot studios to 2,352-
square-foot six-bedroom condos.

With its first two locations planned for Miami, Urbin is a first-of-its-kind, mixed-use brand dedicated to creating spaces where one can live, work, and seek wellness. Each property will
offer a membership-based platform and unite condos with all-inclusive, co-working spaces, wellness amenities, social activations, plus lifestyle-oriented retail.

All URBIN properties are planned to feature design-forward, turnkey rental residences with a select number available for purchase. Owners of the private residences will be able to use
their homes for up to 90 nights per year. During their time away, the residence will be professionally managed by URBIN and made available for rent through the property’s exclusive
lease-back program.

Amenities planned for Urbin Miami Beach include a rooftop pool deck with green spaces and lounge areas; a wellness center with programming for mindfulness, movement,
nourishment, and healing; plus, service-driven amenities such as housekeeping, room service, and valet.

Construction of both Urbin projects in Miami Beach and Coconut Grove could begin this November and be completed within 24 months of groundbreaking.
Prices start at $400,000 with a choice of studios, two- and four-bedroom residences.

Read More From Condo BlackBook HERE




                                                                                                                                                                      next
            previous


            URBIN in AllWork                                                                            URBIN IN SOUTH FLORIDA BUSINESS
                                                                                                                               JOURNAL




                                   Locations                              Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                Developed by
                                   Contact Us
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 79 of
                                                                       190




                                                                            Vision          Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN in World Red Eye




URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




         previous                                                                                                                                                next


         URBIN in Ocean Drive Magazine                                                                                      URBIN in Miami Today




                                  Locations                             Contact Us                                   A circular community that provides a
                                                                                                                     responsible, authentic and portable lifestyle
                                  Terms of Use                              305-701-1694
                                                                                                                     created as a home of today and tomorrow.
                                                                            info@urbincondos.com
                                  Privacy Policy
                                                                        Connect With Us                              Developed by
                                  Contact Us
                                      Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 80 of
                                                                           190




                                                                                 Vision           Miami Beach              Coconut Grove                 News                 schedule appointment




Press



URBIN in Ocean Drive Magazine
URBIN was recently featured in Ocean Drive magazine online publication titled “URBIN: Miami’s Newest Live and Work Concept” highlighting our new condominiums coming to Miami
Beach and Coconut Grove       .




From the article:

Over the past two years, many people have opted out of taking the daily commute to the office and have chosen to work from home instead. URBIN is a new community tailored to
the needs of professionals working from home. Their new condominiums located in Miami Beach and Coconut Grove feature peaceful and high-end units, ranging anywhere in size
from a studio to six bedrooms.




URBIN is working alongside leading South Florida developer, Location Ventures to transform their concept into a reality. URBIN crafted their living spaces to fit the schedule of a digital
nomad; tenants can stay at a condominium for 90 days at a time, and URBIN will fill the room with other tenants in the meantime. The two newly announce South Florida buildings
include Coconut Grove and Miami Beach, but the group is not stopping there. They plan on expanding to over 100 buildings in the US over the next decade.

As remote work has now become a more permanent reality, the only thing a person needs to clock in is a WiFi signal. Each of URBIN’s buildings contain ample workspaces, offices,
markets, wellness centers and restaurants. URBIN is the perfect oasis to get work done, grocery shop, workout and dine out all in one place.




URBIN prides itself on catering their developments towards the needs of working professionals. Their workspaces provide a quiet and calm area to get the job done, all whilst in the
comfort of your own home. They also have personal or collaborative offices for the guest’s disposal, perfect for focusing on personal work or collaborating with a group. There are
also advanced technology meeting and presentation rooms, perfect for a Zoom conference or PowerPoint presentation.

In need of a quick    pick me up in between meetings? Look no further than the on-site café serving fresh drinks and snacks daily. They also have beautiful dining terraces, looking out
over Miami’s coast.




Not only does URBIN boast luxurious work and dining spaces, they also have many luxurious amenities such as their rooftop pools. This infinity-style pool has a resort-style sundeck,
along with poolside food and beverage services. URBIN also has a rooftop lounge and café, perfect for an evening break.

URBIN’s newly announced Miami communities are going to be a great addition to the ever-evolving city. Be sure to check out urbincondos.com for more information.

Click HERE to read the article on Ocean Drive Magazine

URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




          previous                                                                                                                                                     next

          URBIN in South Florida Agent                                                                                       URBIN in World Red Eye




                                      Locations                              Contact Us                                    A circular community that provides a
                                                                                                                           responsible, authentic and portable lifestyle
                                      Terms of Use                               305-701-1694
                                                                                                                           created as a home of today and tomorrow.
                                                                                 info@urbincondos.com
                                      Privacy Policy
                                                                             Connect With Us                               Developed by
                                      Contact Us
                                       Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 81 of
                                                                            190




                                                                             Vision           Miami Beach               Coconut Grove                 News                  schedule appointment




Press



URBIN in Miami Today
URBIN Miami Beach was recently featured in Miami Today article titled “65 Flex Work-Live Units Planned on Washington”.

From the article:

A new way to flex live and work is soon coming to Miami Beach, and developers say it will change the “work from anywhere” lifestyle.

URBIN Miami Beach at 1260 Washington Ave. is planned for 65 units for sale where owners can use their unit for up to 90 nights yearly and while away rent it out through the
building’s leaseback program, said Rishi Kapoor, a local real estate developer who is launching URBIN.

“We are currently in the predevelopment phase and plan to begin the renovation in 2022 and deliver the project by 2025,” Mr. Kapoor said.

The project site includes an existing 33,488-square-foot property that is to be renovated, with an additional ground-up development building of 44,000 square feet. Residents are also
to have access to dedicated spaces for work, wellness, culinary experiences, and entertainment.

All rentals are to be professionally
                                  managed in-house by the URBIN team, controlling cost and quality but the co-working portion of the property can be utilized by anyone, not just
URBIN residents, added Mr. Kapoor, who is also the CEO of Location Ventures, which is heading the URBIN buildings.

“After embracing the work-from-anywhere lifestyle over the last year and a half, people are searching for flexibility when it comes to where they live and work,” he said. “I anticipate
this trend is going to continue, which is why we’re integrating flexible short- and long-term furnished rentals as part of the URBIN operating model and dedicated co-working space.”

Fewer companies today want to commit to long-term leases because physical office needs are still changing in a hybrid environment, said Mr. Kapoor, who is developing another
URBIN building at 3162 Commodore Plaza in Coconut Grove.

“Miami Beach is one of the most iconic neighborhoods in the world. We identified locations for URBIN that are the epicenter of social activity and culture where there is already
demand fom people looking to live and work there,” he said.

“The transformation underway on Washington Avenue to bring new hotels and retail made it the ideal fit for the brand’s first location.”

URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




          previous                                                                                                                                                   next


          URBIN in World Red Eye                                                                                                      URBIN in AllWork




                                       Locations                         Contact Us                                     A circular community that provides a
                                                                                                                        responsible, authentic and portable lifestyle
                                       Terms of Use                           305-701-1694
                                                                                                                        created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                       Privacy Policy
                                                                         Connect With Us                                Developed by
                                       Contact Us
                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 82 of
                                                                             190




                                                                               Vision           Miami Beach               Coconut Grove                  News               schedule appointment




News



LOCATION VENTURES LAUNCHES CONDO
SALES FOR URBIN MIXED-USE CONDO, CO-
WORKING LIFESTYLE IN MIAMI BEACH AND
COCONUT GROVE
The desire to live and work in city centers throughout the world is often met with challenges in accessibility, mobility, and sustainability…until now. Location Ventures – a Miami-based,
integrated real estate platform that delivers thoughtfully-designed and fully-connected residential and mixed-use projects – announced today the launch of residential sales for URBIN.
A first-to-market, mixed-use brand, URBIN unites design-forward residences for short- or long-term rent with all-inclusive co-working spaces, wellness amenity programming, social
activations, and lifestyle-oriented retail, all in one central address.

URBIN has initiated condo presales for its first location in Miami Beach, marking the first phase of the brand’s official launch with 60 percent pre-sold in the first 30 days. The launch of
presales for a second location in Coconut Grove will immediately follow to meet growing demand. The brand will further scale with additional locations in key markets throughout the
U.S., designing each to fit into the context of its carefully selected setting.




Daniel de la Vega, Rishi Kapoor, & Fernando de Nuñez y Lugones



With exclusive sales and marketing representation by ONE Sotheby’s International Realty, URBIN presents turnkey units, designed in a collective living style. Priced from $400,000,
residences will be available in diverse floor plans. In Miami Beach, studios will start at 275 square feet and expand to spacious multi-room residences that range from two- to four-
bedrooms at up to 1,334 square feet. In Coconut Grove, residences range from studios at 331 square feet to six bedrooms at 2,352 square feet. Both locations will feature fewer than
100 units to allow for a tailored and more private living experience.

As an opportunity to own property in one of the world’s most sought destinations through URBIN, owners will have exclusive access to a lease-back program with the dual freedom to
stay on property for up to 90 nights per year. While away, the residence is professionally managed by the brand and available for rent.

“URBIN celebrates a new way of living by bringing people together through home, work, and wellness in a single setting,” said Rishi Kapoor, CEO of Location Ventures. “Through
integrating quality design, technology, wellness and social programming, we’re hoping to foster community and enable a high-quality of life in these city-centric ‘urban’
neighborhoods.”




Mayor Francis X. Suarez



URBIN residences will offer various layouts and provide a selection of shared spaces per unit, such as a common kitchen, dining and living area. The contemporary-designed condos
are fully furnished and include efficient layouts to maximize space, while featuring high-end fixtures and Energy-Star stainless steel appliances, and plenty of storage space. Enticing,
service-driven amenities, such as housekeeping, room service, and valet are complemented by on-site food and beverage venues; a wellness center with programming for mindfulness,
movement, nourishment, and healing; and a rooftop pool deck with green spaces and lounge areas.

From owners of large enterprises to remote workers, URBIN’s co-working space brings a heightened level of service to the work experience. Members are given access to bespoke
support tools, including consulting, administrative and networking, to further drive their business goals. Those who utilize the space are not required to live on property; however,
members who both live and work at URBIN unlock exclusive rates.
                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 83 of
                                                                             190




URBIN Miami Beach, located at 1260 Washington Ave., is designed by Touzet Studio, led by Carlos Prio-Touzet and Jacqueline Gonzalez-Touzet. The building’s façade will complement
the playful energy of Miami Beach, featuring geometric styles and colors found throughout the neighborhood with a nod to its Art Deco heritage. Its common area and amenity
interiors are curated by Meyer Davis, the award-winning design studio from New York City. The property will undergo a complete renovation to the existing 33,488-square-foot site, in
addition to the ground-up development of a 44,000-square-foot building.

URBIN’s second location is at 3162 Commodore Plaza in Coconut Grove, a less than five-minute walk from the newly-unveiled CocoWalk. Arquitectonica and Paredes Architects
designed the exterior to integrate seamlessly with the contemporary new builds in the surrounding area. The residences will feature interior design by am studio, a boutique design
collaborative committed to creating cohesive, resourceful, and oneiric spaces. The development of URBIN Coconut Grove will include the conversion of a nearly 33,000-square foot
commercial building, roughly 5,000-square-foot restaurant, and 23,490-square-foot property, as well as a ground-up development.

URBIN will join the renaissance and expansion currently underway on Washington Avenue and Commodore Plaza – two streets situated in two of the city’s most thriving and in-
demand districts. The sales launch of URBIN aims to reach both domestic and international investors attracted to South Florida by providing a unique live-work-well offering in the
market.

For more information, please visit www.urbincondos.com or call 305.376.7274.




This exclusive ownership opportunity at URBIN presents a turnkey experience that truly optimizes the benefits of Miami real estate ownership.



About URBIN

URBIN is a first-to-market, mixed-use brand with properties situated in renowned locations, offering an authentic, responsible, and flexible lifestyle when living and working in city
centers. The first two locations will be in Miami Beach and Coconut Grove, Florida, with additional locations in key U.S. markets forthcoming. URBIN, developed by Location Ventures,
the Miami-based real estate investment and development firm, has a vision to create places where one can live, work, and seek wellness in the heart of coveted neighborhoods. Each
property will feature a membership-based platform and unite condos with all-inclusive co-working spaces, wellness amenities and programming, social activations, and lifestyle-
oriented retail. URBIN features design-forward, turnkey rental residences with a select number available for purchase. Owners can enjoy their abode for personal use, for up to 90
nights per year; while away, the residence is professionally managed by the brand and available for rent through the property’s exclusive lease-back program. Exclusive sales and
marketing for URBIN residences is by ONE Sotheby’s International Realty.

URBIN is backed by investors David Martin, CEO of Terra Group; Rudy Touzet, CEO of Banyan Street Capital; the Murphy family of Coastal Construction; former New York Jets and
New Orleans Saints linebacker Jonathan Vilma; Gabriel Navarro, Marcel Navarro and Martin Pico of MMG Equity Partners; Marty Halpern of UnitedTranzactions; and a group of owners
from Location Ventures.
                                         Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 84 of
                                                                              190




About Location Ventures

Location Ventures is an integrated real estate platform that provides comprehensive investment, development, management, marketing, and sales for residential and mixed-use
properties in the South Florida market and beyond. Location Ventures invests in one-of-a-kind living experiences that make the highest and best use of unique development locations.
The company’s more than $600 million portfolio contains a mix of ultra-luxury single-family homes, boutique condominiums, and an urban-centered mixed-use project where young
professionals live and work at one address.

About ONE Sotheby’s International Realty

ONE Sotheby’s International Realty is South Florida’s premier source for luxury real estate and development opportunities with 17 offices spanning from Miami and Key Biscayne to
Palm Beach and Stuart. Since its inception in 2008, ONE SIR has recruited more than 800 of the world’s most passionate and well-connected agents, backed by a global brand with a
heritage of unsurpassed quality, value and trust. ONE Sotheby’s International Realty’s direct affiliation with Sotheby’s Auction House and Sotheby’s International Realty has offered the
company unparalleled, global reach – an attribute sellers reap the full benefit of as their homes receive prime exposure to a network of more than 22,000 associates in 72 countries
and territories across 960 offices. In addition to its luxury brokerage division, the firm also offers a development sales division representing some of South Florida’s most successful
and prestigious condo developments with a total inventory of over $3.5 billion. With a vision rooted in providing exceptional service, superior market knowledge and the latest
technology, ONE Sotheby’s International Realty is dedicated to giving extraordinary lives a home to thrive. www.onesothebysrealty.com




Rishi Kapoor, Jorge Kupferman, Micaela Kupferman, & Fernando de Nuñez y Lugones




Rishi Kapoor & Mayor Francis X. Suarez
                                        Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 85 of
                                                                             190




Urbin Sales Team – Ignacio Gonzales, Ivonne Ballestas, Lorena Millan, Christianne Leon, Lilia Gambogi, Elena Krupennikova, & Maja Nikoloska




Sergio Chanteiro, Fernando de Nuñez y Lugones, Elena Krupennikova, Thomas Grimshaw, & Steven Kupchan




Ani Sanchez & Yedri Villafane
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 86 of
                                     190
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 87 of
                                                                       190




URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




         previous
                                                                                                                                                                 next
         Location Ventures launches sales of                                                                           URBIN in World Red Eye
         co-living project in Miami Beach
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 88 of
                                     190




Locations                   Contact Us                        A circular community that provides a
                                                              responsible, authentic and portable lifestyle
Terms of Use                   305-701-1694
                                                              created as a home of today and tomorrow.
                               info@urbincondos.com
Privacy Policy
                            Connect With Us                   Developed by
Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 89 of
                                                                        190




                                                                             Vision           Miami Beach               Coconut Grove                 News                schedule appointment




News



URBIN in World Red Eye
Photography by Alejandro Chavarria on October 13th, 2021 in Lifestyle Miami Design District
                                                                       ,




Miami, FL – October 13, 2021 – URBIN – a first-to-market, live/work brand – hosted its official launch at Miami Design District ’s historic Moore Building. Developed by Location Ventures   ,




URBIN will feature turnkey residences, all-inclusive co-working space, wellness programming, social activations, and experiential retail. The occasion marked the formal initiation of
sales for the brand’s first location in Miami Beach, with a second location in Coconut Grove to soon follow. During the private luncheon, the city’s top brokers and VIPs celebrated with
keynote speaker Mayor Francis X. Suarez followed by insight on the strength of South Florida’s real estate market by ONE Sotheby’s International Realty President Daniel de la
                                         ,




Vega and Executive Vice President Fernando de Nuñez y Lugones For more information, please visit www.urbincondos.com
                                                                  .
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 90 of
                                     190




                                 Fernando de Nuñez y Lugones
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 91 of
                                     190




                                     Daniel de la Vega




                                      Francis Suarez
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 92 of
                                     190
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 93 of
                                                                       190




                                                                                      Rishi Kapoor




URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




         previous
                                                                                                                                                                 next
         LOCATION VENTURES LAUNCHES CONDO                                                                 URBIN in South Florida Agent
         SALES FOR URBIN MIXED-USE CONDO, CO-
         WORKING LIFESTYLE IN MIAMI BEACH AND
         COCONUT GROVE




                                  Locations                             Contact Us                                   A circular community that provides a
                                                                                                                     responsible, authentic and portable lifestyle
                                  Terms of Use                              305-701-1694
                                                                                                                     created as a home of today and tomorrow.
                                                                            info@urbincondos.com
                                  Privacy Policy
                                                                        Connect With Us                              Developed by
                                  Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 94 of
                                                                        190




                                                                              Vision            Miami Beach                 Coconut Grove               News                schedule appointment




News



Location Ventures launches sales for
the first two locations of URBIN

Frank Lloyd Wright Home Lists in Michigan, Jonathan Adler Makes Moves in SoHo, and More Real Estate News

Here’s everything you need to know now

By Dan Avery September 30, 2021

From high-profile design commissions to exciting listings, there is always something new happening in the world of real estate In this roundup, AD PRO has everything you need to
                                                                                                                                  .




know.

On the Market

A Frank Lloyd Wright house for sale in Michigan

A 1953 Frank Lloyd Wright home overlooking Lake Michigan is on the market for the first time in 25 years.

Listed for $1.96 million, Harper House in St. Joseph, Michigan, is named after Ina Morriss Harper, a doctor who commissioned the famed architect to build a home for her and her
husband after reading a profile on him in House Beautiful  .




Made of Chicago common brick and tidewater cypress—both signature Wright materials—the L-shaped abode has floor-to-ceiling windows that wrap around the perimeter and a
combination of pitched, angled, and flat rooflines.

   been lovingly cared for by current owners Gina Flamm and Arthur Wolak, who bought the house in 1996. They worked closely with the Frank Lloyd Wright Building Conservancy
It’s

on a full restoration and tasked Wright protégé Charles Montooth to design an extension that added two more bedrooms.

“We’re still blown away by the house. It never grows old,” Flamm tells AD PRO. “We still notice new things all the time.”

Harper House is being sold with all its furnishings and several art pieces, including a reproduction of Sprite, a sculpture Wright designed for Chicago’s Midway Gardens in 1914.

The original furnishings were sold several owners back, but rather than try to recreate them—“too contrived,” says Flamm—the couple infused the space with their own style while
remaining true to Wright’s design. “Our mantra was ‘of the earth,’” Flamm says. “There are a lot of browns and golds and bronzes.”

The one thing she and her husband didn’t want was to live in a museum piece. “We have children running around, friends and family sitting at the table, food set out on the buffet,”
she says. “We’ve always had that sense of awe, but it’s never been uncomfortable. Our heart is in this house and hope the next owners’ heart is too.”
                                                                                                                    I




Halfway across the country, another Frank Lloyd Wright house is on the market, in Los Angeles: Completed in 1925, the Freeman House has been described by architectural historian
Kathryn Smith as one of the architect’s most important houses.

Distinguished by its Mayan Revival architecture, textile blocks, and focal hearth, the three-bedroom house is currently owned by the University of Southern California. The list price,
which includes many original furnishings designed for the house, has been reduced from $4.25 million in July to $3.25 million.




Work-life balance in Miami

Location Ventures has launched sales for the first two locations of Urbin, a new mixed use brand that combines short- or long-term accommodations with co-working, wellness space,
and retail.

Catering “to the nomadic traveler…looking to live or stay in the hottest cities with only their personal items in tow,” Urbin properties allow owners to stay for up to 90 nights a year.
While they’re away, the residence can be rented on a short- or long-term basis.

Location Ventures has announced plans to scale to 100 sites in the U.S. over the next decade. The first two are Urbin Miami Beach on Washington Avenue, designed by Coral Gables–
based Touzet Studio, and Urbin Coconut Grove in Commodore Plaza, designed by Arquitectonica and Paredes Architects.

Residences range from $400,000 to $1.2 million, with sales representation by ONE Sotheby’s International Realty.

In the News


Jonathan Adler leases SoHo store

Design maven Jonathan Adler is returning to SoHo with a 10-year lease on a 8,000- square-foot building at 382 West Broadway, the New York Post first reported.

For $650,000 a year, the contract on the mid-block building between Spring and Broome streets includes the ground floor, lower level, and mezzanine. It was previously a
membership spa from skincare brand Erno Laszlo.

“It’s a rare freestanding building in SoHo, and since most of the surrounding buildings are historic cast-iron structures, it will provide Jonathan Adler with a striking, modern home for
his brand,” Sinvin Real Estate’s Christopher Owles, who represented the building’s owners, tells AD PRO.

The store will be in good company, Owles says, pointing to neighbors like Cipriani Downtown, Ladurée, and Ryan Serhant’s new real estate office, as well as fashion outposts from
Gucci, Bogner, and Reiss.

Adler currently has shops in Greenwich Village, Lenox Hill, and on the Upper West Side, but he opened his first store on Broome Street in 1998, followed by larger outposts on Greene
Street.

“SoHo’s always been their home, and it’s important to have a presence here,” Janet Liff of J. Liff Co., who represented Adler in the sale, told the Post Rents have lowered since
                                                                                                                                                         .




the pandemic, she added, “so there are opportunities and it’s a good time to come back.”

Brookfield cuts the ribbon on Manhattan West

Manhattan West officially opened this week: More than 30 years in the making, the sprawling city-within-a-city designed by Skidmore, Owings & Merrill links Madison Square Garden,
Penn Station, the new Moynihan Train Hall, Hudson Yards, and the High Line with eight acres of office space, hospitality and dining, entertainment, retail, and high-end
accommodations.

In addition to a pair of soaring
                             office towers, the Brookfield Properties development is also home to the Eugene, a 62-story residential tower with 834 apartments, and Pendry
Manhattan West, the brand’s first New York hotel.

Dining options range from elevated fast casual at the Citizens New York food hall to two outposts from Danny Meyer—Ci Siamo and Daily Provisions—as well as Richard Kuo’s
 restaurant, Hidden Leaf, and Quality Branded’s café, Zou Zou’s.

A 2.5-acre urban pedestrian plaza with movable chairs, tables, and benches will feature free events and public art, like “ Citrovia ,” an interactive outdoor exhibit boasting thousands of
hand-painted lemons and groves.

“We are incredibly proud that Manhattan West will contribute to the energy and dynamism of New York City as the city continues to come back to life,” Brookfield managing partner
Ben Brown said in a release.
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 95 of
                                                                        190




Could the Met Breuer go condo?

The Whitney Museum’s erstwhile home on the Upper East Side side may be up for sale, according to a report on Artnet         .




Designed by Marcel Breuer in 1966, the iconic dark granite building taking up 77,000 square feet on Madison Avenue was occupied by the Whitney until 2015, when it decamped to its
new Renzo Piano–designed home in the Meatpacking District.

A year later, the Metropolitan Museum of Art moved into the Breuer, intending to use it to display modern and contemporary works. But in 2018, the Met sublet the Breuer to the
Frick Collection, which was preparing for a massive expansion at its own home base.

The Frick Madison opened in March 2021 and is set to remain there until the Met’s lease runs out in fall 2023. But what happens then?

The Whitney declined to respond to a request for comment, but, as Artnet notes, any decision on selling or leasing again would have to be approved by its chief benefactor, Leonard
Lauder, who has indicated he doesn’t want the museum to give up the building any time soon.

And any developer brave enough to make a play for it would have to overcome its landmark status, zoning issues, and undoubted resistance from the neighborhood and city leaders.

“They may try to do something else with it, but the neighborhood and City Council will push against it hard,” Million Dollar Listings ’s Tyler Whitman tells AD PRO. “Personally,   I   hope
they bring another art exhibition space. We have to keep what brings people to New York in the first place. We have plenty of skyscrapers—we don’t have enough art.”

Real estate broker Compass’s chief evangelist Leonard Steinberg said he’s confident the building won’t be torn down, “as it is an internationally recognizable landmark of architectural
significance.”

“However, a residential tower that is somehow incorporated with this building is very plausible and would command a premium not only because of its location,” he tells AD PRO, “but
also because of the provenance of the museum.”

But the odds of one as tall as 53 W 53, Jean Nouvel’s 1,050-foot skyscraper adjoining the Museum of Modern Art, “are close to zero, if not zero,” Steinberg adds.

A covetable condo in Atlanta

The first model residence has been unveiled at 40 West 12th the luxury condo tower anchoring Atlanta’s 1105 West Peachtree, a $530-million mixed-use complex that also includes a
                                                              ,




31-story office building where Google has claimed five floors and the Epicurean, a 178-room culinary-driven hotel that’s part of Marriott’s Autograph Collection.

Designed by Michael C. Morris of M. Crisler Designs, the apartment features a high contrast color palette, a dual-facing fireplace, and statement light fixtures, like a Sputnik chandelier
in the dining room.


Co-developed by Selig Development and Rockefeller Group and designed by Atlanta architecture firm Rule Joy Trammell + Rubio, 40 West 12th offers 64 two- to four bedroom layouts
with pricing starting at $1.1 million.




URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




                                                                                                                                                                       next


                                                                                            Location Ventures launches sales of
                                                                                                co-living project in Miami Beach




                                   Locations                              Contact Us                                      A circular community that provides a
                                                                                                                          responsible, authentic and portable lifestyle
                                   Terms of Use                                305-701-1694
                                                                                                                          created as a home of today and tomorrow.
                                                                               info@urbincondos.com
                                   Privacy Policy
                                                                          Connect With Us                                 Developed by
                                   Contact Us
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 96 of
                                                                         190




                                                                              Vision           Miami Beach               Coconut Grove                 News                  schedule appointment




News



URBIN in South Florida Agent
URBIN Miami Beach was featured in South Florida Agent article titled ” Residential sales launch for mixed-use Miami Beach development URBIN” highlight our recent residential sales
launch.

From the article:

Residential sales have officially launched for URBIN, a mixed-use development that will combine residential, commercial, lifestyle and working spaces all under one roof.

Backed by Miami-based real estate company Location Ventures, URBIN will unite design-forward residences with all-inclusive coworking spaces, wellness amenity programming, social
activities and lifestyle-oriented retail shops, according to a press release.

Units are available for short- or long-term rent.

URBIN’s first location in Miami Beach secured reservations for 60% of its units in the first 30 days of pre-sales. Plans to launch pre-sales for the second location in Coconut Grove will
soon follow to meet growing demand, with additional locations planned for key markets throughout the U.S.

Priced from $400,000, residences will range from studios to four-bedroom residences in Miami Beach and studios to six-bedrooms in Coconut Grove. Both locations will feature
fewer than 100 units to allow for a tailored and more private living experience, according to the release. ONE Sotheby’s International Realty is exclusively handling URBIN sales and
marketing.

Condos are fully furnished and feature stainless steel appliances and ample storage space. In addition, residents will have access to housekeeping, room service and valet along with on-
site food and beverage services and a rooftop pool deck with green spaces and lounge areas.

UBRIN will provide owners access to a lease-back program that allows them to stay on the property for up to 90 nights per year. While away, the residence is professionally managed
by the brand and available for rent.

“URBIN celebrates a new way of living by bringing people together through home, work and wellness in a single setting,” said Rishi Kapoor, CEO of Location Ventures. “Through
integrating quality design, technology, wellness and social programming, we’re hoping to foster community and enable a high quality of life in these city-centric ‘urban’ neighborhoods.”

Click HERE to read more from the South Florida Agent article.

URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




          previous                                                                                                                                                    next


          URBIN in World Red Eye                                                                           URBIN in Ocean Drive Magazine




                                    Locations                             Contact Us                                     A circular community that provides a
                                                                                                                         responsible, authentic and portable lifestyle
                                    Terms of Use                              305-701-1694
                                                                                                                         created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                    Privacy Policy
                                                                          Connect With Us                                Developed by
                                    Contact Us
                                    Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 97 of
                                                                         190




                                                                             Vision           Miami Beach              Coconut Grove                News                 schedule appointment




Press



Location Ventures launches sales of
co-living project in Miami Beach

Developer will begin sales of Coconut
Grove project next
By Katherine Kallergis October 13, 2021 11:30 AM

Developer Rishi Kapoor launched sales of his co-living development in Miami Beach, with plans to begin selling units at a Coconut Grove project next.

Kapoor, CEO of Coral Gables-based Location Ventures, aims for an ambitious pipeline. He hopes to have 100 Urbin-branded properties across the country and abroad over the next
decade, he said. Location Ventures has raised more than $100 million from investors that include Terra’s David Martin, the Touzet family, the Murphy family of Coastal Construction,
and others.

URBIN Miami Beach at 1260 Washington Avenue, has secured reservations for 60 percent of the units since beginning sales and marketing over the past month, Kapoor said. The
                     ,




developer plans to convert to contracts in the next two weeks.

Sales of Urbin Coconut Grove, at 3162 Commodore Plaza, will start next. Each project will have fewer than 100 units.

One Sotheby’s International Realty is handling sales, with studios at the Miami Beach location starting at $400,000 and 275 square feet. The multi-bedroom units will have two to four
bedrooms, and up to 1,334 square feet.

In Coconut   Grove, units will range from 331-square-foot studios to 2,352- square-foot six-bedroom condos.

Construction of both projects could begin in November and be completed w ithin 20 to 24 months of breaking ground, Kapoor said. Location Ventures plans to close on a roughly $35
million construction loan for the Miami Beach project, and a roughly $70 million loan for the Coconut Grove development, he added.

Kapoor said he is targeting end-users and investors. The buyers who have so far reserved units at the Miami Beach project have all been investors who plan to participate in the
leaseback program. Buyers in the latter pool will have access to their unit or bedroom for up to 90 nights per year.

Kapoor said Urbin’s goal is to deliver furnished apartments to people who are “spending so much of their income on rent and want another option” in urban centers. The cost of
housing in South Florida has jumped, especially over the past year.

Miami was recently ranked the second most expensive housing market in the U.S., overtaking Los Angeles. A report from RealtyHop found that a household in Miami should expect to
pay $2,653 a month toward homeownership costs, or roughly 81.6 percent of median income.

Condo projects with short-term and long-term rental components have performed well in Miami, including the sold-out YotelPad tower in downtown Miami.

At URBIN, rents for micro studios could begin at $1,900 a month. Bedrooms within co-living units can be rented separately at $1,200 a month, depending on the market when the
project is delivered.

The mixed-use development will offer short-term and long-term rentals, co-working spaces, wellness amenities, retail and a rooftop pool deck with green spaces and lounge areas,
according to a release. The units will be delivered fully furnished

Touzet Studio, led by Carlos Prio-Touzet and Jacqueline Gonzalez-Touzet, is designing Urbin Miami Beach, with interiors and common spaces designed by Meyer Davis. The existing
33,488-square-foot building will be renovated, and Location Ventures plans to build an additional 44,000-square-foot building.

Arquitectonica and Paredes Architects are designing the Coconut Grove project, which is near CocoWalk.

URBIN is a community that provides thoughtfully-designed spaces that blend everyday necessities and luxuries to create a destination for residents to live comfortably and provide
guests a welcome experience. To live, work well at URBIN, residents have access to a wellness center, a market, and a full program of workspace with private and shared offices
alongside a suite of designer-ready residences. Contact us today to learn more. HERE




         previous                                                                                                                                                 next


         Location Ventures launches sales                                                   LOCATION VENTURES LAUNCHES CONDO
         for the first two locations of URBIN                                              SALES FOR URBIN MIXED-USE CONDO, CO-
                                                                                          WORKING LIFESTYLE IN MIAMI BEACH AND
                                                                                                                COCONUT GROVE




                                   Locations                             Contact Us                                    A circular community that provides a
                                                                                                                       responsible, authentic and portable lifestyle
                                   Terms of Use                               305-701-1694
                                                                                                                       created as a home of today and tomorrow.
                                                                              info@urbincondos.com
                                   Privacy Policy
                                                                         Connect With Us                               Developed by
                                   Contact Us
                                              Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 98 of
                                                                                   190




                                                                                           Vision        Miami Beach              Coconut Grove          News            schedule appointment




CONTACT US
URBIN Miami Beach and Coconut Grove are sold out.
Ownership opportunities are limited, contact us to
get on the list to learn more about future locations.


    BUYER OR BROKER


    Miami Beach or Coconut Grove




    How did you hear about us?


Comments




This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




visit a team member at one of our sales Offices today.
Brickell                                               Coral Gables                                       Miami Beach
One Sotheby’s International Realty                     One Sotheby’s International Realty                 One Sotheby’s International Realty
1000 BRICKELL AVE #500                                 1430 S HWY SUITE 110,                              119 WASHTINGTON AVE,
MAIMI,FL 33131                                         CORAL GABLES, FL 33146                             MIAMI BEACH, FL 33139




TELEPHONE                                              EMAIL                                              Hours
305-520-7824                                           info@urbincondos.com                               Monday to sunday 10 am to 6 pm




                                             Locations                                 Contact Us                                 A circular community that provides a
                                                                                                                                  responsible, authentic and portable lifestyle
                                             Terms of Use                                  305-701-1694
                                                                                                                                  created as a home of today and tomorrow.
                                                                                           info@urbincondos.com
                                             Privacy Policy
                                                                                       Connect With Us                            Developed by
                                             Contact Us
                                          Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 99 of
                                                                               190




                                                                                   Vision           Miami Beach             Coconut Grove              News   schedule appointment




TERMS & CONDITIONS
YOUR USE OF THIS WEBSITE (the “Site”) CONSTITUTES ACCEPTANCE OF THE TERMS AND CONDITIONS PROVIDED BELOW (the
“Terms”). These Website Terms of Use (“Terms of Use”) describe the terms pursuant to which URBIN Partners, LLC (referred to in these
Terms of Use as the “Company,” “we,” “us” and “our” or the “developer”) provides you with our website located at www.urbincondos.com
and any of our other websites which display these Terms of Use (collectively, the “Site”). We prepared these Terms of Use to help explain the
terms that apply to your use of the Site. We may modify the Terms of Use as well as discontinue, withdraw, replace or change any content or
services offered via the Site at any time and your continued access and use of the Site thereafter constitutes your acceptance of such
changes. You may view the most up-to-date version of the Terms at any time at www.urbincondos.com.
Notice Regarding Dispute Resolution

These Terms of Use contain provisions that govern how claims you and we may have against each other are resolved (see Section 7 below),
including an agreement and obligation to arbitrate disputes, which will, subject to limited exceptions, require you to submit claims you have
against us to binding arbitration, unless you opt-out in accordance with Section 7(E). Unless you opt-out of arbitration: (A) you will only be
permitted to pursue claims against us on an individual basis, not as part of any class or representative action or proceeding and (B) you will
only be permitted to seek relief (including monetary, injunctive, and declaratory relief) on an individual basis.
Updates to these Terms of Use

We may modify these Terms of Use from time to time. We will notify you of material changes to these Terms of Use by posting the amended
terms on the Site at least thirty (30) days before the effective date of the changes. If you do not agree with the proposed changes, you
should discontinue your use of the Site prior to the time the new Terms of Use take effect. If you continue using the Site after the new terms
take effect, you will be bound by the modified Terms of Use.

Privacy Policy
In connection   with your use of the Site, please review our Privacy Policy, to understand how we use information we collect from you when
you access, visit or use the Site. The Privacy Policy is part of and is governed by these Terms of Use and by agreeing to these Terms of Use,
you agree to be bound by the terms of the Privacy Policy and agree that we may use information collected from you in accordance with its
terms.Affirmative Representations Regarding Your Use of the Site. When you use the Site, you represent that: (A) the information you submit
is truthful and accurate; (B) your use of the Site and your use of services available on the Site do not violate any applicable law or regulation;

and (C) you are of sufficient legal age or otherwise have legal capacity to legally enter into these Terms of Use.
Our Intellectual Property Rights.

To the best of the Company”s knowledge, all of the content on the Site (“Materials”) and the trademarks, service marks, and logos contained
on the Site, are owned by or licensed to us and are subject to copyright and other intellectual property rights under United States and
foreign laws and international conventions. The Site and the Materials are for your information and personal use only and not for commercial
exploitation. We reserve all rights in and to the Site and the Materials. If you download or print a copy of the Materials for your own personal
use, you must retain all trademark, copyright and other proprietary notices contained in and on the Materials. You further agree not to
access the Site by any means other than through the interface that we provide, unless otherwise specifically authorized by us in a separate
written agreement.
Our Management of the Site; User Misconduct A.

Our Right to Manage the Site. We reserve the right, but do not undertake the obligation to: (i) monitor or review the Site for violations of
these Terms of Use and for compliance with our policies; (ii) report to law enforcement authorities and/or take legal action against anyone
who violates these Terms of Use; (iii) manage the Site in a manner designed to protect our and third parties” rights and property or to
facilitate the proper functioning of the Site; (iv) screen our users, or attempt to verify the statements of our users; and/or (v) monitor
disputes between you and other users or to terminate or block you and other users for violating these Terms of Use.
B. Our Right to Terminate Users.

WITHOUT LIMITING ANY OTHER PROVISION OF these Terms of Use, WE RESERVE THE RIGHT TO, IN OUR SOLE DISCRETION, AND
WITHOUT NOTICE OR LIABILITY, DENY ACCESS TO AND USE OF the Site TO ANY PERSON FOR ANY REASON OR FOR NO REASON AT
ALL, INCLUDING WITHOUT LIMITATION FOR BREACH OF ANY REPRESENTATION, WARRANTY OR COVENANT CONTAINED IN these
Terms of Use, OR OF ANY APPLICABLE LAW OR REGULATION.
Third Party Sites. The Site may contain links to other websites. Some of these websites may be owned or operated by third parties (“Third
Party Sites”), and we have not reviewed, and cannot review, all of the material, including goods or services, made available through Third
Party Sites. The availability of these links on the Site does not represent, warrant or imply that we endorse any Third Party Sites or any
materials, opinions, goods or services available on them. Third party materials accessed through or used by means of the Third Party Sites
may also be protected by copyright and other intellectual property laws. Each project is developed by separate real estate development
entities, which may operate separate websites for such projects subject to separate terms and conditions. The Company is not responsible
for any representations made by any such development entities or other third parties. These Terms of Use DO NOT APPLY TO THIRD PARTY
Sites. BEFORE VISITING A THIRD PARTY Site through links or other MEANS provided on or through the Site, you SHOULD REVIEW THE
THIRD PARTY site”S TERMS AND CONDITIONS and PRIVACY POLICY, AND INFORM yourself OF THE REGULATIONS, POLICIES AND
PRACTICES OF THESE THIRD PARTY site.

Legal Disputes and Arbitration Agreement Please Read This Following Clause Carefully ” It May Significantly Affect Your Legal Rights,
Including Your Right to File a Lawsuit in Court

A. Initial Dispute Resolution.

We are available”by email at info@urbincondos.com ”to address any concerns you may have regarding your use of the Site. Most concerns
may be quickly resolved in this manner. Each of you and the Company agree to use best efforts to settle any dispute, claim, question, or
disagreement directly through consultation and good faith negotiations which shall be a precondition to either party initiating a lawsuit or
arbitration.
B. Agreement to Binding Arbitration. If we do not reach     an agreed upon solution within a period of thirty (30) days from the time informal
dispute resolution is pursued pursuant to Section 7(A) above, then either party may initiate binding arbitration. All claims arising out of or
relating to these Terms of Use (including its formation, performance and breach) and/or your use of the Site shall be finally settled by binding
arbitration administered on a confidential basis by the American Arbitration Association (the “AAA”) in accordance with the provisions of the
AAA”s Consumer Arbitration Rules, excluding any rules or procedures governing or permitting class actions. The arbitrator, and not any
federal, state or local court or agency, shall have exclusive authority to resolve all disputes arising out of or relating to the interpretation,
applicability, enforceability or formation of these Terms of Use, including, but not limited to, any claim that all or any part of these Terms of
Use is void or voidable. The arbitrator shall be empowered to grant whatever relief would be available in a court under law or in equity. The
arbitrator”s award shall be binding on the parties and may be entered as a judgment in any court of competent jurisdiction. The
interpretation and enforcement of these Terms of Use shall be subject to the Federal Arbitration Act.
The AAA”s rules governing the arbitration may be accessed at”www.adr.org”or by calling the AAA at 1.800.778.7879. To the extent the filing
fee for the arbitration exceeds the cost of filing a lawsuit, we will pay the additional cost. A request for payment of fees should be submitted
to AAA along with your form for initiating the arbitration, and we will make arrangements to pay all necessary fees directly to AAA. The
arbitration rules also permit you to recover attorney”s fees in certain circumstances. The parties understand that, absent this mandatory
provision, they would have the right to sue in court and have a jury trial. They further understand that, in some instances, the costs of
arbitration could exceed the costs of litigation and the right to discovery may be more limited in arbitration than in court.
C. Class Action and Class Arbitration Waiver.

You and the Company each further agree that any arbitration shall be conducted in your respective individual capacities only and not as a
class action or other representative action, and you and the Company each expressly waive your respective right to file a class action or seek
relief on a class basis. If any court or arbitrator determines that the class action waiver set forth in this paragraph is void or unenforceable for
any reason or that an arbitration can proceed on a class basis, then the arbitration provision set forth above in Section 7(B) shall be deemed
null and void in its entirety and the parties shall be deemed to have not agreed to arbitrate disputes.

D. Exception – Small Claims Court Claims.

Notwithstanding the parties” agreement to resolve all disputes through arbitration, either party may seek relief in a small claims court for
disputes or claims within the scope of that court”s jurisdiction.

E. 30 Day Right to Opt   Out.
                                         Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 100 of
                                                                               190




You have the right to opt-out and not be bound by the arbitration and class action waiver provisions set forth in Sections 7(B), 7(C), and 7(D)
by sending written notice of your decision to opt-out by email to info@urbincondos.com. The notice must be sent within thirty (30) days of
commencing use the Site, otherwise you shall be bound to arbitrate disputes in accordance with the terms of those sections. If you opt-out
of these arbitration provisions, we also will not be bound by them.

F. Exclusive    Venue for Litigation.

To the extent that the arbitration provisions set forth in Section 7(B) do not apply, the parties agree that any litigation between them shall be
filed exclusively in state or federal courts located in Miami, Florida (except for small claims court actions which may be brought in the county
where you reside). The parties expressly consent to exclusive jurisdiction in Miami, Florida for any litigation other than small claims court
actions.

G. Applicable Law.
You agree that federal laws and the laws of the State of Florida, without regard to principles of conflict of laws, will govern these Terms of
Use and any claim or dispute that has arisen or may arise between you and the Company.
Warranty Disclaimers; Limitation on Liability A.

General Disclaimer of Warranties Relating to the Site
(i) ALL Materials OR ITEMS PROVIDED THROUGH the Site ARE PROVIDED “AS IS” AND “AS AVAILABLE,” WITHOUT WARRANTY OR
CONDITIONS OF ANY KIND. BY OPERATING the Site, WE DO NOT REPRESENT OR IMPLY THAT WE ENDORSE ANY MATERIALS OR ITEMS
AVAILABLE ON OR LINKED TO BY the Site, INCLUDING WITHOUT LIMITATION, CONTENT HOSTED ON THIRD PARTY sites, OR THAT WE
BELIEVE these MATERIALS OR ITEMS TO BE ACCURATE, USEFUL OR NON-HARMFUL. WE CANNOT GUARANTEE AND DO NOT PROMISE
ANY SPECIFIC RESULTS FROM USE OF the Site. NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM
US SHALL CREATE ANY WARRANTY NOT EXPRESSLY STATED IN these Terms of Use. YOU AGREE THAT YOUR USE OF The Site WILL BE AT
YOUR SOLE RISK. TO THE FULLEST EXTENT PERMITTED BY LAW, WE AND EACH OF OUR AFFILIATES, ADVERTISERS, LICENSORS,
SUPPLIERS, OFFICERS, DIRECTORS, INVESTORS, EMPLOYEES, AGENTS, SERVICE PROVIDERS, PROJECT DEVELOPMENT ENTITIES AND
OTHER CONTRACTORS DISCLAIM ALL WARRANTIES, EXPRESS OR IMPLIED, IN CONNECTION WITH the Site AND YOUR USE of the SITE.
(ii) NO WARRANTIES OR REPRESENTATIONS ARE MADE ABOUT THE ACCURACY, RELIABILITY, TIMELINESS OR COMPLETENESS OF the
Site”s CONTENT, THE CONTENT OF ANY SERVICE LINKED TO the Site, INFORMATION OR ANY OTHER ITEMS OR MATERIALS ON the Site
OR LINKED TO BY the Site. NEITHER WE NOR ANY OF THE PROJECT DEVELOPMENT ENTITIES OR OTHER AFFILIATES ASSUME NO
LIABILITY OR RESPONSIBILITY FOR ANY (A) ERRORS, MISTAKES OR INACCURACIES OF CONTENT AND MATERIALS, (B) PERSONAL
INJURY OR PROPERTY DAMAGE, OF ANY NATURE WHATSOEVER, RESULTING FROM YOUR ACCESS TO AND USE OF the Site OR
SERVICES, (C) ANY UNAUTHORIZED ACCESS TO OR USE OF OUR SECURE SERVERS AND/OR ANY AND ALL PERSONAL INFORMATION
STORED in our servers, (D) ANY INTERRUPTION OR CESSATION OF TRANSMISSION TO OR FROM the Site, (E) ANY BUGS, VIRUSES,
TROJAN HORSES, OR THE LIKE, WHICH MAY BE TRANSMITTED TO OR THROUGH the Site BY ANY THIRD PARTY, AND/OR (F) ANY
ERRORS OR OMISSIONS IN ANY CONTENT AND MATERIALS OR FOR ANY LOSS OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF
THE USE OF ANY CONTENT POSTED, TRANSMITTED, OR OTHERWISE MADE AVAILABLE through the Site.
C. Limited Liability. IN NO EVENT SHALL THE COMPANY OR ANY COMPANY AFFILIATES BE LIABLE TO YOU OR ANY THIRD PARTY FOR
ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, SPECIAL OR PUNITIVE DAMAGES, INCLUDING LOST PROFIT DAMAGES ARISING FROM
YOUR USE OF the Site, MATERIALS OR ANY OTHER CONTENT provided through the site. NOTWITHSTANDING ANYTHING TO THE
CONTRARY CONTAINED IN These Terms of Use, OUR LIABILITY TO YOU IN RESPECT OF ANY LOSS OR DAMAGE SUFFERED BY YOU AND
ARISING OUT OF OR IN CONNECTION WITH These Terms of Use, WHETHER IN CONTRACT, TORT OR FOR BREACH OF STATUTORY DUTY
OR IN ANY OTHER WAY SHALL NOT EXCEED $50. D. Exceptions to Disclaimers and Liability Limitations. SOME STATES OR JURISDICTIONS
DO NOT ALLOW THE LIMITATION OR EXCLUSION OF CERTAIN WARRANTIES, OR THE EXCLUSION OR LIMITATION OF CERTAIN
DAMAGES. IF YOU RESIDE IN ONE OF THESE STATES OR JURISDICTIONS, THE LIMITATIONS OR EXCLUSIONS in Sections 8(a), 8(B), 8(c)
and 8(D) MAY NOT APPLY TO YOU.
Indemnity.

You agree to indemnify and hold us, our subsidiaries, affiliates, and licensors and their respective officers, agents, partners and employees,
harmless from any loss, liability, claim, or demand, including reasonable attorneys” fees, made by any third party due to or arising out of your
use of the Site or any Materials in violation of these Terms of Use or applicable law.
Independent Contractors. Nothing in these Terms of Use shall be deemed to create an agency, partnership, joint venture, employer-employee
or franchisor-franchisee relationship of any kind between us and any user.
Non-Waiver.

Our failure to exercise or enforce any right or provision of these Terms of Use shall not operate as a waiver of the applicable right or
provision.

Severability.
These Terms of Use operate to the fullest extent permissible by law. If any provision or part of a provision of these Terms of Use is unlawful,
void, or unenforceable, that provision or part of the provision is deemed severable from these Terms of Use and shall not affect the validity
and enforceability of any remaining provisions.

Assignment.
We may assign our rights under these Terms of Use without your approval.
No Modifications by Our Employees. If any of our employees offers to modify the terms of these Terms of Use, he or she is not acting as an
agent for us or speaking on our behalf. You may not rely, and should not act in reliance on, any statement or communication from our
employees or anyone else purporting to act on our behalf.
Contact Information. If you have any questions about these Terms of Use, please contact us at info@urbincondos.com        .




                                         Locations                            Contact Us                                      A circular community that provides a
                                                                                                                              responsible, authentic and portable lifestyle
                                         Terms of Use                             305-701-1694
                                                                                                                              created as a home of today and tomorrow.
                                                                                  info@urbincondos.com
                                         Privacy Policy
                                                                              Connect With Us                                 Developed by
                                         Contact Us
                                   Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 101 of
                                                                         190




                                                                  Vision       Miami Beach        Coconut Grove            News            schedule appointment




    URBIN OFFERS ACCESSIBLE GLOBAL
    MOBILITY THROUGH RESPONSIBLE GREEN
    LIVING AND WORKING IN VIBRANT CENTERS.



the way to live work well



The
Vision
URBIN is designed to address the needs of today’s
residents, fostering creativity and connection through
design-forward residences, an amenity program focused
on wellness, and social programming that fosters
community.

Learn More




LIVE
Extended stay
                                        Work
                                        turnkey workspace
                                                                             well
                                                                             culinary experiences
                                                                                                                    own
                                                                                                                    condo ownership
residences                                                                   and movement center




 Interiors




 Features
 Each suite is thoughtfully-planned
 with designer features, built-in
 furniture and designed to live, work
 and relax.


  studio to Six-bedrooms

  full bathrooms

  designer decorated

  in unit laundry

  energy-star stainless appliances




                                                                                                 Lifestyle




                                                                                                 Experience
                                                                                                 Alongside well-appointed turnkey residences, URBIN will offer
                                                                                                 a robust program including flexible office spaces, lifestyle-
                                                                                                 oriented retail and a wellness space, delivering a truly unique
                                                                                                 experience.
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 102 of
                                                                        190




                                                                                                    valet and onsite parking

                                                                                                    gourmet market and cafe

                                                                                                    housekeeping services

                                                                                                    wellness center




The right place




Two initial locations




           Miami                                                                         COCONUT
           Beach
           Studio to four bedrooms
                                                                                         GROVE
                                                                                         Studio to six bedrooms
           From 279 SF                                                                   from 361 sf




 two initial locations                                              Map      Satellite



 The area
 A perfect location for URBIN, South Florida is
 already attracting the right audience seeking a
 place to live work well. The two initial
 locations for URBIN are located in the heart
 of two vibrant centers placing residents
 within walking distance to notable area
 landmarks, cultural attractions and world-
 class shopping, dining and conveniences.

 Schedule AN appointment
                                                                                                                                                      Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error




                                                                             Limited Ownership opportunities



                                                                             A unique
                                                                             Opportunity
                                                                             This exclusive ownership opportunity at URBIN presents a turnkey
                                                                             experience that truly optimizes the benefits of ownership. With access
                                                                             to the property for 90 nights a year, and a leaseback program, owners
                                                                             have an income generating asset, with the luxuries, services, and
                                                                             amenities of a managed property.
                                               Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 103 of
                                                                                     190




                                                                                                           Schedule your private appointment




       DEVELOPED BY                                                                                                Location Ventures with One Sotheby’s International Realty
                                                                                                                   and a team of renowned architecture and design firms have
                                                                                                                   created the home of tomorrow, today.
       LOCATION VENTURES                                                                                          Learn More




Schedule a
private
presentation
URBIN Miami Beach and Coconut Grove are sold out.

Ownership opportunities are limited, contact us to get
on the list to learn more about future locations.


   BUYER OR BROKER


   Miami Beach or Coconut Grove



                                                                                                                             Contact Us
                                                                                                                                   305-520-7824

                                                                                                                                   info@urbincondos.com


                                                                                                                             Connect With Us

   How did you hear about us?


Comments




This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




                                               Locations                                Contact Us                            A circular community that provides a
                                                                                                                              responsible, authentic and portable lifestyle
                                               Terms of Use                                 305-701-1694
                                                                                                                              created as a home of today and tomorrow.
                                                                                            info@urbincondos.com
                                               Privacy Policy
                                                                                        Connect With Us                       Developed by
                                               Contact Us
                                 Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 104 of
                                                                       190




                                                                    Vision       Miami Beach          Coconut Grove            News            schedule appointment




   LIVE WORK WELL
   IN MIAMI BEACH



  connection



  The
  Experience
  In the heart of a vibrant scene, URBIN will be the new home for the city’s
  tastemakers. Just steps from white sands, whether for work or fun, spend
  time in the local neighborhood, have access to a renowned cultural scene
  and live where the world vacations.

     Schedule an Appointment




                                                                               Living



                                                                               The Best
                                                                               of Both
                                                                               Worlds
                                                                               Ownership at URBIN means flexibility. Live at URBIN as a full-time
                                                                               resident or place the unit into a managed leaseback, where units
                                                                               will earn an annual return as a short term or long term home for
                                                                               sophisticated guests. Whether it’s for a few months or one year,
                                                                               URBIN will manage everything, ensuring benefits that make
                                                                               ownership a truly unique and turnkey experience for everyone.




                                                                               Learn more




AMENITIES




lifestyle
A modern mid-rise with a stunning rooftop
terrace, elevated ocean views and a short walk to
the Atlantic Ocean, URBIN Miami Beach brings
together the true meaning of live work well with
dedicated spaces for work, wellness, culinary
experiences, and entertainment.
   Expansive Roof Deck With Resort-style Pool
   Sun Deck
   Poolside Food and Beverage Service
   Rooftop Lounge, Cafe & Cocktail
   Dining Terrace
   Mail And Package Room
   Expansive Shaded Seating Plaza
   Outdoor Terrace for Engaged Relaxation
   Curated Social Programming
                                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 105 of
                                                                        190




                                                                                                INTERIORS




                                                                                                Living
                                                                                                Designed to address the lifestyle needs of today’s city
                                                                                                dwellers, this limited collection of just 65 two to four
                                                                                                bedroom residences are thoughtfully designed for
                                                                                                convenient, easy living that meets needs for a
                                                                                                comfortable price.

                                                                                                   Studio to Four bedrooms
                                                                                                   Designer Finished and Furnished
                                                                                                   Efficient Layouts
                                                                                                   High-end Fixtures and Appliances
                                                                                                   Balcony with city or partial ocean views
                                                                                                   In-Unit Laundry System
                                                                                                   Utilities included
                                                                                                   Housekeeping services
                                                                                                   Room service at request




                                                                                                            OWNERSHIP OPPORTUNITY
                                                                                                                  schedule your private appointment today to
                                                                                                                  learn about limited ownership opportunities.

                                                                                                                                      Contact Us




the area




miami                                                               Map      Satellite

beach
Made famous for its eclectic mix of beautiful beaches, neon
scenes and lively nightlife, Miami Beach is a location known
around the world. Originally founded in 1915, today’s version
of the city is a vibrant home to travelers and residents alike
with a striking atmosphere, active cultural scene, world-class
shopping and dining and a plethora of services.


Located In The Washington Avenue District

Two Blocks To Famed Miami Beach

Walking Distance To Ocean Drive, Lincoln
Road                                                                                                                                                       Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error



Close to Many Cultural Attractions




                                                                            the team
                                                                            Architecture

                                                                            TOUZET STUDIO

                                                                            Interior Design

                                                                            Meyer Davis
                               Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 106 of
                                                                     190




Schedule a
private
presentation
Inquire today for details about this unique ownership opportunity.

   Schedule an Appointment




                               Locations                      Contact Us                      A circular community that provides a
                                                                                              responsible, authentic and portable lifestyle
                               Terms of Use                          305-701-1694
                                                                                              created as a home of today and tomorrow.
                                                                     info@urbincondos.com
                               Privacy Policy
                                                              Connect With Us                 Developed by
                               Contact Us
                             Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 107 of
                                                                   190




                                                                 Vision        Miami Beach          Coconut Grove            News            schedule appointment




live work well
in Coconut Grove



                                                                connection



                                                                The
                                                                Experience
                                                                Blanketed by tropical greenery, this is the place for outdoor living,
                                                                lush environs and a sail on the bay. A place at URBIN places
                                                                members in the heart of a vibrant community brimming with world-
                                                                class restaurants and neighborhood shops and a hub of growing
                                                                business enterprises that embrace the laid-back style of a
                                                                waterfront lifestyle. To be here, is to truly understand the beauty of
                                                                connecting to all things Florida.

                                                                     Schedule an Appointment




Living



The Best
of Both
Worlds
Ownership at URBIN means flexibility. Live at URBIN as a full-time
resident or place the unit into a managed leaseback, where units
will earn an annual return as a short term or long term home for
sophisticated guests. Whether it’s for a few months or one year,
URBIN will manage everything, ensuring benefits that make
ownership a truly unique and turnkey experience for everyone.


Learn more




                                                                                                   AMENITIES




                                                                                                   lifestyle
                                                                                                   Situated in one of Miami’s oldest neighborhood’s,
                                                                                                   URBIN Coconut Grove is a vibrant place where
                                                                                                   culture lives. Fostering creativity and connection,
                                                                                                   the amenity rich program will focus on wellness
                                                                                                   and social programming focused on community.
                                                                                                       Rooftop Pool and Sundeck
                                                                                                       Relaxation Deck
                                                                                                       Food and Beverage Program
                                                                                                       Dining Terrace
                                                                                                       Mail And Package Room
                                                                                                       Indoor/Outdoor Atrium
                                                                                                       Curated Social Programming
                                                     Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 108 of
                                                                                           190




                  INTERIORS




                  Living
                  This limited collection of studio to six-
                  bedroom residences are thoughtfully
                  planned for as convenient, easy living.
                  Fully-finished and furnished, these
                  designer residences are the epitome of
                  modern luxury in an efficient layout.
                     Studio to Four bedrooms
                     Designer finished and furnished
                     Efficient layouts
                     High-end Fixtures and Appliances
                     Balcony with city or partial ocean views
                     In-Unit Laundry System
                     Utilities included
                     Housekeeping services
                     Room service at request




                                                                                                                                                            OWNERSHIP OPPORTUNITY
                                                                                                                                                                   schedule your private appointment today to
                                                                                                                                                                   learn about limited ownership opportunities.

                                                                                                                                                                                        Contact Us




                                                                                                                                                 the area




                                                                                                                                                 coconut
Map   Satellite                                                                                                                                  grove
                                                                                                                                                 Miami’s oldest neighborhood is a vibrant enclave
                                                                                                                                                 full of distinct charm and some of the city’s most
                                                                                                                                                 discerning attractions. Coconut Grove’s historic
                                                                                                                                                 architecture references its bohemian roots while
                                                                                                                                                 offering a quaint new downtown promenade and
                                                                                                                                                 an enjoyable local nightlife of quality restaurants
                                                                                                                                                 and bars. Along the water, the area features one
                                                                                                                                                 of Miami’s largest marinas and the beautiful
                                                                                                                                                 Peacock Park.


                                                                                                                                                 located in the heart of the neighborhood

                                                                                                                                                 two blocks from famed cocowalk
                                                                Keyboard shortcuts   Map data ©2023 Google   Terms of Use   Report a map error   walking distance to the barnacle

                                                                                                                                                 close to cultural attractions

                                                                                                                                                 near to miami’s largest marina
                  Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 109 of
                                                        190




the team
Architecture

Arquitectonica

Paredes Design

Interior Design

A.M Studio




                                                                Schedule a
                                                                private
                                                                presentation
                                                                Inquire today for details about this unique ownership opportunity.

                                                                   Schedule an Appointment




                  Locations                   Contact Us                           A circular community that provides a
                                                                                   responsible, authentic and portable lifestyle
                  Terms of Use                    305-701-1694
                                                                                   created as a home of today and tomorrow.
                                                  info@urbincondos.com
                  Privacy Policy
                                              Connect With Us                      Developed by
                  Contact Us
                                         Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 110 of
                                                                               190




                                                                                  Vision           Miami Beach             Coconut Grove             News         schedule appointment




PRIVACY POLICY
This Privacy Policy describes how URBIN Partners, LLC collects information when you visit our website located at www.urbincondos.com. and
any of our other websites which display this Privacy Policy (collectively, the “Site”). It also explains how we use and disclose the information
we collect from you, and your rights in relation to that information. By accessing, visiting or using the Site, you expressly consent to our
collection, storage, use and disclosure of your information as described in this Privacy Policy. Please note that if you disagree with anything in
this Privacy Policy, you must not use the Site. This Privacy Policy is part of, and is governed by, the terms and conditions set forth in our
Terms of Service located at www.urbincondos.com.

Information Collected through the Site
A. Information   You Directly and Voluntarily Provide to Us. If you are a visitor to the Site, we may collect information that you provide to us
when you communicate with the Site. You may also choose to provide your name, email address and other information we may request from
you, to us if you would like to additional information about the Company and the work we do.

B. Information  Automatically Collected Through the Site. We may automatically collect information about you when you use the Site. For
example, if you access the Site through a computer, we will automatically collect information such as your browser type and version,
computer and connection information, IP address and standard web log information. If you access the Site through a mobile device, we may
also be able to identify the location of your mobile device. You may choose not to share your location details with us by adjusting your
mobile device’s location services settings. For instructions on changing the relevant settings, please contact your service provider or device
manufacturer.

We may automatically collect information from you when you use the Site using cookies.Cookies are small amounts of data that are stored
within your computer’s Internet browser and are accesssed and recorded by the websites that you visit so that they can recognize the same
browser navigating online at a later time.
Information that may be collected by cookies when you use the Site may include:
the pages you visit within the Site;
the date and time of your visit to the Site;
the amount of time you spend using the Site;
the Internet Protocol (IP) address used to connect your computer to the Internet; and/or your computer and connection information such
as your browser type and version, operating system and platform.

You can set your browser to reject cookies or to notify you when you are sent a cookie. However, if you disable cookies you may not be able
to use certain features of the Site. In addition, your browser may allow you to adjust your browser settings so that “do not track” requests
are sent to the websites that you visit. However, the Company will not disable tracking technology that may be active on the Site in response
to any “do not track” requests that we receive from your browser.

How We Use the Information We Collect

We use the information we gather through the Site in the following ways:
to request feedback and to enable us to better understand how the Site is being used and how it can be improved; to contact and
communicate with you and to respond to your communications and requests about the Site, or about our properties, services, activities and
special events;
for internal and marketing, promotional, and informational purposes; and
for any other purpose for which you specifically provide the information to us.If you provide your email to us, we may email you with
information and updates about the Company that we believe may be of interest to you. If you wish to opt-out of receiving these emails from
us, please follow the instructions contained in each email you receive from us which will allow you to opt-out of receiving further marketing
emails from us.
How We Share Your Information with Third Parties

We do not sell or rent user information we collect through the Site to any unaffiliated third parties for their own marketing purposes. In the
event the Company wants to sell or rent your information to unaffiliated third parties for their own marketing purposes in the future, we will
notify you and you will have an opportunity to affirmatively opt-in to receiving these third party marketing communications. The Company
does share your information with third parties in some circumstances as follows:

A. Employees   and Third-Party Site Providers. We will disclose your information to our employees, contractors, vendors and suppliers
(“Service Providers”) who provide certain services to us or on our behalf, such as operating and supporting the Site, analyzing data, or
performing marketing or consulting services. These Service Providers will only have access to the information needed to perform these
limited functions on our behalf. We may also disclose your information to the affiliated project development entities that are involved in
developing the specific project(s) and our other affiliates for use in connection with providing information to you and otherwise
communicating to you with respect to such projects.

B. Response to Subpoenas      or Court Orders or to Protect Rights and to Comply with Our Policies. To the extent permitted by law, we will
disclose your information to government authorities or third parties if: (i) required to do so by law, or in response to a subpoena or court
order; (ii) we believe in our sole discretion that disclosure is reasonably necessary to protect against fraud, to protect the property or other
rights of us or other users, third parties or the public at large; or (iii) we believe that you have abused the Site by using it to attack other
systems or to gain unauthorized access to any other system, to engage in spamming or otherwise to violate applicable laws or in violation of
our Terms of Service. You should be aware that, following disclosure to any third party, your information may be accessible by others to the
extent permitted or required by applicable law.
C. Business  Transfers; Bankruptcy. In the event of a merger, acquisition, bankruptcy or other sale of all or a portion of our assets, any user
information owned or controlled by us may be one of the assets transferred to third parties. We reserve the right, as part of this type of
transaction, to transfer or assign your information and other information we have collected from users of the Site to third parties. Other
than to the extent ordered by a bankruptcy or other court, the use and disclosure of all transferred user information will be subject to this
Privacy Policy. However, any information you submit or that is collected after this type of transfer may be subject to a new privacy policy
adopted by the successor entity.
D. Aggregate  Information. We may share information relating to users of the Site with affiliated or unaffiliated third parties on an anonymous,
aggregate basis. While this information will not identify you personally, in some instances these third parties may be able to combine this
aggregate information with other data they have about you, or that they receive from third parties, in a manner that allows them to identify
you personally.
Children Under Age 13. The Site is not intended for children under age 13, or for anyone under age 18 or the applicable age of majority
without involvement of a parent or guardian. We do not knowingly collect or distribute personal information from or about children under
the age of 13.

Security
We implement industry standard security measures intended to protect against the loss, misuse and alteration of the information under our
control. Please be aware that no data transmission over the Internet can be guaranteed to be 100% secure. As a result, the Company cannot
guarantee or warrant the security of any information you transmit on or through the Site and you do so at your own risk.

Amendments to this Privacy Policy.
We will notify you of changes to this Privacy Policy by posting the amended terms on the Site at least thirty (30) days before the effective
date of the changes. If you do not agree to the changes, you should discontinue your use of the Site prior to the time the modified privacy
policy takes effect. If you continue using the Site after the modified privacy policy takes effect, you will be bound by the modified privacy
policy.
Use of Information Outside Your Country of Residence.

The Site is directed to users located in the United States. If you are located outside of the United States and you choose to use the Site or
provide your information to us, your information may be transferred to, processed and maintained on servers or databases located in the
United States. Your use of the Site represents your consent and agreement to these practices. If you do not want your information
transferred to or processed or maintained in the United States, you should not use the Site.

Accessing, Changing and Managing Your Information. If you have provided your name and email address to us, you may request that we
remove your name and email address from our database by contacting us at info@urbincondos.com Following receipt of a request from
                                                                                                        .



you, we will take reasonable steps to delete your information as requested.
How How to Contact Us
Please feel free to contact us at info@urbincondos.com if you have any questions about this Privacy Policy.




                                         Locations                            Contact Us                                   A circular community that provides a
                                                                                                                           responsible, authentic and portable lifestyle
                                         Terms of Use                             305-701-1694
                                                                                                                           created as a home of today and tomorrow.
                                                                                  info@urbincondos.com
                                         Privacy Policy
                                                                              Connect With Us                              Developed by
                                         Contact Us
                                             Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 111 of
                                                                                   190




                                                                                           Vision        Miami Beach              Coconut Grove          News            schedule appointment




CONTACT US
URBIN Miami Beach and Coconut Grove are sold out.
Ownership opportunities are limited, contact us to
get on the list to learn more about future locations.


    BUYER OR BROKER


    Miami Beach or Coconut Grove




    How did you hear about us?


Comments




This site is protected by reCAPTCHA and the Google Privacy Policy and Terms of Service apply.




visit a team member at one of our sales Offices today.
Brickell                                               Coral Gables                                       Miami Beach
One Sotheby’s International Realty                     One Sotheby’s International Realty                 One Sotheby’s International Realty
1000 BRICKELL AVE #500                                 1430 S HWY SUITE 110,                              119 WASHTINGTON AVE,
MAIMI,FL 33131                                         CORAL GABLES, FL 33146                             MIAMI BEACH, FL 33139




TELEPHONE                                              EMAIL                                              Hours
305-520-7824                                           info@urbincondos.com                               Monday to sunday 10 am to 6 pm




                                             Locations                                 Contact Us                                 A circular community that provides a
                                                                                                                                  responsible, authentic and portable lifestyle
                                             Terms of Use                                  305-701-1694
                                                                                                                                  created as a home of today and tomorrow.
                                                                                           info@urbincondos.com
                                             Privacy Policy
                                                                                       Connect With Us                            Developed by
                                             Contact Us
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 112 of
                                      190
                                                                             1

  1    THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

  2

  3    In the Matter of:          )

  4                               ) File No: FL-04347-A

  5    LOCATION VENTURES, LLC     )

  6

  7    WITNESS:   Alex Kleyner

  8    PAGES:     1 through 252

  9    PLACE:     Securities and Exchange Commission

 10               801 Brickell Avenue

 11               Miami, FL 33131

 12    DATE:      Wednesday, May 31, 2023

 13

 14        The above entitled matter came on for hearing,

 15    pursuant to notice, at 9:11 A.M.

 16

 17

 18

 19

 20

 21

 22

 23

 24               Diversified Reporting Services, Inc.

 25                           (202) 467-920                      X


        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 113 of
                                      190
                                                                             2

  1    APPEARANCES:

  2

  3    On behalf of the Securities and Exchange Commission:

  4          JORDAN CORTEZ, Esquire

  5          JOHN HOUCHIN, Esquire

  6          RUSSELL O'BRIEN, Esquire

  7          MARK DEE, Accountant

  8          Securities and Exchange Commission

  9          Miami Regional Office

 10          801 Brickell Avenue, Suite 1950

 11          Miami, Fl 33131

 12

 13    On behalf of the Witness:

 14          EDWARD SHOHAT, Esquire

 15          DAVID WEINSTEIN, Esquire

 16          Jones Walker

 17          201 S. Biscayne Blvd., Suite 3000

 18          Miami, FL 33131

 19          (305) 679-5700

 20

 21

 22

 23

 24

 25



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 114 of
                                      190
                                                                             3

  1                         C O N T E N T S

  2

  3    WITNESS:                                       EXAMINATION

  4    Alex Kleyner                                             4

  5

  6    EXHIBITS:       DESCRIPTION                     IDENTIFIED

  7    No. 1 - Supplemental Information Form 1662               6

  8    No. 2 - Subpoena                                         7

  9    No. 3 - Background Questionnaire                        10

 10    No. 4 - 2nd Amendment of LV's Op Agreement             111

 11    No. 5 - Summary                                        152

 12    No. 6 - Op Agreement 1505 Ponce                        185

 13    No. 7 - Global Interest Purchase Agreement             205

 14    No. 8 - Complaint                                      224

 15    No. 9 - Complaint                                      231

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 115 of
                                      190
                                                                             4

  1                      P R O C E E D I N G S

  2               MR. CORTEZ:   We are on the record, at 9:11

  3    A.M. Eastern Standard Time, on May 31, 2023.     We are

  4    located in the offices of the Miami Regional Office, of

  5    the US Securities and Exchange Commission, here in

  6    Miami, Florida.   My name is Jordan Cortez, and I am

  7    Senior Counsel, with the US Securities and Exchange

  8    Commission.   With me is John Houchin, Senior Counsel,

  9    Russell O'Brien, Trial Counsel, and Mark Dee, Senior

 10    Accountant.   We are all members of the staff of the

 11    Enforcement Division, of the Miami Regional Office, of

 12    the Securities and Exchange Commission, and we're

 13    officers of the Commission, for purposes of this

 14    proceeding.

 15               We will swear in the witness, now.

 16               Can you please raise your right hand?

 17    Whereupon,

 18                           ALEX KLEYNER

 19    was called as a witness and, having been first duly

 20    sworn, was examined and testified as follows:

 21                             EXAMINATION

 22               BY MR. CORTEZ:

 23          Q    Will you please state your full name and

 24    spell your name, for the record?

 25          A    Alex Kleyner, A-L-E-X, K-L-E-Y-N-E-R.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 116 of
                                      190
                                                                             5

  1          Q     Mr. Kleyner, are you represented by counsel,

  2    today?

  3          A     I am.

  4                MR. CORTEZ:   Would counsel please identify

  5    yourself and state your full name, your firm's name,

  6    address, and telephone number, please?

  7                MR. SHOHAT:   My name is Edward Robert Shohat,

  8    S-H-O-H-A-T.    I'm with the firm of Jones Walker, LLC.

  9    The address of the firm is 201 South Biscayne

 10    Boulevard, Suite 3000.     My office phone number is (305)

 11    679-5716.

 12                MR. CORTEZ:   Mr. Shohat, are you representing

 13    Mr. Kleyner, as his counsel, today?

 14                MR. SHOHAT:   I am.

 15                MR. CORTEZ:   And do you represent anyone

 16    else, in this investigation?

 17                MR. SHOHAT:   His wife,

 18                MR. CORTEZ:   And with respect to any entities

 19    that Mr. Kleyner or Ms. Ulis either own or control, do

 20    you represent those entities in this investigation?

 21                MR. SHOHAT:   I do not.

 22                BY MR. CORTEZ:

 23          Q     Okay.   This is an investigation, by the

 24    United States Securities and Exchange Commission, in

 25    the matter of Location Ventures, LLC, file number



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 117 of
                                      190
                                                                             6

  1    FL-04347, to determine whether there have been

  2    violations of certain provisions of the Federal

  3    Securities Laws.   However, the facts developed in this

  4    investigation might constitute violations of other

  5    federal, or state civil, or criminal laws. Prior to

  6    opening the record, you were provided with a copy of

  7    the formal order of investigation and the supplemental

  8    order, in this matter.    These documents will be

  9    available for your examination, during the course of

 10    this proceeding. Mr. Kleyner, have you had an

 11    opportunity to review the formal order and the

 12    supplemental order?

 13          A    Yes.

 14                          (SEC Exhibit No. 1 was marked for

 15                          identification.)

 16               BY MR. CORTEZ:

 17          Q    I'm handing you, again, what has been

 18    previously marked as Exhibit One.    Prior to the opening

 19    of the record, you were provided with a copy of the

 20    Commission's Supplemental Information Form 1662.     Have

 21    you had an opportunity to review Exhibit One?

 22          A    Yes.

 23          Q    Do you have any questions concerning the

 24    notice?

 25          A    No.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 118 of
                                      190
                                                                             7

  1          Q     Okay.

  2                          (SEC Exhibit No. 2 was marked for

  3                          identification.)

  4                BY MR. CORTEZ:

  5          Q     Mr. Kleyner, I'm handing you what has been

  6    marked as Exhibit Two.    Please take a moment to review

  7    the document and let me know when you're ready.

  8          A     Okay.   Yeah, I'm ready.

  9          Q     Mr. Kleyner, is this a copy of the subpoena

 10    you're appearing pursuant to here, today?

 11          A     Yes.

 12          Q     I'd like to just briefly go over some of the

 13    procedures for today's testimony.      During your

 14    testimony, I and other officers of the Commission,

 15    present here, may ask a question or a series of

 16    questions.    If you don't understand a question, just

 17    let me know, and I'll try to repeat or rephrase a

 18    question. If you go ahead and answer a question, we'll

 19    assume that you understand the question. As mentioned

 20    prior to going on the record, the court reporter is

 21    taking down everything that we say, but cannot record

 22    head gestures, nods, things of that nature.      So, we ask

 23    that when you respond, respond with an affirmative

 24    response.    Again, if you don't hear a question, just

 25    ask me and I'll repeat it. As mentioned, again, prior



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 119 of
                                      190
                                                                             8

  1    to going on the record, only the staff can authorize

  2    the court reporter to go off the record.     So, any time

  3    you want to take a break, for whatever reason, just let

  4    us know, and we can let the court reporter know we can

  5    go off the record. Also, when we're off the record, we

  6    don't have substantive conversations.     And to the

  7    extent there are any substantive conversations, made

  8    off the record, we'll summarize it once we go back on

  9    the record.   Do you understand?

 10          A    Yes.

 11          Q    You may tell me, at any time, if you like, to

 12    change or modify a previous answer.    At the end of your

 13    testimony, I'll offer you and your counsel an

 14    opportunity to ask any clarifying questions.     You can

 15    add to your statements, at that time, if you so desire.

 16    But in addition, you may tell me, at any time, if you'd

 17    like to change or modify a previous answer.

 18          A    Okay.

 19          Q    During the course of your testimony, today,

 20    we're going to ask you questions about things that

 21    happened or may have happened, in the past.     Obviously,

 22    time has gone by, since those events, and you're likely

 23    to have a better and more complete memory of some

 24    events, than others.    In answering a question about

 25    these events, however, you should tell us about all of



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 120 of
                                      190
                                                                             9

  1    your memories or recollections that are responsive to

  2    the question, not just those that are specific or

  3    perfectly clear or those which you're one hundred

  4    percent sure.

  5          A    Okay.

  6          Q    Do you understand yes?

  7          A    Yes.

  8          Q    Therefore, if you answer, I don't recall, or

  9    I don't remember, I forget, we will assume you have no

 10    memory or recollection, whatsoever, that is responsive

 11    to the questions asked.    Do you understand?

 12          A    Yes.

 13          Q    Okay.   And it may be that reviewing certain

 14    documents refreshes your recollection, as to the events

 15    you're questioned about.    In such a case, we're asking

 16    for your testimony on everything that's responsive to

 17    the question.     Again, not just clear, specific

 18    recollections.     Do you understand?

 19          A    Yes.

 20          Q    Okay.   This next question is a standard

 21    question that we ask every witness.     Are you currently

 22    taking any medication or under the influence of any

 23    substance that would prevent you from testifying

 24    truthfully here, today?

 25          A    No.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 121 of
                                      190
                                                                            10

  1          Q     Okay.   And is there any reason why you cannot

  2    give full and complete testimony, today?

  3          A     No.

  4          Q     Okay.   And do you understand that you are

  5    under oath, for the duration of this testimony session?

  6          A     Yes.

  7          Q     Okay.

  8                          (SEC Exhibit No. 3 was marked for

  9                          identification.)

 10                BY MR. CORTEZ:

 11          Q     Mr. Kleyner, we've handed you a document,

 12    which has been marked as Exhibit Three.     Please, take a

 13    moment to review the document and let us know when

 14    you're ready.

 15          A     Yes, I'm ready.

 16          Q     Mr. Kleyner, do you recognize this document?

 17          A     Yes.

 18          Q     And what is it?

 19          A     It's the background questionnaire that I was

 20    provided.

 21          Q     And you did get a copy of this questionnaire?

 22          A     Yes.

 23          Q     And you had a chance to review the questions,

 24    on the questionnaire?

 25          A     Yes.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 122 of
                                      190
                                                                            11

  1          Q     Okay.   Did you prepare the responses, to the

  2    questions that were listed in this questionnaire?

  3          A     My attorney did, based on the responses I

  4    gave him.

  5          Q     Okay.   And to the best of your knowledge, are

  6    the responses to the questions, in this questionnaire,

  7    true and accurate?

  8          A     There's a -- yes, there's one spelling error

  9    in my -- question number two, any other names I was

 10    known by, there's no E, after D.

 11          Q     Okay.   Thank you. If we could turn to page

 12    two, of the questionnaire, under where it says

 13    "educational history"?

 14          A     Yeah.

 15          Q     It says that you graduated from Pace

 16    University, with a bachelor of marketing, in 2001?

 17          A     Uh-huh.

 18          Q     Besides this degree, do you hold any other

 19    degrees?

 20          A     No.

 21          Q     Do you hold any professional licenses?

 22          A     Not at the time, no.

 23          Q     Did you --

 24          A     I used to have a Series 7 and Series 63, but

 25    they lapsed many, many years ago.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 123 of
                                      190
                                                                            12

  1          Q     Okay.   And with the Series 7 and Series 63,

  2    do you remember when you obtained those licenses?

  3          A     2000 -- approximately, 2001, I would say.

  4          Q     So, right after you graduated --

  5          A     Yep.

  6          Q     -- from Pace University?

  7          A     Yep.

  8          Q     And do you recall how long you held those

  9    licenses?

 10          A     I think it lapsed, again, approximately,

 11    maybe 2015 or 2016, somewhere in that kind of ballpark.

 12          Q     Okay.   And staying on page two, under the

 13    heading prior to educational history, where it says

 14    "privately held companies", question 10 asks, "are you

 15    now or have you ever been a beneficial owner, directly

 16    or indirectly, of any privately held company, ie

 17    corporation, partnership, limited liability, company,

 18    or other corporate form?" And your response is "yes."

 19    Can you tell us which company or companies you are a

 20    beneficial owner of or have been?

 21          A     Sure.   I'm an owner -- partial owner, I have

 22    partners, and CO of a company called National Debt

 23    Relief.   And I am an owner, but don't have an active

 24    role, in a company called Reach Financial.

 25          Q     Reach Financial?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 124 of
                                      190
                                                                            13

  1          A     Reach Financial.

  2          Q     And question 11 asks a similar question, in

  3    terms of if you've ever been a manager or member of a

  4    privately held company.      And your response is "yes."

  5          A     Uh-huh.   Yes.

  6          Q     National Debt Relief and Reach Financial, are

  7    those the companies which you have been or are a

  8    managing member?

  9          A     So, I'm a member in both.    I've had, over my

 10    career, a number of different entities.      But none were

 11    real of any significance, as far as like revenues or

 12    anything like that, but there's been a number of LLCs

 13    that I was involved in.

 14          Q     Okay.   Can you walk us through sort of

 15    your -- for lack of better term, employment history, or

 16    entrepreneurial endeavors, you know, since you -- since

 17    the time you graduated from Pace, until the present?

 18          A     Sure.   So, when I finished college, I got my

 19    7 and, I believe it's 63, it might be 55, it's one of

 20    those two.    7 was the main license. I got a job, as a

 21    proprietary day trader. Basically, I got a job in a day

 22    trading firm. Then, I started a business.      That was

 23    2001.     I started the business, called Aqualux, which

 24    imported home improvement goods, out of China, and

 25    wholesaled them in New York, specifically, Brooklyn,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 125 of
                                      190
                                                                            14

  1    New York. Then, I had a business that imported axis

  2    control systems, from Germany, into Russia.       The

  3    company was called Simon's Boss. Then, I started Leanna

  4    Group, which evolved to become Eagle One Debt

  5    Solutions, which evolved to be become National Debt

  6    Relief, which is now my kind of day job, you call it.

  7    And, then, in 2000 -- this was around 2009, 2010, when

  8    that was started.   And around 2015, '16, we started the

  9    company, called Liberty Lending, which we then

 10    rebranded as Reach Financial. Along the way, I had some

 11    smaller kind of side investments, into different

 12    things, but these are kind of the main things that

 13    actually occupied my time, I would say.

 14          Q    Okay.   So, prior to starting the different

 15    businesses and the one that sort of now is National

 16    Debt Relief, you said you were a proprietary trader?

 17          A    Yes.

 18          Q    And for who?

 19          A    So, it was a day trading firm.      My first one,

 20    in 2001, was called Lions Group.       We didn't manage

 21    anybody's money.    It was basically the firm gave us

 22    capital, to execute into day trades.       It was their own

 23    capital.   I put up $500.    That was the most I ever put

 24    up, out of my own pocket.     And --

 25               MR. CORTEZ:    Hold on.   Let's pause, right



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 126 of
                                      190
                                                                            15

  1    there, since we're still on the record.        We just want

  2    to note that David Weinstein has joined the testimony.

  3               David, nice to meet you.

  4               MR. WEINSTEIN:    Nice to meet you, too.

  5               MR. CORTEZ:    I'm Jordan Cortez.     These are my

  6    colleagues, John Houchin, Russell O'Brien, and behind

  7    you, Mark Dee.

  8               MR. CORTEZ:    In going back to our previous

  9    question and we'll continue.      Mr. Kleyner, does David

 10    Weinstein represent you, as counsel, today?

 11               THE WITNESS:    Yes.

 12               MR. CORTEZ:    And, Mr. Weinstein, if you can

 13    confirm that you represent Mr. Kleyner as counsel here,

 14    today, in this matter?

 15               MR. WEINSTEIN:    That's correct, along with

 16    Mr. Shohat, from Jones Walker.

 17               MR. CORTEZ:    Okay.   Thank you.

 18               BY MR. CORTEZ:

 19          Q    So, I think before Mr. Weinstein walked into

 20    the room, you were discussing some of the proprietary

 21    trading that you did.     And I'll let you continue from

 22    there.

 23          A    Sure.   So, basically the business model, for

 24    those companies, were they hire, you know, guys like

 25    myself.   We have to get licensed.     They would sponsor



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 127 of
                                      190
                                                                            16

  1    us for the license.    I brought in just 500 bucks, to

  2    start. And they give you leverage, on that money.     They

  3    put risk parameters, in place.    They teach you

  4    different trading strategies.    No overnight positions.

  5    No outside invested capital.    No selling stocks,

  6    nothing like that. And, basically, you try to get some,

  7    you know, buy it $10.15 and sell the stock for $10.22,

  8    and try to make seven cents, on a thousand shares.       We

  9    did multiple trades a day. The business model was every

 10    time we execute a trade, we pay the, you know, the

 11    company commissions, for the execution of the trade.

 12    If you lose money, you basically get fired.     If you

 13    make money, you get a hundred percent of the profits.

 14    So, I would say overwhelming majority of the people

 15    that started with me got fired, along the way.     I was

 16    fortunate enough, I was pretty good with numbers.     My

 17    mom was a math teacher. So, I did pretty well in day

 18    trading.   So, that was kind of my first real job, out

 19    of college.   There was no salary.    It was kind of you

 20    eat what you kill, kind of a job, right?     So, that's

 21    what I did. My first company was Lions Group, and that

 22    was at 39 Broadway, in New York.     Then, we moved to 55

 23    Broad. Then, I got a job with -- oh, my God.     I forget

 24    the company's name.    I was there for just a few months.

 25    Sorry, I don't remember the company name.     It's been



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 128 of
                                      190
                                                                            17

  1    over 20 years.     Then -- I was with them a few months.

  2    Then, I moved to a company, called Dimension Capital.

  3    I was there for a while.    Then, in 2009, 2010, I

  4    started what now became National Debt Relief, and I

  5    kind of faded out day trading and focused on National

  6    Debt Relief, primarily.

  7          Q    So, is it fair to say from when you graduated

  8    Pace, in 2001, to approximately 2009, these different

  9    companies, you were --

 10          A    It was all day trading.

 11          Q    It was day trading?

 12          A    Yes.    Again, no outside capital, no

 13    investors, no selling stock; it was all intraday -- you

 14    know.

 15          Q    So, with each company, it was all intraday

 16    trading?

 17          A    It was exactly the same.    The difference in

 18    companies was how much they charge you, in commissions.

 19    Everything else was exactly the same.

 20          Q    Okay.   Then, in 2009, you transitioned when

 21    you started your first company; is that correct?

 22          A    I just started doing both.    So, I was -- I

 23    started my company, while still day trading, because

 24    day trading gave me flexibility.     I can do it on any

 25    laptop, anywhere in the world, really.     So, I didn't



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 129 of
                                      190
                                                                            18

  1    have to be in the office.    I didn't have to technically

  2    show up to work, because I guess you trade, you make

  3    money, you get it.   You don't trade, you -- nothing

  4    happens, right? Like --

  5          Q    In that entire time, in terms of

  6    compensation, you never received a salary?

  7          A    No.

  8          Q    It was all commission based?

  9          A    It was all profit based.     There was no

 10    commissions, really.    There was no commissions because

 11    we had no clients.   I was technically a client of the

 12    firm, because they gave me some money to trade with.

 13    Every trade I put in, whether it was profitable or not,

 14    I paid them a commission, for the execution of the

 15    trade.    I used their technology.    I used their system.

 16    I used their money, technically.      And you do a profit

 17    and I got then paid at the end of the month.      If there

 18    was no profits, then either you get fired, or if

 19    there's no profits, but you generated enough to pay

 20    them enough commissions, then you get to live another

 21    month, basically.

 22          Q    Generally speaking, do you recall what kinds

 23    of securities you were trading?      Was it --

 24          A    It was all New York Stock Exchange listed

 25    stocks. Yeah, it was all New York Stock Exchange, but



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 130 of
                                      190
                                                                            19

  1    we had access to NASDAQ.    I just didn't particularly

  2    trade anything on NASDAQ.    It was all New York Stock

  3    Exchange.

  4          Q     Okay.   Can you tell us about National Debt

  5    Relief?   I know there was a few prior iterations, but

  6    if just sort of walk us through when you started the

  7    company and sort of its progression to today?

  8          A     Sure.   So, in around late -- mid to late

  9    2009, I had some money because of my day trading, you

 10    know, it was volatile years.    '07, '08, '09 were kind

 11    of my better years, from a profit standpoint.       So,

 12    again, my mom did a math teacher.     I did pretty good.

 13    Not spending a hundred percent of what I made.       So, I

 14    had some money saved up.    I was looking to start a

 15    business. I looked at a couple different things.

 16    Somebody randomly mentioned debt settlement to me.        I

 17    looked at that space.    It was horrendous.     There were

 18    no regulations.     There were no rules.    The consumers

 19    were not really being truly, truly helped, so that

 20    really turned me off from the space.       I took a second

 21    look at the space when laws got announced, actually FDC

 22    made the rules, with the CAPB enforcement, and actually

 23    Joe Biden was the one that announced that law.       That --

 24    the law is called TSR, Telemarketing Sales Rule.       It

 25    basically calls for, number one, truth in advertising.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 131 of
                                      190
                                                                            20

  1    So, you can't say, you know, say government bail out,

  2    some nonsense, right?    You must substantiate

  3    performance claims.    You can't keep any of the consumer

  4    deposits.   It has to be in the FDIC insured, special

  5    purpose account, kind of like an escrow account the

  6    consumer controls.    And the most important thing, the

  7    industry became fully contingency based.     So, no

  8    upfront fees, no monthly fees, no maintenance fees. The

  9    only fee the company charges is if we negotiate, on

 10    behalf of a consumer, with the creditors, that they owe

 11    money to, reach a settlement agreement, with the

 12    creditor, on behalf of a consumer, present that

 13    settlement to the consumer.    Consumer must approve the

 14    settlement.   Consumer must authorize that special

 15    purpose account company to release the funds, to the

 16    creditor, under the, you know, under the settlement

 17    that was reached.    And only after all of that happens,

 18    we allowed to charge a fee for our service, which is

 19    different than the old world of that settlement.

 20    Consumer signs up for the program, and the company

 21    starts taking fees, up front, before any value was

 22    delivered to the clients. So, I really got into the

 23    industry when the laws came out.    They came out in

 24    October, 2010.   So, by the time we opened an entity, we

 25    knew the laws were coming, so we really got into the



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 132 of
                                      190
                                                                            21

  1    space late 2009, mid 2010, but really, as far as I'm

  2    concerned, my company was really born on October 27,

  3    2010, when the laws took effect. Over 90 percent of

  4    companies went out of business, just left the business,

  5    because the business model completely changed and

  6    became really cash intensive now, because you have to

  7    make the investment into marketing and sales, and

  8    servicing, of the clients, in order to generate any

  9    kind of fees, from these clients.    It takes months and

 10    months, before we start seeing any cash flows, from our

 11    consumers.   Where, you know, previous industry, you

 12    sign up a client, you start taking fees.      So, it was

 13    much easier on the cash flow, for those guys.      So,

 14    those guys left.   I kind of came in.    We started the

 15    company.   It was myself and partner. It was privately

 16    owned, self-funded.    We grew organically, over the

 17    years.    And, I mean, the rest is history.    Now, we're

 18    one of the top three largest companies; depends which

 19    one of those three you ask. And still private company.

 20    Still following exactly the same laws and rules.

 21    Licensed in every state that requires a license.      You

 22    know, we go through annual audits/reviews, by the state

 23    regulators, and we have enforcements.

 24          Q    So, when you started the National Debt

 25    Relief, and I'll just use that, the current name of it.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 133 of
                                      190
                                                                            22

  1          A    Yes.

  2          Q    I know there was previous names.    You started

  3    in New York?

  4          A    Yes, 11 Broadway.

  5          Q    Was it a New York based company or LLC, or at

  6    the time --

  7          A    It was a New York, LLC, I believe.

  8          Q    Is it still that today?

  9          A    Yeah.

 10          Q    Okay.

 11          A    We don't have any customers walk in.    There's

 12    no face-to-face interactions.    It's all done over phone

 13    or internet or digital.

 14          Q    Okay.   And you mentioned at the time it

 15    started were you only operating out of the state of New

 16    York, in terms of working with consumers?

 17          A    At the location?

 18          Q    No, in terms of your consumers?

 19          A    No.    So, in that settlement industry, there

 20    are -- every state has either has no debt settlement

 21    specific rule, so you can do business in that state, as

 22    long as you register with the state that you're doing

 23    business in the state.    Some states have -- call it a

 24    simpler registration requirements, in order to do

 25    business in the state.    Some states have a more complex



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 134 of
                                      190
                                                                            23

  1    requirements, like for example, two years of audited

  2    financials, finger prints for the owners, background

  3    checks, and things like that.    So, when we started, we

  4    started in the states where you can just start in.     And

  5    as the company grew, we added additional states, got

  6    the required licenses, in order to enter those states.

  7    Then, evolved to, you know, again, what I call more

  8    complicated requirements.    Again, you needed at least

  9    two years of existence, in order to even enter certain

 10    states and so on. Fast forward to today, we're -- it's

 11    a state by state analysis, by our compliance law firm,

 12    and the tell us which states we need to maintain

 13    licenses, what kind of licenses, what are the bonds

 14    required, and so on and so forth.

 15          Q    And, currently, how many states are you in

 16    today?

 17          A    It's -- so we -- in over 40 states, I

 18    believe, at this time; mid 40s, maybe.

 19          Q    Okay.   And, today, does National Debt Relief

 20    have employees that report to you or that work at the

 21    company?

 22          A    Of course.

 23          Q    How many employees?

 24          A    So, we have over 2,000 employees now; maybe

 25    2,500 or something like that.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 135 of
                                      190
                                                                            24

  1          Q     Are they based in New York or are they spread

  2    out --

  3          A     So, we used to -- sorry.   So, we used to be,

  4    before Covid, we had an office in New York City.      It

  5    used to be at 11 Broadway, then we moved to 180 Meadow

  6    Lane.     We had an office in Culver City, California.     We

  7    had an office in Henderson, Nevada.     And we had some

  8    support functions that were done out of Philippines.

  9    All consumer face and communication was US based. When

 10    Covid hit, we were forced to go remote.     And we evolved

 11    from a company that now is permanently remote.     So, we

 12    closed the California office.    We closed our Henderson,

 13    Nevada office.    I'm trying to sublease my New York

 14    office.    If SEC wants to expand to 180 Meadow Lane, I

 15    have a good deal for you.    And we went permanent

 16    remote.    And while New York City office is open and

 17    people are welcome to come, barely anybody shows up.

 18          Q     Fair to say that employees are working

 19    remote, from their homes or whatnot?

 20          A     Yes, 99 percent of our company works remote.

 21          Q     And in terms of the types of, you know,

 22    credit solutions you provide to your consumer/clients,

 23    can you sort of tell us about that?

 24          A     So, our primary service of National Debt

 25    Relief is debt negotiations.    So, any consumer that



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 136 of
                                      190
                                                                            25

  1    owes money on the credit card, and can't afford to pay

  2    it, the credit card company either hires a collection

  3    agency, to collect from the consumer, or eventually

  4    sells the debt to a debt buyer, who now takes ownership

  5    of the debt, and they try to collect from the consumer.

  6    I'm on the consumer side of things.    So, basically, the

  7    consumer comes to us.    We have underwriting criteria.

  8    The consumer must have income.    They must afford to

  9    make a certain monthly deposit, into that special

 10    purpose account that I mentioned.    They must only have

 11    the type of debts that we actually have history of

 12    settling, that we can help them with.     And, basically,

 13    the way the process works, we don't do any cold

 14    calling.   It's all inbound marketing.    We advertise

 15    online and TV, and e-mail marketing, that kind of

 16    stuff. Any consumer that calls in or submits a form for

 17    us to call them back, will speak to a sales agent, who

 18    will go through the consumer's budget, hardship,

 19    analysis, who they owe, how much they owe, are they

 20    current, are they delinquent.    We then see if that

 21    consumer fits into a criteria of somebody we can

 22    actually help.   If they do not, we refer them -- we

 23    either give them some advice what they can do, or we

 24    defer them to nonprofit counseling companies, which is

 25    an alternative product for a consumer, not one we offer



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 137 of
                                      190
                                                                            26

  1    inhouse. Any consumer that, you know, is qualified, we

  2    put them through underwriting.    We then come back and

  3    say, okay, you owe 30,000 in debt.    We estimate that,

  4    you know, based on your credit, we can settle it for,

  5    say 50 cents on the dollar.    Our fees are roughly 21

  6    percent. So, you need -- keep the numbers simple, say

  7    $21,000. Based on your budget, you can afford, you

  8    know, 700 bucks a month.    So, approximately, it's about

  9    30 months. Consumer, if they agree, they sign a

 10    contract.    They get tons of disclosures, both kind of

 11    company disclosures and industry association requires

 12    us to give certain disclosures, to the clients. They

 13    make a monthly deposit, into that special purpose

 14    account.    We get visibility into how much money is

 15    available there.    Client, at any time, can take that

 16    money out.   It's totally in their control.    Based on

 17    how much money is available, we start reaching out to

 18    creditors, to negotiate settlements for the consumers.

 19    As a settlement is negotiated, again, like the process

 20    I mentioned before, we have to present it to the

 21    client, they have to review it.    They have to approve

 22    it.   They have to authorize the payments, under the new

 23    settlement terms.   Once that happens, we earn that fee

 24    for that one account that we settled.     Then, we repeat

 25    that process for the second account, third account,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 138 of
                                      190
                                                                            27

  1    fourth account, and so on.    Average, on our client,

  2    they have between five and six different credit cards.

  3    And that's really the -- I mean I simplified this.

  4    This is a very complex process, especially for our

  5    clients, it's -- but, you know, for interest of time,

  6    I'm simplifying it.

  7          Q    Thank you.   We appreciate it.   We're just

  8    trying to understand a little bit about your business.

  9    With respect to the debt relief that you, you know,

 10    negotiate, on behalf of your clients or consumers, is

 11    it just credit card debt or are there other forms of

 12    debt that you also will negotiate?

 13          A    It's overwhelming credit card debt, but we

 14    also -- anything unsecured, technically, we can

 15    negotiate. So, it's credit card debt -- overwhelmingly,

 16    it's credit card debt.    It's personal installment

 17    loans, a little bit of medical bills, but that's

 18    really -- but it's overwhelming credit card debt.

 19          Q    Okay.   And I think you mentioned earlier that

 20    at least when you started National Debt Relief, you

 21    started it with a partner?

 22          A    Uh-huh.

 23          Q    Who is the partner?

 24          A    Daniel Tilipman.

 25          Q    Is he still your partner?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 139 of
                                      190
                                                                            28

  1          A     Yes.

  2          Q     Okay.   Are there any other partners, besides

  3    Daniel, that are involved in the business?

  4          A     Yeah, we have a silent partner.        So, Daniel

  5    and myself are active operators of the business.          And,

  6    then, we have a silent partner, who owns 20 percent of

  7    the business, who is not really involved in day-to-day

  8    operations.

  9          Q     And who is that?

 10          A     His name is Tom Ledeker.      Him and Danny were

 11    kind of partners, in a -- before National Debt Relief,

 12    so they kind of came together, basically.          So, it was

 13    three of us, just Tom was just not involved in the

 14    business.

 15          Q     And you're the CEO of National Debt Relief,

 16    correct?

 17          A     Yes, uh-huh.

 18          Q     And what is Daniel's position?

 19          A     So, Daniel was the president of National Debt

 20    Relief, up until a few months ago.        And he

 21    transitioned, now, to be COO of Reach Financial, the

 22    other company I mentioned, but he's still very actively

 23    involved, in National Debt Relief.

 24          Q     Okay.   And I believe -- I think you mentioned

 25    that you are married.      Your wife is                 is that



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 140 of
                                      190
                                                                            29

  1    correct?

  2          A     Yes.

  3          Q     Is she involved in the business?

  4          A     No.

  5          Q     You mentioned Reach Financial?

  6          A     Uh-huh.

  7          Q     Can you tell us about that business?

  8          A     Sure.   So, it's an alternative product for

  9    consumers to get out of debt.    So, instead of debt

 10    settlements, where consumers are delinquent, and that's

 11    why we're able to get them the settlements that we can

 12    get them.    Reach Financial offers consolidation loans,

 13    so a consumer, who is not delinquent, but is struggling

 14    with five or six different minimum payments, different

 15    dates, different interest rates, and they're looking

 16    just, you know -- we underwrite them.     We give them a

 17    loan.     The proceeds go to pay off their creditors.   We

 18    don't give consumers just money, to spend on vacation.

 19    And, then, instead of making five or six minimum

 20    payments, five or six different dates, five or six

 21    different interest rates, they have a fixed payment,

 22    fixed term, to repay Reach Financial.

 23          Q     Essentially, Reach Financial is providing

 24    installment loans, to consumers, to pay off -- to

 25    consolidate their credit card date?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 141 of
                                      190
                                                                            30

  1          A    Yes, it's unsecured personal loans,

  2    installment loans, sure.

  3          Q    Okay.   And Reach Financial was a business

  4    that was more recently created than --

  5          A    It was started maybe 2015, '16, I would say.

  6          Q    Okay.   Does reach Financial share the same

  7    employees as National Debt Relief or are they separate

  8    employees?

  9          A    Reach Financial has its own -- has its own

 10    set of employees.   There are a handful that we tap

 11    into, for just expertise, between the companies, but

 12    really it's two separate operations.

 13          Q    Is it similar in terms of consumer facing

 14    either online or over the phone, similar to National

 15    Debt Relief?

 16          A    Yes, from that standpoint, it's similar, yes.

 17          Q    Okay.

 18          A    Reach Financial is a lot more kind of

 19    digital, where consumers go online and it's more of a

 20    digital experience, where National Debt Relief there's

 21    a lot more explaining, to the consumer, how the process

 22    works and so forth.

 23          Q    In terms of the states that Reach Financial

 24    operates in, is it the same 40-plus states as --

 25          A    It's not the same.   Reach Financial has its



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 142 of
                                      190
                                                                            31

  1    own set of kind of compliance guidelines.     So, it's

  2    also state by state licensing, state by state analysis,

  3    which states require, which states don't require, which

  4    states require which specific license, and so on. So,

  5    Reach Financial is in -- like I said, I'm not as

  6    involved in the business.    I would say it's -- don't

  7    quote me on this, but it's between 30s and 40s also

  8    states, but it's not the exact match of the states.

  9          Q    Okay.

 10          A    There's definitely multiple states where

 11    National Debt Relief can do business and Reach does

 12    not, and the other way around.

 13          Q    And I think you mentioned Daniel is -- he's

 14    more involved in overseeing the day-to-day operations

 15    of Reach Financial?

 16          A    He's now the COO, officially the COO, of

 17    Reach Financial.

 18          Q    And you're less involved, but what is your

 19    involvement in Reach Financial?

 20          A    I'm a, you know, member.   I'm an owner, of a

 21    part of the company.    And I talk to Daniel 18 times a

 22    day, just about everything, right?    Like -- so it's

 23    very tricky to distinguish.    I talk to him about

 24    National Debt Relief.    He'll talk to me about Reach

 25    Financial. But, really, just as a sounding board, or a



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 143 of
                                      190
                                                                            32

  1    third partner, to some extent.     But, really, if you

  2    talk about responsibilities, I'm the COO of one and

  3    he's the COO of the other.     But, again, it's like we

  4    have two babies and we're raising them together, to

  5    some extent.    So, we talk about just different stuff.

  6          Q     So, going back to Exhibit Three, the

  7    background questionnaire, third page, under "employment

  8    history", question 18 --

  9          A     Uh-huh.

 10          Q     -- asks a question about your employment

 11    activities.    I know you mentioned COO of National Debt

 12    Relief and a day trader. Since you've sort of ended

 13    your employment, I think you said, approximately in

 14    2009, being a day trader --

 15          A     2014, '15, I think.

 16          Q     I'm sorry.   Excuse me.

 17          A     I started this is 2009, 2010, yeah.

 18          Q     Excuse me, 2014, 2015.    Do you trade,

 19    personally, on behalf of yourself or others, in

 20    securities?

 21          A     I don't trade on behalf of others.    I never

 22    had have.    Personally, I have like a portfolio with JP

 23    Morgan.   I have an investment advisor, a JP Morgan

 24    investment advisor.      I do one off trades, on my own,

 25    but really everything goes through JP Morgan, with



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 144 of
                                      190
                                                                            33

  1    their advice and oversight, and that kind of stuff.

  2          Q    Okay.   Do you -- if you can describe sort of

  3    how that portfolio is set up, in terms of what types of

  4    securities --

  5          A    It's the most boring, diversified stuff, you

  6    can think of.   There's some stocks.   There's some

  7    bonds. There's some private equity.    It's the cookie

  8    cutter JP Morgan portfolio allocation that you can get.

  9          Q    So, I mean, in terms of sort of an overall

 10    investment strategy, it's just -- how would you

 11    describe it?

 12          A    It's -- again, it's diversified.    Again, it's

 13    stocks.   It's some bonds, some private equity funds,

 14    that it's going to take me ten years, before the money

 15    starts coming back.    So, it's really -- we don't have

 16    one specific -- we don't concentrate on a sector.     We

 17    don't concentrate on a specific strategy.     It's really,

 18    like I said, it's your cookie cutter, wealth

 19    management, diversified portfolio.

 20          Q    Okay.   Would you consider those investments

 21    sort of to be more like long term?

 22          A    Yeah, absolutely.

 23          Q    Like you're not looking to get -- as a day

 24    trader -- in and out -- you're not looking to get in

 25    and out of positions?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 145 of
                                      190
                                                                            34

  1          A    No, I haven't done a trade like that in --

  2    whatever it is, eight years or something like that.

  3          Q    Approximately, how long have you had that JP

  4    Morgan investment advisor account?

  5          A    We're in 2023?   I would say between five and

  6    seven years, something like that.

  7          Q    Okay.   And turning to the real estate market,

  8    do you invest in the real estate market?

  9          A    Some, yes.

 10          Q    Okay.   When did you start investing in real

 11    estate?

 12          A    Outside of personal residences, which is not

 13    really an investment, I assume.

 14          Q    Correct.

 15          A    So, the first investment we made, in real

 16    estate, would be in -- around 2020.

 17          Q    Okay.   And how did you sort of get involved,

 18    in 2020, investing in real estate?

 19          A    We came to Miami for spring break, in 2020,

 20    and kind of got stuck with Covid, in Miami.     So, while

 21    we were here, the state seemed to be open, while New

 22    York was kind of shut down.    So, I had a friend, who

 23    works at Colliers, and his name is Dimitri Levkov, and

 24    his job with Colliers, he gets hired by developers, to

 25    find them financing.    So, I asked him if there are any



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 146 of
                                      190
                                                                            35

  1    interesting investments that he's currently looking at.

  2    And he showed us a couple of kind of projects that he

  3    was raising money for.    And we meet -- this was our

  4    first kind of investments into real estate.     Through

  5    Dimitri/Colliers introductions, we invested into a

  6    couple of real estate projects, as just LPs, just kind

  7    of, you know, LP investors.

  8          Q     And at the time, what sort of sparked your

  9    interest in, you know, investing in or looking to

 10    invest, I should say, into real estate projects?

 11          A     Like I mentioned, we kind of have a pretty

 12    diversified -- mindset was pretty diversified, and we

 13    had almost no exposure to real estate, going into

 14    that -- around that time, 2020.    So, we were interested

 15    in learning about it and investing, to just really get

 16    a feel for it.    But we wanted to do it somewhat

 17    locally, so we can actually keep an eye on things, I

 18    guess, to some extent.    So, that really peeked our

 19    interest.

 20          Q     And at that time, you mentioned spring break,

 21    2020; was that March, April, 2020?

 22          A     So, we came to Miami, March, mid March, 2020.

 23          Q     So, right before the country shut down?

 24          A     Right as.   We came the day after MBA shut

 25    down. So, right after the country shut down, and my



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 147 of
                                      190
                                                                            36

  1    company, we went remote, the same time, that weekend.

  2    So, it was a big weekend, in my life.

  3          Q     And you mentioned your friend, Dimitri worked

  4    at Collier.    What information, at that time, did he

  5    provide you, in terms of either the real estate market,

  6    in Miami, or specific -- was it more specific projects,

  7    like real estate development projects?

  8          A     He gave us just an overview, just a very high

  9    level overview.     You know, he said they look at tons --

 10    they get approached by developers to raise money for

 11    them.     They look at tons and tons of different

 12    projects, that they pass on.    Some are more

 13    interesting, less interesting, and so on.     So, I told

 14    him I'm interested in something somewhat local.     So, he

 15    showed me a couple of projects and, you know, we met

 16    the developers, we saw their previous experience, that

 17    was a requirement for us, and we made a couple of

 18    investments, based on that.

 19          Q     And in terms of the high level information

 20    that Dimitri provided, was it certain types of real

 21    estate? In other words, was is it residential real

 22    estate, was it commercial?

 23          A     It was all residential.

 24          Q     Okay.   And with residential, was it single

 25    family homes, was it condos, mixed-use?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 148 of
                                      190
                                                                            37

  1          A    So, it was -- so, one of the projects we

  2    invested in is in Palm Bay.    It was a ground up,

  3    multi-family, like I think it's like a two-floor rental

  4    project.   They completed one right across the street

  5    and this was their second one.     So, that kind of

  6    appealed to us, that experience that's literally right

  7    across the street. So, we kind of liked that. The

  8    second one we invested in are town homes, in Coral

  9    Gables, same concept.    They completed town homes, right

 10    across the street.   They completed the building, across

 11    the street, and now they were, you know, they owned the

 12    piece of land, right kind of next to those two

 13    projects, and now they were developing 15 town homes,

 14    so we made an investment into that, as well.

 15          Q    So, those were the initial two investments

 16    you made --

 17          A    Yes.

 18          Q    -- the one in Palm Bay and the town homes, in

 19    Coral Gables?

 20          A    Yes;

 21          Q    Same developer for each?

 22          A    Different developers.

 23          Q    And who were those developers?

 24          A    So, Coral Gables is MG Development.    Palm

 25    Bay -- sorry, I don't remember.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 149 of
                                      190
                                                                            38

  1          Q    But these were, at the time, clients of

  2    Collier that --

  3          A    Yes.

  4          Q    -- and Dimitri, correct?

  5          A    Yes.

  6          Q    And just, again, sort of high level, for us,

  7    here today, can you explain how the investment worked,

  8    in terms of you invest X amount of money, and what was

  9    the, you know, what was your expectation with those

 10    investments?   How did it work?

 11          A    Sure.   So, each project has to have a model,

 12    right, what the developer's projecting, as far as

 13    length cost, financing cost, construction cost, time

 14    frames, what the exit prices would be, and based on

 15    that, you can calculate the returns, after the

 16    waterfall, where everybody is paid off.     Each project,

 17    the structure, there's construction loan, on top.      And,

 18    then, there's the equity piece.    The equity piece is

 19    usually split between LP and GP.    In those two

 20    projects, I'm the LP. GP -- and the way it basically

 21    works, assuming everything gets executed, as planned,

 22    which things never do, but assuming everything gets

 23    executed, as planned, the bank is paid off, then

 24    there's a predetermined and contractually obligated

 25    kind of split, between the LP and GP.     LP meets a



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 150 of
                                      190
                                                                            39

  1    certain hurdle.   After that, it splits 50/50 or 80/20,

  2    whatever the splits are.    Then, there's basically a

  3    waterfall.   And depending on the waterfall, GP makes

  4    their -- what's called a promote. They make money on LP

  5    money, right?   And, so, that's, in essence, how it

  6    works.

  7          Q    So, when you mentioned the split, is that

  8    upon the sale of the property, or is that -- or is

  9    there any type of split, with respect to any operating

 10    revenue, once the property is completed?

 11          A    No, if you're LP, like in those two projects,

 12    I don't see any cash flows, any revenues, until the

 13    sale of those properties.

 14          Q    And do you recall, at least the time you made

 15    these investments, in Palm Bay, and the town homes, in

 16    Coral Gables, approximately, what was the projected

 17    time frame, for that, for each of the projects?

 18          A    Palm Bay, I want to say maybe four, five

 19    years. And town homes were faster because they were

 20    already in construction.    Town homes, I'm actually

 21    supposed to get money today, so --

 22          Q    Congratulations.

 23          A    Well, hold on.   Hold on.   I haven't looked at

 24    my phone yet.

 25               MR. SHOHAT:   Don't jinx it.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 151 of
                                      190
                                                                            40

  1               THE WITNESS:   Don't jinx it.   But the

  2    closings were scheduled for last night.     So, but we got

  3    involved in town homes, in 2020, so call it three

  4    years, roughly; two and a half to three years

  5               BY MR. CORTEZ:

  6          Q    Okay.   And Palm Bay is still --

  7          A    Palm Bay was -- when we looked at the

  8    project, it was just a field, like.    So, when we

  9    invested in Palm Bay, there was no work done, yet.         So,

 10    we knew, obviously, it was going to be longer.       The

 11    project is almost finished.    And, now, they're going to

 12    start actually people moving in, and they need to

 13    stabilize the project, before they can sell it. Well,

 14    town homes, when we got involved, it was -- the

 15    construction was already underway.    So, we knew the

 16    time frame would be shorter.

 17          Q    Okay.   And, then, in terms of the investments

 18    made, in town homes, in Coral Gables, as well as in

 19    Palm Bay, was that investment made personally, by you,

 20    or was there an entity that you owned and controlled,

 21    that's the LP, in each of those projects?

 22          A    Each project would have an entity set up, for

 23    specific investment.

 24          Q    Okay.   And if you recall, approximately, how

 25    much was invested in each project?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 152 of
                                      190
                                                                            41

  1          A     So, Palm Bay was around 6 million, I believe.

  2    And town homes, I want to say -- it changed, that's why

  3    I'm trying to think back, but roughly maybe 10 million,

  4    million, somewhere in that range.

  5          Q     Okay.

  6          A     It changed because they were able to get

  7    better financing, so the bank financed more, so there

  8    was less need from the LP, than what we initially

  9    invested.

 10          Q     Sorry to interrupt.   Each of the entities,

 11    that the investments went through, for each of the

 12    projects, was it just sort of you got control and owned

 13    that entity, or was there other people that also maybe

 14    had put money in?

 15          A     I mean, overwhelming, I think, in town homes,

 16    my partner, Danny, and my CFO, Michael, have some

 17    money, but overwhelming majority is mine.     We have the

 18    same splits, so I'm not making any promotes, on their

 19    money. In Palm Bay it's either a hundred percent mine,

 20    or 98 percent mine, and something.     Somewhere in that

 21    range, again, not exact number.     And the rest would be

 22    my CFO's.    So, he would co-invest with us, 100,000,

 23    200, 000, something; 300,000 the most.

 24          Q     And those were the two initial investments,

 25    in real estate, you made in Miami?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 153 of
                                      190
                                                                            42

  1          A    Yes.

  2          Q    And that was in the March/April, 2020 time

  3    frame?

  4          A    No, no.   The investments were made -- it

  5    wasn't March/April because we just got here

  6    March/April.   We really started kind of thinking about

  7    this stuff.    By the time it all got said and done, I

  8    would say it was late 2020.    I don't remember exactly,

  9    but it was mid to late 2020, early 2021.     It's got to

 10    be somewhere in that range.

 11          Q    Okay.   And at the time, obviously, when you

 12    came for spring break, that's essentially when the

 13    world shut down, because of the Covid 19 pandemic, at

 14    that time, was your primary residence, again time being

 15    March or April, of 2020, in New York City?

 16          A    Yes.

 17          Q    Did it change, thereafter, to Miami, Florida?

 18          A    It changed the following year.    2021, we

 19    officially moved.    We full-time moved to Miami.   My

 20    kids go to school here now.    We live here.   We spend

 21    almost no time in New York.    So, 2021 -- August, 2021

 22    was the official move to Miami.

 23          Q    Okay.   I think if we can go off the record,

 24    maybe take a bathroom break, five, seven minutes, if

 25    that makes sense?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 154 of
                                      190
                                                                            43

  1               MR. SHOHAT:    Yeah.

  2               THE WITNESS:    I can check my phone --

  3               MR. CORTEZ:    Yes.

  4               THE WITNESS:    -- to see if the town homes

  5    sold?

  6               MR. CORTEZ:    We're off the record, 10:01.

  7               (A brief recess was taken.)

  8               BY MR. CORTEZ:

  9          Q    So, we are back on the record, at 10:08 A.M.

 10    Mr. Klener, did you have any substantive discussion,

 11    with anyone from the commission staff, during the

 12    break?

 13          A    No.

 14          Q    Thank you.

 15          A    Sorry guys.    Don't mean to qualify it as not

 16    substantive.

 17          Q    I would like to sort of turn now to asking

 18    you questions in terms of your initial contact, with

 19    Location Ventures and Rishi Kapoor?

 20          A    Sure.

 21          Q    How did you first hear or learn about

 22    Location Ventures?

 23          A    Through Dimitri, as well.

 24          Q    Okay.   And what did he tell you about

 25    Location Ventures when the --



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 155 of
                                      190
                                                                            44

  1          A    He said there was a developer, out in Coral

  2    Gables, who had a project that they were almost

  3    completed, like a block or two blocks away from where

  4    the town home project is, and that he's got an

  5    interesting, unique project concept, that Colliers was

  6    hired for, called Urbin, and they're looking for money

  7    for -- one of these Urbin projects, in Miami Beach,

  8    which was five minutes from where we lived.

  9          Q    And you mentioned that Location Ventures

 10    hired Collier to find --

 11          A    Financing.

 12          Q    -- financing.   And did Dimitri provide you

 13    with specific information, at that time, about the

 14    company, about Location Ventures, other than just this

 15    Urbin project?

 16          A    No, initially, it was a casual conversation.

 17    It was just are you interested in meeting Rishi and

 18    hearing about that project, you know, because first you

 19    meet the developer, you hear the story, and if you like

 20    it, then you get all the financials and projections,

 21    and so on.

 22          Q    Okay.   And do you recall when that initial

 23    conversation took place?

 24          A    Late 2020, mid 2020, somewhere in that -- mid

 25    2020, I would say. Hold on.    Hold on.   So, we got a



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 156 of
                                      190
                                                                            45

  1    dog, from the shelter, in June, 2020, and my first

  2    meeting with Rishi, I had my dog with me, so it had to

  3    be after June, 2020.

  4          Q     Prior to that first meeting, with Rishi, did

  5    Dimitri tell you anything about Rishi Kapoor?

  6          A     Nothing -- just generic stuff; nothing too

  7    specific.

  8          Q     Okay.   And after Dimitri -- and you said

  9    maybe mid to the end of 2020 -- kind of told you,

 10    generally, like some general information about Location

 11    Ventures, did you express an interest to learn more?

 12          A     Yes.

 13          Q     Okay.   And what happened after that?

 14          A     We set up a meeting -- set up a meeting in

 15    Rishi's office, at 299 Alahambre.

 16          Q     Do you recall approximately, time frame wise,

 17    when that meeting was?

 18          A     Same.   I mean, it was, you know, within --

 19    again late -- mid to late 2020.

 20          Q     And do you recall who was at that meeting?

 21          A     So, it was myself,        our dog, that's why

 22    I was remembering, because we got it from a shelter, in

 23    June, Dimitri, and Rishi.

 24          Q     Okay.   And that was your first meeting with

 25    Rishi Kapoor?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 157 of
                                      190
                                                                            46

  1          A    Yes.

  2          Q    Okay.   If you recall, what information did

  3    Rishi provide you, at that time, about either Location

  4    Ventures or any of the real estate projects?

  5          A    He told us about the business, the vision.

  6    He told us about, I think it had four divisions, and,

  7    specifically, about Urbin was the one that we were

  8    there for.   He told us about his team, that a lot of

  9    them were with him for, you know, many, many years.      He

 10    told us about that he grew up in Georgia.     His dad, I

 11    think, was an engineer, who started doing some real

 12    estate, and then, I think, transitioned to just doing

 13    real estate. So, Rishi kind of had some real estate,

 14    just from the family kind of experience, that he

 15    finished law school, and then he went into telling us

 16    about the specific project that we were there to

 17    consider, which was Urbin Miami Beach.

 18          Q    All right.   Well, let's maybe break that

 19    down, a little bit.     So, starting with, I think you

 20    mention he told you a little bit about Location

 21    Ventures business. Can you describe what information he

 22    provided you, just about Location Ventures business?

 23          A    Sure, that they have four divisions.    It was

 24    luxury condos, multi-family, Urbin, and maybe rental.

 25    I don't remember the fourth one, maybe rentals or



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 158 of
                                      190
                                                                            47

  1    something, and how many employees they have.     I think,

  2    at the time, it was maybe 30-ish, something like that.

  3    His big vision for Urbin, he was very big on Urbin,

  4    that it's going to revolutionize the affordable

  5    housing, kind of because the micro unit -- it was a

  6    micro unit concept, that the micro units would become

  7    affordable. And under the Urbin business model, micro

  8    units become affordable and it sells for people who

  9    can't afford to the neighborhood where they work, that

 10    was kind of his big vision.    And he wanted to have, you

 11    know, hundreds of them across America, and eventually

 12    evolve globally, and all that. What else did he tell

 13    us?   He said that he has some investors, that are all

 14    strategic investors, like local Miami families, who had

 15    value outside of just, you know, the investment of the

 16    company.   He uses them as -- for guidance and advice

 17    and mentorship.   He was -- he kept talking about he has

 18    all these mentors that he takes advice from and listens

 19    to, and so on.

 20          Q    And I know were you there to primarily hear

 21    about the Urbin investment opportunity; is that

 22    correct?

 23          A    Yeah, the one specific project.

 24          Q    So, if you could -- when, I guess, Rishi

 25    mentioned to you that Urbin was going to be, I think



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 159 of
                                      190
                                                                            48

  1    you said, micro units, that people that work in areas

  2    that they otherwise could not afford, could perhaps

  3    afford that.

  4          A    Uh-huh.

  5          Q    Can you provide a little bit more

  6    information, as to how that worked?

  7          A    So, basically, it was a co-working, co-living

  8    concept, initially.    Right?   So, he wanted to have, in

  9    the building, let's say three, four-bedroom units, and

 10    you rent by bedroom, and with a shared, you know,

 11    living room, kitchen, and so on. Then, there was a

 12    concept of just micro units, so basically just have

 13    these 300 square foot apartments, which I was

 14    skeptical, but he showed us drawings and actually they

 15    managed to fit like a bed and shower, and toilet.

 16    Actually, it was laid out, shockingly, that it actually

 17    fit inside.    My first apartment was 650 feet and I

 18    thought it was kind of tight.     So, when I heard 275,

 19    300, I was like shocked, but on the renderings, it kind

 20    of made sense. Then, there were -- so, basically, the

 21    building would have co-living floors.     It would have

 22    co-working floors, kind of like the "we work" concept.

 23    Then, there'd be retail, on the bottom.     And, then, he

 24    even thought about possibly having kind of a co-working

 25    concept, meaning like let's say there's a barber shop,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 160 of
                                      190
                                                                            49

  1    that you rent by chair.    So, let's say it was one

  2    barber shop, but it would be like with eight chairs,

  3    but literally eight, different, single barbers, kind of

  4    their own stand-alone business.    So, the whole co-thing

  5    was his thing; co-living, co-working living,

  6    so-sharing, co -- all that stuff.    That was the

  7    concept.

  8          Q    Okay.   And I know you mentioned that in

  9    addition to the Urbin sort of business, there's the

 10    three other businesses.    Did he provide you any other

 11    information with sort of how Location Ventures, you

 12    know, started, or how, you know, he started the

 13    business; anything about the history of the business?

 14          A    Yeah, he worked for -- a little bit, yes.     He

 15    told us he worked for, I think, a development company,

 16    and then he wanted to start his own thing, so he

 17    started Location Ventures.    He had got a couple of kind

 18    of key people.     Vivian Bonet was a -- I think she was a

 19    chief development officer.    And she's done tons of

 20    projects, around South Florida.    She did, I think, W

 21    Hotel, in Fort Lauderdale.    That was like the big

 22    project that she did. He introduced us to his marketing

 23    person, maybe IT person.    So, but again, bulk of that

 24    specific meeting was spent on the Miami Beach Urbin

 25    project, and just Urbin, in general, as the vision for



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 161 of
                                      190
                                                                            50

  1    Urbin, because like I said, he wanted to open hundreds

  2    of these, all over America.

  3          Q     Okay.   And at that time, at that initial

  4    meeting, how many Urbin projects were in existence, at

  5    least at that time?

  6          A     How do you define existence; like completed?

  7    Zero.

  8          Q     In development?

  9          A     Zero; maybe one.   The building he was in

 10    wasn't technically Urbin, but it was similar concept.

 11    There was no co-living, so zero, I would say.

 12          Q     Any in predevelopment, at that time?

 13          A     Well, I guess the Miami Beach, the one that

 14    we were talking to him about was in predevelopment.       He

 15    had a contract on the land.     He didn't close on the

 16    land, yet.    And they were predeveloping, you know,

 17    approvals, and you know, the concept design, that kind

 18    of stuff.

 19          Q     You also mentioned that he sort of provided

 20    some information, at that time, about the employees

 21    that worked at Location Ventures.     I think you said,

 22    from your recollection, there was approximately 30

 23    employees, at that time?

 24          A     At that time -- that was just -- I don't

 25    remember exactly.    I think we met a couple, like he had



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 162 of
                                      190
                                                                            51

  1    a couple come in and do a little like spiel.     I think

  2    head of IT came in, marketing came in, possibly the --

  3    Vivian, the development person came in.     But, again,

  4    bulk of the meeting was just Rishi and us.

  5          Q     Okay.   And you mentioned Vivian Bonet, the

  6    chief development officer, for Location Ventures.       Did

  7    Rishi and her -- know her prior to starting Location

  8    Ventures?

  9          A     Yes, I believe they worked together, in a

 10    previous company, or she was working with his previous

 11    company.    So, they new each other before, yes.

 12          Q     Okay.   And I think you had mentioned, as

 13    well, that Rishi told you a little bit about his

 14    experience, at least at that time, in real estate, or

 15    real estate development.    Could you just provide some

 16    more detail, as to what he described to you, in terms

 17    of his experience, in that industry?

 18          A     Again, he mentioned his dad, that he grew up

 19    in a real estate family, in Georgia; possibly, Atlanta,

 20    Georgia.    He mentioned that he worked for a real

 21    estate -- that he finished -- that his dad wanted him

 22    to be a lawyer, so he finished law school, but his

 23    passion was in real estate.    So, he got a job, I think,

 24    in a real estate development firm.    His dad was very

 25    upset.    They didn't talk for like two years, something



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 163 of
                                      190
                                                                            52

  1    like that. And, then, you know, he -- it was really --

  2    real estate was his passion and calling, and you know,

  3    he decided to start Location Ventures.     I think he

  4    mentioned his mom might have gave him some start-up

  5    capital, like the first 5,000 or something came from

  6    the mom.    But that's, you know, that was kind of the

  7    general story.

  8          Q     Do you recall what year he did start Location

  9    Ventures?

 10          A     If I met him in 2020, I mean, it must have

 11    been a few years earlier.     I don't remember the exact

 12    year, but he had a project that was almost done, called

 13    Villa Valencia.     That was his first, like project, that

 14    was deep enough where we could actually see what he's

 15    capable of.

 16          Q     What was Villa Valencia -- or what is, I

 17    should say, Villa Valencia?

 18          A     It's a multi-family condo building for sale.

 19    So, no rentals.     It's, I think, maybe 39 units.   It's

 20    at 515 Valencia Avenue, in Coral Gables.

 21          Q     Okay.   So, you were, at that time, able to

 22    drive and actually see the building?

 23          A     Yes.    I'm not sure if we drove that

 24    particular day, because at the end of the meeting, we

 25    told him we're not interested in Urbin, but -- so, I



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 164 of
                                      190
                                                                            53

  1    don't remember if we saw it that particular day, but we

  2    eventually saw it.

  3          Q    And at that particular -- focusing, again, on

  4    that particular meeting, besides the information he was

  5    providing you, at least verbally, at the meeting, did

  6    he provide you with any documents or literature, or

  7    materials, about the company, or about the Urbin

  8    business segment?

  9          A    I don't remember.    He might have had

 10    something on the screen, some maybe financial models,

 11    but very kind of high level.     I don't remember.

 12          Q    You don't remember receiving any -- taking

 13    any documents to review?

 14          A    I don't remember.    Because we weren't

 15    interested in the project.     So, even if we took

 16    something, we tossed it, but I don't remember, even if

 17    we took it.

 18          Q    And why were you not, at that time,

 19    interested in the project?

 20          A    I thought it was a stupid concept, and we

 21    kind of told him politely, you know, because he did

 22    something interesting, at the end of the meeting.     So,

 23    like usually you have these meetings, they give you all

 24    the information, you shake hands, and you part ways.

 25    And, then, you connect a couple days later.     He asked



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 165 of
                                      190
                                                                            54

  1    us right, at the end of the meeting, so what did you

  2    guys think.   What are you guys thinking?    And we were

  3    kind of taken aback.    That was a little bit of a

  4    different approach.    And, again, I was pretty -- I'm a

  5    pretty honest and straightforward person.     So, I told

  6    him, I think it's a stupid concept.    I think it's not

  7    going to work.    I don't believe, especially with Covid,

  8    the whole co-living is a thing that's going to survive.

  9    I think co-working is a terrible idea because people

 10    work from home.   And I think what you're building is

 11    not really a real estate project; it's an operational

 12    business.   You have rentals, you have office rentals,

 13    you have chair rentals, you have store fronts.     It's

 14    not a you build a building and then you sell it.

 15    That's a real estate play.    Or you build multi-family

 16    and there's some consistency, in the product you're

 17    offering.   Here, it's a complicated -- so, it's a new

 18    concept, with these micro units.    It's complicated

 19    because you have all these different moving pieces.

 20    I'm not sure I understand what the real exit is because

 21    you can't sell it.    The idea is you get to keep them,

 22    right?   So, that means you have to stabilize it.    You

 23    have to get the cash flow, so that you can get

 24    refinancing from a bank. But the bank would have to

 25    look at this, and there's multiple different sources of



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 166 of
                                      190
                                                                            55

  1    revenue, so you might have a little bit of a hard time.

  2    And, again, I just told him, just in general, I don't

  3    believe co-living and co-working is the way of the

  4    future, or the way of Covid, kind of.     I just didn't

  5    think that concept makes any sense.

  6          Q    And what was Rishi's response to that?

  7          A    I mean, he obviously disagreed.    We didn't

  8    get into a heated debate, because, you know, I didn't

  9    have anything to prove to him.    So, he said -- he was

 10    always very polite, so he was like, thank you, so much,

 11    for your feedback, you know, that kind of fluff.     And,

 12    you know, he thanked us and we left.

 13          Q    At that meeting, do you recall if he -- how

 14    much capital he was looking to -- from you, at that

 15    point?

 16          A    I think it was maybe 18 million, somewhere

 17    mid-teens, something like that.

 18          Q    Okay.   And was it that 18 million would be

 19    invested directly into the --

 20          A    Into the Urbin project; one specific project.

 21          Q    Not Location Ventures?

 22          A    Correct.

 23          Q    Again, if you do recall, can you just

 24    describe how that investment was supposed to work?     You

 25    know, if you did decide, for example, to provide 18



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 167 of
                                      190
                                                                            56

  1    million, for Urbin Miami Beach, how was that supposed

  2    to work?

  3          A    Similar to all the other LPs.    You know, we

  4    provide an LP investment.    There's a threshold, you

  5    know, in it.    When the exit is, in that particular

  6    project, the exit wasn't a sale, it was a refinancing.

  7    So, basically, you know, you get money from a bank, for

  8    construction.   You get LP and GP.   You complete the

  9    project.   You, what's called, stabilize it, where you,

 10    you know, rent everything out, you understand what your

 11    operating expenses are, what your cash flows are, how

 12    much profit is left.    Then you go to refinance a

 13    stabilized project.    And there was supposed to be

 14    enough money, from the refinancing, to repay the bank

 15    loan, the LP, the return for the LP, so on and so

 16    forth. And, again, similar concept, where there's a --

 17    some kind of minimum interest.    And, then, the rest

 18    gets split between LP and GP.

 19          Q    So, the thought was if once the property

 20    became stabilized and they understood the revenues, the

 21    cash flows, their operating expenses, so on and so

 22    forth, that at that time, they might -- they felt they

 23    could go to a bank and get refinancing.     And if that

 24    were to have happened, then the LPs would have gotten

 25    their --



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 168 of
                                      190
                                                                            57

  1          A    Yes.

  2          Q    -- money back?

  3          A    Yes.

  4          Q    Plus, whatever the split was, correct?

  5          A    Yes.

  6          Q    Then, at that point, the LPs are out?

  7          A    Correct.

  8          Q    So, that's one --

  9          A    Yes.

 10          Q    Was there ever any discussion of sort of,

 11    maybe a second exit, which is to stabilize the

 12    property, then to sell?

 13          A    Not at that meeting; and, again, his vision

 14    was -- he had -- he wanted to be the first trillion

 15    dollar real estate company.    I think he even mentioned

 16    it, in some e-mails or texts.    He always left about it.

 17    We always like, you know, Rishi before you become a

 18    trillion dollar company, you have to become a billion

 19    dollar company.   Before you become a billion dollar

 20    company, you have to become a million dollar company.

 21    So, we kind of tried to walk him through there's some

 22    steps to get to a trillion. So, I think his vision was

 23    eventually to like get enough of these Urbins and

 24    possibly sell them as a kind of we work type of a --

 25    the new we work, like we live kind of thing.     But,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 169 of
                                      190
                                                                            58

  1    again, I thought the whole concept of the micro units

  2    and stuff, I never really truly -- I never bought into

  3    it because I never understood it.

  4          Q    Okay.   So, after you declined the offer, to

  5    invest in Urbin Miami Beach, what was your next, I

  6    guess, interaction or communication, with either

  7    Dimitri or Rishi, concerning Location Ventures?

  8          A    So, I was back in New York, because I

  9    remember the phone call.    He asked us to set up a zoom

 10    or teams, whatever.    So, he asked us to set up a call.

 11    We set up a call.   He asked us what kind of investments

 12    we are entertaining or considering.    We said, we have,

 13    you know, I'm like I can't invest into something I

 14    don't understand.   I don't really understand Urbin, as

 15    a concept.   So, I would never invest in something I

 16    don't really understand. We also want to add a little

 17    bit of value, outside of just money.     If there's

 18    something we can add value with advice or opinion.     I

 19    can't give any advice or opinion on micro living.     Like

 20    I asked my nephew, who is a college -- I'm like would

 21    you live in something like that.    He said, no.   That

 22    was the extent of kind of -- So, anyway, I couldn't

 23    really understand that concept.    So, I told him, I'm

 24    like, look, we live in Manhattan, so I understand

 25    condos, I understand -- again, I understand just not



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 170 of
                                      190
                                                                            59

  1    from professionally, just from my life, right?     I

  2    understand kind of luxury buildings and amenities, that

  3    kind of stuff.     So, if he says, hey, I have a project

  4    for you to consider, and there was a 551 Bayshore, in

  5    Fort Lauderdale.    He's like it's a waterfront on -- not

  6    on the ocean, on the bay side, luxury condos for sale.

  7    So, I said, okay, that sounds like at least something I

  8    can understand, so we would be interested to look at

  9    that.

 10          Q    When was this zoom team meeting; was it --

 11          A    I would say it was a few weeks or call it

 12    maybe, at most, a month, after that meeting we had, on

 13    Alahambre.

 14          Q    So, some --

 15          A    So, sometime maybe September-ish, of 2020,

 16    November-ish.    Because the meeting we had was in -- the

 17    meeting we had was in person, in Coral Gables, and this

 18    zoom was -- I remember was in my Manhattan apartment.

 19          Q    Okay.   And the zoom meeting, in

 20    September/November time frame, of 2020, who was it; do

 21    you recall?

 22          A    It was just me and him.

 23          Q    Just you two.   Okay.   And you mentioned that

 24    he -- he provided some information about 551 Bayshore,

 25    which is in Fort Lauderdale?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 171 of
                                      190
                                                                            60

  1          A     Yes.

  2          Q     Is it on Fort Lauderdale beach?

  3          A     I don't know what you mean by Fort Lauderdale

  4    beach.    It's north --

  5          Q     You have Miami, Miami Beach, and it's

  6    separated by like the bay or Intracoastal.        I think you

  7    mentioned it's on the bay side?

  8          A     I don't know if you know where Four Seasons

  9    is, in Fort Lauderdale.      It's just on the other -- so

 10    Four Seasons is on the ocean, this is on the

 11    Intracoastal.

 12          Q     Okay.

 13          A     So, it's North Village, maybe.      Is there a

 14    North Village, in Fort Lauderdale?

 15          Q     I'm not sure.

 16                MR. O'BRIEN:    I'm not familiar with North

 17    Village.

 18                THE WITNESS:    Anyway.   Sorry.   To me -- like,

 19    to me, Boca is one place, and Fort Lauderdale is one

 20    place.    Sorry, I don't know the geographic - specific

 21    areas.

 22                BY MR. CORTEZ:

 23          Q     No worries.    So, with respect too 551

 24    Bayshore, we'll just say in Fort Lauderdale, what

 25    was -- at that meeting, the zoom meeting, what was sort



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 172 of
                                      190
                                                                            61

  1    of the status of that project, at that time?

  2          A    So, basically, he told us about the seller.

  3    So, the seller, his name is Par, I don't know his last

  4    name, P-A-R.   I think he's from, I want to say, Sweden.

  5    So, he bought, during the crisis, financial crisis, he

  6    bought a portfolio of assets.    It included a whole

  7    bunch of different randomness, like lands.     I think he

  8    bought it from some guy in distress.     And this is one

  9    of the pieces of land, that was in that portfolio.     He

 10    owns, actually, a whole bunch of that part of Fort

 11    Lauderdale. He's not really a seller.     He's kind of --

 12    views that little area, of Fort Lauderdale, where he

 13    owns a whole bunch of like land, and buildings, and so

 14    on, as he wants to -- he envisions it as a little, I

 15    don't know, central bay, that he wants to make it into

 16    something that's cozy and hip, and all that.     So, he's

 17    not really a seller.    So, he's not -- this land wasn't

 18    on the market.   I don't know how Rishi met him, I don't

 19    remember, but Rishi like courted him, for like two

 20    years, and sold him on the vision, and so on.     And Par

 21    agreed to give him the contract, for that land, with a

 22    very long closing date, meaning that basically gave

 23    Rishi time to get the project approved, get financing

 24    lined up, so he didn't have to close on the land,

 25    before he had everything in place. Par believed in the



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 173 of
                                      190
                                                                            62

  1    vision, so much, that he agreed to put 5 million, as

  2    preferred equity, into the project, out of the kind of

  3    sales proceeds.   So, it sounded interesting because it

  4    was, again, it was on the water, luxury condos.     There

  5    was no eminent need to close on the land.     As a matter

  6    of fact, fast forward, the land is still not closed.

  7    We're way past when it was supposed to be closed,

  8    extensions and all that. We'll get to that later, in

  9    the interview, but -- so, as a concept, it sounded

 10    interesting to us.

 11          Q    And at the time, the land was not developed;

 12    there was no building?

 13          A    No, just a field.

 14          Q    Just a field?

 15          A    Just a field.

 16          Q    And, today, is it still just a field?

 17          A    It's funny you ask.   Today, it should be a

 18    field, but Rishi started construction on the land, even

 19    though we don't own -- the JV, that I'm part of, on

 20    Bayshore, still does not own the land.     We just have

 21    the right to purchase the land, which expired.     So, he

 22    got extensions, with monthly fees, from Par, which are

 23    also expiring soon, but he already started.     He got a

 24    plan approval and started some of the work, already

 25    started.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 174 of
                                      190
                                                                            63

  1          Q    Okay.   And we'll come back to that, in a

  2    little bit.   I just wanted to understand between then

  3    and today.

  4          A    So, do I.

  5               MR. O'BRIEN:    Jordan, maybe provide an

  6    instruction about making sure that he waits for you to

  7    finish answering your question, before he responds,

  8    because there's a little bit of cross talk, being

  9    difficult, I imagine, with the transcript.

 10               MR. CORTEZ:    Oh, sorry.   So, what Russell is

 11    saying, is given that the court reporter is taking down

 12    everything, I'll make sure you finish your response,

 13    and just make sure I finish my question --

 14               THE WITNESS:    Okay.   Sorry.   No problem.

 15               BY MR. CORTEZ:

 16          Q    -- responding. So, at the zoom meeting, for

 17    551 Bayshore, this was just going to be-- the vision at

 18    least, at that time, was just going to be a luxury

 19    condominium building?

 20          A    Yes.

 21          Q    Did Rishi provide any information as to how

 22    the investment, with respect to 551 Bayshore would

 23    work, similar to how he provided in the initial

 24    meeting, sort of the investment into Urbin?

 25          A    Not at that zoom, but when we showed interest



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 175 of
                                      190
                                                                            64

  1    and we got financial models, projections, and that kind

  2    of stuff.

  3          Q     Okay.   So, besides telling me about this

  4    opportunity, on this zoom meeting, was there any other

  5    information he provided to you, at that time?

  6          A     At the zoom meeting?   I don't think so.    I

  7    don't believe so.     It was a very high level.

  8          Q     Was it fair to say the zoom meeting was

  9    relatively a short meeting?

 10          A     Yeah, maybe 30 minutes.

 11          Q     Okay.   And, then, you mentioned that, after

 12    that meeting, you expressed interest in the project?

 13          A     Uh-huh.

 14          Q     When was that?

 15          A     Shortly after.   Again, if this was September,

 16    October; so, again, within weeks of that.

 17          Q     Okay.   And, then, you expressed interest,

 18    like in another meeting, picked up the phone, called

 19    Rishi, or e-mail?

 20          A     I don't remember.

 21          Q     Okay.   When you did express interest, I think

 22    you were provided some documents, at that time, and I

 23    think you mentioned some, but if you can just, again,

 24    mention those?

 25          A     I believe we were provided -- there's really



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 176 of
                                      190
                                                                            65

  1    more or less one document.    It's the projections,

  2    right?    So, it's a financial model that shows the

  3    things I mentioned before, how much the land is going

  4    to be bought for, what the development cost would be,

  5    how much of that is financed by the bank, how much of

  6    that -- what the interest rates would be, what the

  7    costs would be, contingencies, what the sale price

  8    would be.    And, then, based on that, what the profits

  9    and the waterfalls would look like.

 10          Q     So, this financial projection, was it

 11    essentially like an Excel spread sheet?

 12          A     Yes.

 13          Q     Was that all that was provided to you, at

 14    that time?

 15          A     I believe so, because the project -- maybe

 16    some renderings of what the vision is, because it

 17    wasn't approved yet, what the vision would be for what

 18    it looks like, but pretty much it's possible that he

 19    provided the purchase and sale agreement, with the

 20    seller, that showed the, you know, the delayed closing,

 21    but I don't know, a hundred percent.     I'm not sure.

 22    But that would be really the only things that he could

 23    provide, at the time.

 24          Q     And -- so, there was no marketing materials

 25    or investment brochures, or anything like that, that



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 177 of
                                      190
                                                                            66

  1    was provided to you, at that time?

  2          A    I don't recall.     If there is, it would be in

  3    the documents that we shared with you guys.      Because

  4    anything that was provided, we shared, but I don't

  5    recall.

  6          Q    The financial projections, was that sort of

  7    the main document, that you -- if you recall, that you

  8    really reviewed to understand --

  9          A    Yes.

 10          Q    -- how the numbers would work?

 11          A    I'm sorry.   Yes.

 12          Q    Okay.   What was your initial impressions of

 13    the financial projections provided for 551 Bayshore?

 14          A    We thought his exit assumptions were

 15    reasonable. I think he was projecting something like

 16    maybe $950 a foot.   We thought, for a luxury -- brand

 17    new construction, luxury, water-front condo, that

 18    seemed reasonable.   But we don't have enough expertise

 19    to question -- to really, truly analyze the costs of to

 20    build.    But, overall, assuming those assumptions were

 21    accurate, and assuming even some things were ambitious

 22    and we discounted some things, the project still looked

 23    very valuable.

 24          Q    Did you understand -- did you receive any

 25    information concerning how the financial projections



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 178 of
                                      190
                                                                            67

  1    were put together?

  2          A    I believe he told us he has a team inhouse

  3    that puts these projections together, based on,

  4    obviously, his input, and comps, and some other

  5    factors, but I think those were prepared inhouse and

  6    reviewed by Colliers, because Colliers was technically

  7    the ones marketing the project.

  8          Q    Do you recall if after you received these

  9    financial projections, if you had any conversations

 10    about them, about the projections, with, say, Dimitri,

 11    at Colliers?

 12          A    I would assume so.   Again, I don't recall,

 13    for sure, but it would make sense that I did.     But I

 14    don't recall.   I don't recall, for sure.

 15          Q    Do you recall anything that you did or that

 16    maybe Dimitri did, to sort of try to verify the

 17    numbers, in the projections, or the assumptions, that

 18    may have been imbedded, in the projections?

 19          A    I think we looked at comps, in the area, just

 20    basically go over what's for sale, in the zip code, the

 21    area, to try to get a sense for if these exit prices,

 22    at least, were realistic.    And I believe our CFO,

 23    Michael Goldenberg, reviewed projections, as well, for

 24    just a sanity check.    I should say reviewed the model,

 25    right? But that's really the extent of it.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 179 of
                                      190
                                                                            68

  1          Q    You mentioned that there was some numbers

  2    that you discounted.    Do you recall what -- be it

  3    numbers, line items, etcetera, that you may have

  4    discounted and why?

  5          A    It's a standard practice to stretch the

  6    models. So, you say, okay, well, they project a

  7    thousand a foot, but the market goes and gets soft, and

  8    it's only 900 a foot, does the model still work.      Or if

  9    they project, you know, a hundred dollars to build

 10    something, and it becomes 120 dollars, does the model

 11    still work.   So, we just stretch some assumptions, not

 12    because we had the expertise to identify specific

 13    things that we were questioning, but just general

 14    stretch of the overall kind of model.

 15          Q    And that was done -- was that done by you or

 16    by Michael, or both?

 17          A    That was done by Michael.

 18          Q    Okay.   You mentioned earlier, with respect to

 19    Urbin, about sort of the exit strategy for the LPs was

 20    when the property would stabilize, and then there would

 21    be a refinancing, and then the LPs would get sort of

 22    their split. Was it, at that time, the thought with 551

 23    Bayshore, the same type of exit strategy, or was it

 24    something different, given that that was -- 551 was

 25    luxury condos, versus Urbin, this co-work, co-living?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 180 of
                                      190
                                                                            69

  1           A   No, it was totally different.    551 was

  2    supposed to be your -- traditionally, you build the

  3    building, you sell all the apartments, and you move on.

  4           Q   Okay.   So, if you could just sort of give us

  5    a little more detail, as to how that works, with like a

  6    luxury condominium?

  7           A   Sure.   So, basically, the project gets

  8    marketed pre-construction.    So, anybody who wants to

  9    buy an apartment can do so, before the project is even

 10    built. And as the project is being developed and built,

 11    once it gets -- once it's completed and gets the TCO,

 12    temporary certificate of occupancy, then the closings

 13    take place, where the owners of these units are, you

 14    know, close on these units.    They take possession of

 15    the units inside the building.    The proceeds go to the,

 16    you know, the project entity.    And, then, again, the

 17    bank is paid off, all the bills, liabilities, are paid

 18    off.    And, then, the remaining waterfall goes to the LP

 19    and GP split. Any units that are unsold continue to get

 20    marketing, until they are sold.    And the idea is once

 21    you sell every single unit, in the building, then

 22    you're kind of done with the project.

 23           Q   Okay.   And at that point, assuming all the

 24    units are sold in the luxury condo building, was there

 25    still the thought that Location Ventures are an entity



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 181 of
                                      190
                                                                            70

  1    that's controlled by Location Ventures, but would run

  2    the day-to-day operations of that unit, or was it

  3    planned to sell the entire building, to a third party?

  4          A    Well, the owners of the building are the

  5    individual owners of the apartments.     And, then, there

  6    would be some kind of a HOA form, to ensure the

  7    amenities and such are, you know, being run.     But I

  8    don't believe the Location Ventures was staying in, to

  9    continue to operate the building.

 10          Q    Okay.   Thank you.

 11          A    It was just a sale and done.

 12          Q    And with respect to the 551 Bayshore project,

 13    how much money was Rishi looking to raise from you?

 14          A    I -- sorry.   Are you done with the question?

 15    I apologize. So, I think it was either 16 or 18

 16    million.

 17          Q    Okay.   And do you recall what your ownership

 18    interest would have been, in the entity that was

 19    overseeing the development of that project, if --

 20          A    So, it was -- I believe it was 80/20 split,

 21    on the equity investment.    We would have been the 80.

 22    Location Ventures would have been the 20.     Then,

 23    there's, again, the waterfall, on the way out, is not

 24    80/20.    It's like everybody gets repaid.   We meet a

 25    certain hurdle of maybe 12 percent hurdle.     And, then,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 182 of
                                      190
                                                                            71

  1    after that, it's split, I think, 50/50.

  2           Q    So, and just for us, I may not be as

  3    knowledgeable about real estate, when you talk -- just

  4    make the record clear.    When you talk about the

  5    waterfall and the hurdle, can you just explain that?

  6           A    Sure.   So, let's say the exit price is a

  7    million dollars, right?    And there's 700,000 owed to

  8    the bank. So, the bank gets paid off.     So, there's now

  9    300,000 left, for the equity holders, which is the

 10    limited partners and general partners.     And let's say

 11    from that 700,000, that's left, the actual investment

 12    of the project was between the LP and GP, let's say

 13    $200,000. 80 percent LP, of the 200; 20 percent GP.

 14    So, that gets repaid.    So, now there's half a million

 15    of profit left. And that profit gets split 50/50.

 16    250,000 goes to LP, even though they put in 80 percent,

 17    they only get the 250 on top.    And 250 goes to GP, even

 18    though they only put in the 20 percent, they get the

 19    250.    So, that's how the general partners make their

 20    money.     That's the part that's called the promote,

 21    right?     That's how they make the profits, in that

 22    waterfall of cash coming out. In addition, they make

 23    development fees, as the project is being developed.

 24    The project is paying the developer, development fees,

 25    that are negotiated.    Those fees go to cover, you know,



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 183 of
                                      190
                                                                            72

  1    expenses, overhead, and some -- there should be some

  2    profit left.

  3          Q    Okay.    But from like an LP standpoint, from

  4    your standpoint, the money put in, once the bank would

  5    get paid, upon exit, you would get paid back the money

  6    that you initially put in, plus say 50 percent of

  7    whatever the profits were?

  8          A    Right.   I would get my principle.   I would

  9    get whatever the -- what's called the hurdle, we agreed

 10    to, that I make at least, let's say 12 percent, before

 11    the money starts getting split.    And, then, any money

 12    that's left over, after all the expenses are paid, LPs

 13    repaid, GP and principle is repaid, the 12 percent is

 14    met, then any money that's left over is split, I think

 15    it was 50/50, on that project.

 16          Q    That 12 percent, that hurdle that you

 17    mentioned, was that actually what was agreed upon, with

 18    551 Bayshore?

 19          A    I don't remember exactly, but I believe so.

 20    But typical is either eight, ten, or 12 percent,

 21    somewhere in that range.    I believe, in that particular

 22    project, it was 12 percent.

 23          Q    Okay.    So, after -- I know you mentioned the

 24    financial projections and maybe the purchase agreement

 25    of the property, and some other information, was that



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 184 of
                                      190
                                                                            73

  1    all sent to you via e-mail, at that time?

  2          A     I believe it would either be e-mail or some

  3    kind of document drop type of a link.     Again, whatever

  4    was shared with us, we shared with you.

  5          Q     And, then, once those documents were provided

  6    to you, did you actually decide to invest in 551

  7    Bayshore?

  8          A     Yes.

  9          Q     Okay.   And was it the either 16 or 18 million

 10    that you did invest in --

 11          A     It was the 16 or 18 million that we committed

 12    to invest, yes.     We didn't actually deploy the full 18,

 13    but we committed to deploy the 18 million.

 14          Q     How much money, of that 16 or 18 million, has

 15    been deployed to date?

 16          A     5.1 million.

 17          Q     Okay.   And do you recall after that you

 18    received those documents, was it shortly thereafter

 19    that you decided to commit the 16 or 18 million, or do

 20    you remember the time period?

 21          A     I mean, I don't remember exactly, but it

 22    would be within maybe 30 days, 45 days, something like

 23    that.

 24          Q     Okay.   And I know you mentioned 16 or 18

 25    million was committed, but not all of it was deployed



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 185 of
                                      190
                                                                            74

  1    on day one.    And, today, there's been approximately 5

  2    million deployed.    What was your understanding, in

  3    terms of once you committed that amount of money, how

  4    that money would be used specifically for that project?

  5           A    It would be used for development.   So, it

  6    would be used for concept design, you know, architects,

  7    structural engineers, HVAC, etcetera, etcetera.     It

  8    would be used to pay some development fees, along the

  9    way.    Every month there was some fees that went to

 10    what's called the sponsor, which was Location Ventures,

 11    and it would be used for any, basically, soft and hard

 12    costs.     Soft cost is non-construction costs, like

 13    architects, interior designers, and such.     And, then,

 14    for -- as the construction started, it would be used

 15    for the hard costs, which is the actual construction.

 16           Q    Was there any costs or expenses that your

 17    investment was not permitted to be used for, in terms

 18    of constructing and developing this project?

 19           A    Like what?   I'm not sure I understand the

 20    question.

 21           Q    Well, you mentioned that your money was

 22    initially planned to be used for some soft costs, and

 23    then once the construction began, like hard costs.       Is

 24    there any, for lack of a better term, categories of

 25    expenses or costs associated with the project, for



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 186 of
                                      190
                                                                            75

  1    which your investment, you know, should not be used?

  2          A    I don't -- anything that's related to actual

  3    completion and successful execution of the project,

  4    this money was allowed to be used, as I understand.

  5               MR. HOUCHIN: Let me interrupt, for a second.

  6               BY MR. HOUCHIN:

  7          Q    How did you know how your capital was going

  8    to be used?

  9          A    Well, part of that model that we looked at,

 10    had the different line items of anticipated expenses.

 11          Q    Were there any sort of representations made,

 12    other than what was in the model, sort of setting forth

 13    how your capital would be used, if you went forward

 14    with an investment?

 15          A    I would have to look back to the operating

 16    agreement, which you guys have a copy of.     But I

 17    don't -- if you're asking like if there was a time line

 18    and a million dollars goes here and a million dollars

 19    goes there, I don't believe so, but I'm not sure.     It

 20    was -- everything was supposed to go according to the

 21    operating agreement, which again you guys have a copy

 22    of.

 23          Q    I'm just trying to get a feel for your

 24    recollection, as to whether Mr. Kapoor or anyone else,

 25    at Location Ventures, said anything to you about, you



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 187 of
                                      190
                                                                            76

  1    know, this is how we intend to use your capital,

  2    specifically, as opposed to what was set forth in the

  3    model, and but also might be set forth in the operating

  4    agreement, just based on what you recall?

  5          A    I don't recall anything that kind of jumps at

  6    me as out of the ordinary.

  7          Q    Thank you.

  8               BY MR. CORTEZ:

  9          Q    You did mention the operating agreement,

 10    after you -- was that provided to you after the

 11    financial projections and whatnot, that you reviewed

 12    for 551 Bayshore?

 13          A    Yeah, operating agreement was provided after

 14    we agreed to make an investment.

 15          Q    Okay.   And you reviewed the operating

 16    agreement?

 17          A    Our lawyers did, yes.

 18          Q    Okay.   And you mentioned that the operating

 19    agreement sets forth all of the, sort of, fees and

 20    other expenses, for which your investment capital could

 21    be used for, correct?

 22          A    Yes, it --

 23          Q    Okay.

 24          A    -- again, I don't have it in front of me, but

 25    I would assume so.



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 188 of
                                      190
                                                                            77

  1          Q     Once monies were deployed, after you

  2    committed to 16 million or 18 million, how did that

  3    money get deployed; was it that you essentially would

  4    wire X amount to Location Ventures or to an account?

  5          A     So, we opened an entity, from which we made

  6    the investment.     I think it's called

                   , or something like that, LLC.     From that,

  8    money got moved into                 Partners, which was a

  9    joint venture between kind of myself and Location

 10    Ventures.    So, that was the entity that is the -- kind

 11    of the owner and developer, of that project.      So,

 12    that's where the money went.    And, then, Rishi had

 13    control of that entity where the money was going from

 14    that entity.

 15          Q     Was it ever contemplated that there would be

 16    other LPs or other outside investors that would be

 17    investing or committing to invest capital, for this

 18    project?

 19          A     Not at that time, but eventually that's what

 20    happened.

 21          Q     Okay.   And when did that occur?

 22          A     So, I don't remember exactly, but Rishi

 23    brought in this group, called         out of India, and

 24    they agreed -- our understanding, from Rishi, is that

 25    they agreed to invest into multiple projects, with



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 189 of
                                      190
                                                                            78

  1    Location Ventures, including that Urbin Miami Beach,

  2    that we passed on.   And the agreement we made with

  3    Rishi, that we basically going to split -- let them

  4    come in for half of the Fort Lauderdale LP, with us,

  5    but we take that half and we apply it to another

  6    project of Location Ventures, which eventually became

  7    1505 Ponce.   So, basically, that 18 million got

  8    split -- or 16 million. I think it was 18 million got

  9    split -- ended up getting split between Fort Lauderdale

 10    and another project.

 11          Q    9 million, then with Fort Lauderdale

 12    committed, and then the other 9 million now committed

 13    to 1505 Ponce?

 14          A    1505 Ponce, yeah.    I think 9 or 9.1 million

 15    got committed and actually deployed in the other

 16    project.

 17          Q    And, then, so when       came in and invested

 18    in 551 Bayshore, then your LP interest was less than --

 19    it was basically half of --

 20          A    Yeah.   So, basically, we were at 80 percent,

 21    80/20.    When they came in, the structure changed to 10,

 22    for Location Ventures, so their share dropped, to

 23    45/45, between us and

 24          Q    Okay.   Then, Location Ventures, as the GP, at

 25    10 percent?



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
Case 1:23-cv-24903-CMA Document 14-2 Entered on FLSD Docket 01/03/2024 Page 190 of
                                      190
                                                                            79

  1          A     Yes.

  2          Q     Okay.   In addition to       currently, are

  3    there any other limited partners invested in 551

  4    Bayshore?

  5          A     So, normally, I would say no, but I'm going

  6    to give a caveat.     So, things started unraveling, in

  7    that project, where we said -- basically, what we found

  8    out is the -- and we kind of found it out by chance,

  9    that now the budget went up by $40 million, which was

 10    not something we ever approved.      But don't worry, guys,

 11    the exit price is now 1,500 a foot, so we're more than

 12    going to make up for it and still make plenty of

 13    profit. So, when we found that out, we said we're not

 14    putting another dollar into this project.      At this

 15    time, we were at 5.1.     We said we're not putting

 16    another dollar into this project.      This is not okay.

 17          also got uncomfortable putting -- at making future

 18    capital calls.      So, we basically told Rishi, do what

 19    you've got to do.     We're not making capital calls. You

 20    want to find others, that's fine.      We're not putting

 21    any money into this, because this is not what we signed

 22    up for. And we found out, literally, weeks ago, that

 23    there's a $50,000 investor, in this project, possibly.

 24    It's like we noticed it in -- I don't remember where.

 25    There's some guy for $50,000.     We never voted or



        [5/31/2023 9:11 AM] Kleyner, Alex - Vol. I.20230531.449633-M...
